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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

 HANNAH SABATA, on behalf of themselves
 and all others similarly situated; DYLAN
 CARDEILHAC, on behalf of themselves and all             4:17-CV-3107
 others similarly situated; JAMES CURTRIGHT,
 on behalf of themselves and all others similarly
 situated; JASON GALLE, on behalf of
 themselves and all others similarly situated;      MEMORANDUM AND ORDER
 RICHARD GRISWOLD, on behalf of
 themselves and all others similarly situated;
 MICHAEL GUNTHER, on behalf of themselves
 and all others similarly situated; ANGELIC
 NORRIS, on behalf of themselves and all others
 similarly situated; R. P., a minor, on behalf of
 themselves and all others similarly situated;
 ISAAC REEVES, on behalf of themselves and
 all others similarly situated; ZOE RENA, on
 behalf of themselves and all others similarly
 situated; and BRANDON SWEETSER, on
 behalf of themselves and all others similarly
 situated;

                       Plaintiffs,

        vs.

 NEBRASKA DEPARTMENT OF
 CORRECTIONAL SERVICES, SCOTT
 FRAKES, In his official capacity as Director of
 the Nebraska Department of Correctional
 Services; HARBANS DEOL, In his official
 capacity as Director of Health Services of the
 Nebraska Department of Correctional Services;
 NEBRASKA BOARD OF PAROLE, JULIE
 MICEK, In her official capacity as the Board of
 Parole Acting Parole Administrator; and DOES,
 1 to 20 inclusive;

                       Defendants.




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                              I.       INTRODUCTION AND SUMMARY

         This is a putative class action lawsuit in which Plaintiffs, inmates of various Nebraska

Department of Correctional Services (“NDCS”) facilities, seek redress for alleged violations of

their civil and constitutional rights based on perceived deficiencies in the Nebraska prison

healthcare system. Plaintiffs allege that Nebraska state prisons are “overcrowded, under-resourced,

and understaffed,” and that prisoners are “consistently deprived of adequate health care, including

medical, dental, and mental health care, and denied accommodations for their disabilities.” Filing

1 at 4. Plaintiffs file causes of action under 42 U.S.C. § 1983, the Eighth Amendment of the United

States Constitution, the Americans with Disabilities Act (“ADA”), and the Rehabilitation Act

(“RA”). Filing 1 at 73-84.

         This case presents itself to the Court with eleven pending motions and over 1,300 pages of

briefing, along with more than 15,000 pages of exhibits, expert reports, and documentation. This

opinion addresses all outstanding motions.1

                                       Motion for Class Certification

         The primary motion for the Court’s consideration is Plaintiffs’ Motion for Class

Certification. Filing 247. Plaintiffs seek to certify a class of “all persons who are now, or will in

the future, be subjected to the health care (including medical, mental health and dental care)

policies and practices of NDCS.” Filing 247 at 1. Plaintiffs further seek to certify two subclasses,

a disability subclass defined as “all persons with disabilities who are now, or will in the future be,

confined at any NDCS facility” and an “isolation” subclass defined as “all NDCS prisoners who



1
 This case was transferred to the undersigned judge on September 5, 2019, shortly after his confirmation by the United
States Senate as a United States District Judge for the District of Nebraska. Filing 400. On November 26, 2019, in
order to assist it in evaluating the considerable record and pending motions in this case, the Court ordered each party
to submit twenty-page supplemental briefs outlining the major pending issues. Filing 423 at 4. On January 13, 2020,
the Court held oral arguments on all pending motions. Filing 438; Filing 439.


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are now, or will in the future be, subject to conditions of confinement that provide limited contact

with other prisoners, strictly controlled movement while out of cell, and out-of-cell time of less

than twenty-four hours per week.” Filing 247 at 1-2.

       The Court concludes that Plaintiffs’ proposed class and subclasses do not meet the

requirements outlined in Federal Rule of Civil Procedure 23 for the certification of a class-action

lawsuit. The Court further concludes certification is not warranted pursuant to binding case law

interpreting the class-certification requirements from the Eighth Circuit Court of Appeals and the

United States Supreme Court.

       Plaintiffs ask the Court to group together as a single class the entire Nebraska prison

population for the purpose of redressing grievances regarding healthcare. This request is not

suitable for class treatment for several reasons as outlined in this opinion, including the fact that

inmates’ individual medical needs run the gamut from no health issues at all to significant illnesses

and conditions requiring frequent and considerable treatment. The proposed solutions to the

alleged deficiencies in NDCS’s healthcare system are likewise diverse, broad, and would require

individualized rather than classwide application. Plaintiffs’ claims simply do not satisfy the

commonality required by the law.

       In addition, the Court declines to exercise authority over the Nebraska prison system as

Plaintiffs request because doing so would be contrary to the idea of federalism outlined in the

United States Constitution. The Nebraska prison system is operated by the State of Nebraska, not

the federal government, and certainly not by the federal courts. Although this Court stands ready

to defend the civil rights inmates have under the federal Constitution, it will not exercise its

authority to promote public-policy preferences that should be debated, funded, and if enacted,

implemented through the legislative and executive branches of the State of Nebraska.



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       Plaintiffs’ request for class certification in this case, if granted, would also likely lead to

this Court overseeing a significant portion of the operation of Nebraska’s prisons, including the

healthcare provided to prisoners, the adequacy of procedures applicable to prison administration,

and the grievance process for prisoners. Indeed, other federal district courts which have granted

class certification in all-encompassing prison cases have retained jurisdiction over certain internal

prison operations for years once the plaintiffs prevailed in the case, resulting in the parties filing

motions related to the original claims for an extended period of time. See, e.g., Parsons v. Ryan,

289 F.R.D. 513, 516 (D. Ariz. 2013) (reflecting repeated filings and on-going requests to the court

dating from 2012 to 2020 in prison case with broadly certified class), aff’d, 754 F.3d 657 (9th Cir.

2014). Citing this concern, the Eighth Circuit Court of Appeals has already overruled a judge in

the District of Nebraska for certifying an over-arching class in a lawsuit involving the Nebraska

prison system. See Elizabeth M. v. Montenez, 458 F.3d 779, 784 (8th Cir. 2006) (finding the district

court “conferred upon itself jurisdiction to assert control over the operation of three distinct mental

health facilities, a major component of Nebraska state government”). For these reasons, and others

as explained in greater detail below, the Court declines to certify the class and two proposed

subclasses requested by Plaintiffs.

                                      Other Pending Motions

       In addition to Plaintiffs’ Motion for Class Certification (Filing 247), the ten other motions

presented to the Court address summary judgment, expert witnesses, discovery disputes, and the

question of whether particular claims are moot based on certain Plaintiffs’ release from Nebraska

prison incarceration. For the convenience of those reviewing this lengthy opinion, the Court will

briefly summarize these motions and the decision of the Court on each of these matters.




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       Defendants filed an Objection to Affidavits Submitted by Plaintiffs in Support of Summary

Judgment on September 28, 2018. Filing 176 at 13. Therein, Defendants assert that the expert

testimony of Plaintiffs’ experts, Dr. Pablo Stewart, Eldon Vail, and Dr. Peter Leone, fails to “create

any issues of material fact” regarding whether Plaintiffs exhausted all possible administrative

remedies for their claims. Filing 176 at 1. Further, Defendants challenge the expert testimony as

“inadmissible legal conclusions.” Filing 176 at 1-2. Defendants ask the Court to strike these

experts’ declarations from the record. Filing 176 at 11.

       The Court concludes that the expert declarations from Dr. Stewart, Dr. Leone, and Vail are

admissible under Federal Rule of Evidence 702 to assist the Court in ruling on Defendants’ partial

summary judgment motion regarding Plaintiffs’ exhaustion of administrative remedies. For

reasons discussed further herein, the Court denies Defendants’ Objection to Affidavits Submitted

in Support of Summary Judgment. Filing 176.

       Defendants filed an Objection to United States Magistrate Judge Michael D. Nelson’s

Order Regarding Expert Witnesses on September 3, 2019. Filing 395 at 8. After Magistrate Judge

Nelson denied Defendants’ motion to strike the declarations of Plaintiffs’ experts, Margo

Schlanger, Eldon Vail, Dr. Craig Haney, Dr. Pablo Stewart, “and portions of the declarations of

[Drs.] Jay Shulman . . . and Marc Stern” submitted in support of their motion for class certification,

the defendants objected and asked the undersigned judge to overrule the magistrate judge’s ruling.

Filing 395 at 1. Defendants argue that the magistrate judge inappropriately applied a “focused

Daubert analysis” in determining these expert opinions are admissible at the class certification

stage as instructed by In re Zurn Pex Plumbing Products Liability Litigation, 644 F.3d 604, 608

(8th Cir. 2011). Filing 395 at 2. Defendants request that the Court sustain their original objection

and strike the expert testimony in question from the record. Filing 395 at 7.



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       The Court concludes that Magistrate Judge Nelson was correct in applying the focused

Daubert analysis from In re Zurn Pex in finding certain expert declarations submitted by Plaintiffs

in support of class certification are admissible. Defendants’ Objection to the Magistrate Judge’s

Order Regarding Expert Witnesses (Filing 395) is accordingly denied.

       Defendants filed a Motion for Partial Summary Judgment Regarding Exhaustion of

Administrative Remedies on July 27, 2018. Filing 125 at 2. Defendants argue that most of

Plaintiffs’ claims should be dismissed because prisoners are required to exhaust their

administrative remedies in making complaints regarding prison treatment prior to bringing an

action in court and that requirement was not met for the majority of Plaintiffs’ claims. Filing 128

at 4-5. Defendants ask this Court to dismiss all of Plaintiffs’ claims except for the few they admit

were properly exhausted. Filing 128 at 4-5.

       The Court concludes there are genuine issues of material fact regarding whether the NDCS

grievance process is “available” to Plaintiffs as required by United States Supreme Court

precedent. The Court comes to this conclusion given the numerous and repeated challenges

Plaintiffs claim they faced in following the NDCS administrative process when trying to file their

grievances. Defendants’ Motion for Partial Summary Judgment Regarding Exhaustion of

Administrative Remedies (Filing 125) is therefore denied.

       Defendants filed a Motion for Partial Summary Judgment Regarding Life Sentences and

Eighth Amendment Claims on April 18, 2019. Filing 292 at 2. Defendants request summary

judgment on three issues. First, Defendants request summary judgment on Plaintiffs’ claims

against the Board of Parole and Julie Micek for alleged problems with parole hearings. Defendants

claim these plaintiffs lack standing to make claims regarding parole hearings because they are

serving life sentences and therefore are not entitled parole hearings under Nebraska law. Filing



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292 at 1. Second, Defendants request summary judgment on Jason Galle’s Eighth Amendment

claim relating to the treatment of his femur. Filing 292 at 1-2. Defendants argue that “[t]he

undisputed facts show NDCS medical staff repeatedly saw, treated, and evaluated Galle for his

complaints” and that his claim that NDCS acted with deliberate indifference in treating his ailment

must therefore fail. Filing 294 at 15. Third, Defendants seek summary judgment on Zoe Rena’s

Eighth Amendment claim relating to the treatment of her skin rash. Filing 292 at 2. They argue

that, because “NDCS medical staff took multiple steps to respond” to Rena’s skin rash, her claim

that the State acted with deliberate indifference in treating the rash must fail. Filing 294 at 17, 19.

       The Court concludes that the inmates serving life sentences lack standing to assert their

ADA and RA claims against the Board of Parole and Director Micek because they are not entitled

to have parole hearings under Nebraska law. Defendants’ Motion for Partial Summary Judgment

Regarding Life Sentences and Eighth Amendment Claims (Filing 292) will therefore be granted

as to the life-sentence plaintiffs. Summary judgement is denied as to the Eighth Amendment claims

relating to Galle’s femur and Rena’s skin rash for the reasons outlined in this order.

       Defendant Micek filed a Motion for Partial Summary Judgment, Filing 223 at 2, on January

7, 2019. She argues that Plaintiffs “fail[ed] to make a single allegation directed specifically at

[her].” Filing 225 at 1. Micek notes that Plaintiffs’ claims against the Board of Parole specifically

focuses on issues surrounding parole hearings and the increased likelihood of being denied parole.

Micek claims, however, that she “is not involved in the parole decision-making process” and plays

no role in the parole process until after an inmate is granted parole. Filing 225 at 6.

       The Court concludes that the undisputed facts show Defendant Micek plays no role in the

part of the parole process pertinent to Plaintiffs’ claims, namely parole determination for inmates




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still in NDCS custody. The Motion for Partial Summary Judgment Regarding Defendant Micek

(Filing 223) is granted and Micek is dismissed as a party to the lawsuit.

       On May 15, 2020, Plaintiffs filed an Objection to the Magistrate Judge’s Order denying

their request for discovery related to NDCS’s plan to address the novel coronavirus, COVID-19,

pandemic. Filing 469 at 1-2. Plaintiffs ask the undersigned district judge to overrule Magistrate

Judge Nelson’s order finding that Plaintiffs’ motion seeking to compel certain COVID-19-related

documentation failed to comply with discovery procedures and was not relevant to the claims made

in this lawsuit. Filing 470 at 17-20, 29-30.

       The Court concludes that Plaintiffs failed to comply with discovery procedure which alone

justified the denial of Plaintiffs’ motion. The Court further concludes that Magistrate Judge

Nelson’s Order finding that the discovery request is not relevant to the present case is not “clearly

erroneous or contrary to law.” 28 U.S.C. § 636. Plaintiffs’ Objection to Magistrate Judge’s Order

regarding COVID-19 Discovery (Filing 469) is denied.

       Finally, Defendants filed four separate motions addressing whether certain of Plaintiffs’

claims are moot due to individual Plaintiffs’ release from custody, or their release and subsequent

return to custody. In their Motion for Reconsideration, filed on March 11, 2019, plaintiff R.P.

asked this Court to reconsider its grant of Defendants’ Suggestion of Mootness and Motion to

Dismiss his claims, which was originally entered on November 20, 2018. (Filing 260; Filing 204).

Filing 270 at 1. The original motion and order were based on the fact that R.P. was no longer in

custody. Filing 272 at 2. Because R.P. has since returned to custody, Plaintiffs argue his claims

are no longer moot and that the Court should reinstate them. Filing 270 at 1; Filing 272 at 2-3.

Defendants further filed Motions to Dismiss and Suggestions of Mootness on April 1, 2019,

November 18, 2019, and December 10, 2019 respectively. Filing 280 at 2; Filing 420 at 2; Filing



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429 at 4. Together, these three motions ask the court to dismiss three Plaintiffs: Brandon Sweetser,

Zoe Rena, and Angelic Norris. Filing 280 at 1; Filing 420 at 1; Filing 429 at 1. Defendants argue

that since all three of these Plaintiffs are no longer incarcerated, their claims are moot and should

be dismissed. Filing 280 at 1; Filing 420 at 1; Filing 429 at 1-2.

         R.P.’s Motion for Reconsideration regarding the mootness order (Filing 270) is granted.

R.P.’s claims are allowed to proceed given he has returned to state custody. Defendants’ Motions

to Dismiss and Suggestions of Mootness regarding plaintiffs Sweetser and Norris (Filing 280,

Filing 429) are granted because these Plaintiffs are no longer in custody. Defendants’ Motion to

Dismiss and Suggestion of Mootness regarding Rena is denied because she has been returned to

custody and because issues of material fact exist which precludes summary judgment as to Rena.

                                              II.      ANALYSIS

         The Court will address each of the pending motions in turn and will provide additional

facts relevant to deciding each motion where appropriate.

                     A. Named Parties and Proposed Class Representatives

         Plaintiffs in this case are of varying ages and are housed at several different NDCS

facilities. They also allege that they suffer from a variety of health conditions.2

         Hannah Sabata is a twenty-four-year-old female prisoner at the Nebraska Correctional

Center for Women (“NCCW”). Filing 1 at 6. She suffers from schizophrenia and is HIV positive.

Filing 1 at 7. Sabata was released on parole in November 2017. Filing 54 at 1. Her parole was

revoked, and she was returned to NDCS custody in January 2018. Filing 54 at 1.

         Dylan Cardeilhac is a nineteen-year-old inmate at Tecumseh State Correctional Institute

(“TSCI”). Filing 1 at 7. He suffers from bipolar disorder and has been placed in what Plaintiffs


2
 The ages of Plaintiffs and their medical conditions recited herein are those alleged at the time of the filing of the
Complaint, Filing 1, on August 15, 2017.

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 term “isolation” and what Defendants call “restrictive housing” on various occasions. Filing 1 at

 7-8, 33; Filing 63 at 20-21.

        James Curtright is fifty-two years old and incarcerated at the Lincoln Correctional Center

 (“LCC”). Filing 1 at 9. He is deaf. Filing 1 at 9-11.

        Jason Galle is forty-two and is housed at the Nebraska State Penitentiary (“NSP”). He has

 chronic pain and mobility limitations stemming from a leg injury. Filing 1 at 11.

        Richard Griswold is a fifty-three-year-old prisoner at TSCI who suffers from chronic hip

 problems, bipolar disorder, and post-traumatic stress disorder (“PTSD”). Filing 1 at 12-14. He is

 legally blind in one eye. Filing 1 at 12-14.

        Michael Gunther is sixty-two years old and is incarcerated at NSP. Filing 1 at 14. He suffers

 from diabetes and has lost his vision as a result. Filing 1 at 14. He also uses dentures, is limited in

 what he can eat, and suffers from pain and discomfort in his mouth. Filing 1 at 15-16.

        Angelic Norris is a forty-two-year-old female inmate at NCCW who is legally blind and

 suffers from a developmental disability, bipolar disorder, and hypertension. Filing 1 at 16. On

 November 20, 2019, Norris was released on parole. Filing 430-1 at 2-6.

        R.P. is a seventeen-year-old male juvenile prisoner incarcerated at the Nebraska

 Correctional Youth Facility (“NCYF”). Filing 1 at 17. He suffers from severe paranoia. Filing 1 at

 17. R.P. was discharged from the facility on November 20, 2018. Filing 207-1 at 2-3.

 Subsequently, on March 4, 2019, R.P. was returned to NDCS custody. Filing 271-1 at 1-2.

        Isaac Reeves is nineteen years old and was housed first at NCYF and then at NSP. Filing

 1 at 18. He suffers from depression, panic, and anxiety. Filing 1 at 18. He has also experienced

 tooth pain during his incarceration. Filing 1 at 19.




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         Zoe Rena is a thirty-year-old inmate at NCCW. Filing 1 at 19. She has experienced tooth,

 mouth, and jaw pain; has experienced inconsistent menstrual cycles; and suffers from a chronic

 skin condition. Filing 1 at 20. On November 15, 2019, Rena was released on parole, Filing 421-1

 at 2; Filing 421-3 at 1-2, but was returned to custody in March 2020, Filing 442-2.

         Brandon Sweetser is forty-five years old and incarcerated at NSP. Filing 1 at 20. He has

 hepatitis C, suffered a perforated bowel while in custody, struggles with mobility, and has been

 diagnosed with paranoid schizophrenia. Filing 1 at 20-22. On April 1, 2019, Sweetser was released

 on parole. Filing 281-1 at 2-4.

         Defendants are the Nebraska Department of Correctional Services; Director of NDCS,

 Scott R. Frakes; Medical Director of NDCS, Harbans Deol; the Nebraska Board of Parole

 (“BOP”); and Julie Micek, an NDCS parole official. Filing 1 at 22-23.

             B. Objection to Affidavits Submitted in Support of Summary Judgment

         1. Additional Facts

         Defendants have moved for partial summary judgment, alleging that several of the

 plaintiffs failed to exhaust their administrative remedies prior to seeking judicial redress. See Filing

 125 at 1; infra Section II.D. In opposition to Defendants’ partial summary judgment motion,

 Plaintiffs submitted the declarations of various expert witnesses. On September 28, 2018,

 Defendants filed an objection seeking to strike three of the declarations Plaintiffs submitted in

 opposition to Defendants’ motion for partial summary judgment. Filing 176. Defendants argue all

 three declarations should be stricken because they are not based upon sufficient facts or data; will

 not assist the trier of fact; and are not the product of reliable principles and methods. Filing 176 at

 4-11.




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        First, Defendants seek to strike the declaration of Dr. Pablo Stewart. Filing 160-38. Dr.

 Stewart is a board-certified psychiatrist with more than thirty years of experience in correctional

 mental healthcare. Filing 160-38 at 2. He reviewed several NDCS policies “as well as specific

 documents within the named plaintiffs’ medical files.” Filing 160-38 at 2. Dr. Stewart admits his

 “opinions at this early stage of the case are necessarily constrained by the limited amount of

 information” available through discovery. Filing 160-38 at 2. However, from his review of the

 policies and documents, Dr. Stewart was able to provide his opinion that “the NDCS grievance

 processes are complex, confusing, and overly stringent. So much so that prisoners suffering from

 Major Mental Illnesses (“MMI”) would find it nearly impossible to complete, and therefore it is

 practically unavailable.” Filing 160-38 at 3. Dr. Stewart also gave his opinion on how Cardeilhac,

 Sabata, Reeves, Galle, Norris, R.P., Sweester, Gunther, and Griswold would find it difficult to

 complete NDCS’s three-step grievance process due to their mental health issues. Filing 160-38 at

 5-14. Based on the evidence and information he had, Dr. Stewart was not able to opine that Rena

 or Curtright suffered from mental health issues which would preclude their ability to complete the

 grievance process. Filing 160-38 at 14-15.

        Next, Defendants seek to strike the declaration of Dr. Peter Leone, a professor at the

 University of Maryland – College Park specializing in the treatment and experience of individuals

 with disabilities in institutional settings. Filing 160-41 at 2. Dr. Leone reviewed several documents

 regarding the NDCS-grievance and ADA-request processes. Filing 160-41 at 3. Dr. Leone

 compared U.S. prison population literacy levels with the reading levels required to understand the

 NDCS grievance and ADA request procedures. Filing 160-41 at 4-7. Based on his review, Dr.

 Leone opined “the grievance and request processes of the NDCS are so complex, opaque and

 confusing that for prisoners of average reading ability as well as for prisoners with additional



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 impairments arising from intellectual disability or learning disability, the proper procedures are

 essentially unknowable.” Filing 160-41 at 3-4.

        Lastly, Defendants seek to strike the declaration of Eldon Vail. Filing 160-35. Vail is a

 former correctional administrator with thirty-five years of experience working in and

 administering adult institutions. Filing 160-35 at 2. He reviewed the NDCS grievance and ADA

 policies as well as the affidavits of NDCS employees and approximately thirty of the grievances

 submitted by Plaintiffs in this case. Filing 160-35 at 5. According to Vail, the NDCS grievance

 processes include “a number of procedural roadblocks and barriers that (whether or not by design)

 have the effect of thwarting prisoners from successfully completing the grievance processes.”

 Filing 160-35 at 5. He also concluded that NDCS staff rely on a hyper-technical application of the

 already-confusing procedures to thwart prisoners from successfully completing grievances. Filing

 160-35 at 5. He concluded, “It is my opinion that, taken together, these fundamental flaws with

 the NDCS grievance system frustrate the ability of prisoners to use grievances to such an extent

 that the grievance processes are not actually available to address prisoners’ legitimate concerns.”

 Filing 160-35 at 6.

        2. Analysis

        Defendants object to Plaintiffs’ proposed expert declarations on the basis of Federal Rule

 of Evidence 702. It provides that an expert witness may offer an opinion only if:

        (a) the expert’s scientific, technical, or other specialized knowledge will help the
        trier of fact to understand the evidence or to determine a fact in issue;

        (b) the testimony is based on sufficient facts or data;

        (c) the testimony is the product of reliable principles and methods; and

        (d) the expert has reliably applied the principles and methods to the facts of the
        case.



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 Fed. R. Evid. 702; see also Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 597, 113 S. Ct.

 2786, 125 L. Ed. 2d 469 (1993).

        “To satisfy the reliability requirement, the party offering the expert testimony ‘must show

 by a preponderance of the evidence both that the expert is qualified to render the opinion and that

 the methodology underlying his conclusions is scientifically valid.’” Barrett v. Rhodia, Inc., 606

 F.3d 975, 980 (8th Cir. 2010) (quoting Marmo v. Tyson Fresh Meats, Inc., 457 F.3d 748, 757 (8th

 Cir. 2006)). “To satisfy the relevance requirement, the proponent must show that the expert’s

 reasoning or methodology was applied properly to the facts at issue.” Id. (citing Marmo, 457 F.3d

 at 757). In making its determination, the Court may consider the following factors: “(1) whether

 the theory or technique can be or has been tested; (2) whether the theory or technique has been

 subjected to peer review and publication; (3) whether the theory or technique has a known or

 potential error rate and standards controlling the technique’s operation; and (4) whether the theory

 or technique is generally accepted in the scientific community. First Union Nat. Bank v. Benham,

 423 F.3d 855, 861 (8th Cir. 2005) (citing Daubert, 509 U.S. at 593–94, 113 S. Ct. 2786). However,

 “[r]egardless of what factors are evaluated, the main inquiry is whether the proffered expert’s

 testimony is sufficiently reliable.” Id. (citing Unrein v. Timesavers, Inc., 394 F.3d 1008, 1011 (8th

 Cir. 2005)).

        The Court concludes Dr. Stewart’s, Dr. Leone’s, and Vail’s declarations each meet the

 Rule 702 requirements and should be admitted as expert testimony in opposition to Defendants’

 summary judgment motion regarding exhaustion of administrative remedies. Defendants primarily

 take issue with what they characterize as a lack of reliance on sufficient facts or data. Filing 176

 at 2-11. Defendants point out that these experts did not speak with or personally examine Plaintiffs.

 Filing 176 at 2-10. However, there is no requirement for personal contact in order to find an



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 expert’s testimony sufficiently reliable and that it will assist the fact-finder. Each of the experts

 averred they had examined written materials specific to the plaintiffs and policies at issue in

 Defendants’ motion. See Filing 160-38 at 2 (stating Dr. Stewart reviewed NDCS policies and

 specific documents from Plaintiffs’ medical files); Filing 160-41 at 3 (stating Dr. Leone reviewed

 several documents regarding the NDCS grievance and ADA request process); Filing 160-35 at 5

 (stating Vail reviewed the NDCS grievance and ADA policies as well as approximately thirty of

 the grievances submitted by Plaintiffs in this case). The Court is satisfied that each expert’s

 testimony is based on sufficient facts and data and will assist the trier of fact as required by Rule

 702.

        Defendants also argue that the experts provide improper legal opinions by opining that the

 policies make the NDCS grievance process practically unavailable. Filing 176 at 10-11. While

 Defendants are correct that “expert testimony on legal matters is not admissible,” see S. Pine

 Helicopters, Inc. v. Phoenix Aviation Managers, Inc., 320 F.3d 838, 841 (8th Cir. 2003), that

 principle is not violated by the experts’ testimony submitted on this motion. Dr. Stewart, Dr.

 Leone, and Vail do not testify “whether federal law was contravened,” id., but rather analyze the

 underlying facts and practices which might lead the Court to find that NDCS’s grievance policy is

 practically unavailable. This testimony is permissible.

        Lastly, although Defendants advance no specific argument in this respect, to the extent they

 allege the experts do not base their opinions on reliable scientific, technical, or specialized

 knowledge, such an argument also fails. Each of the experts stated their extensive educational and

 experiential backgrounds which provided them with the specialized insight and knowledge to

 analyze the information presented to them. See Kumho Tire Co. v. Carmichael, 526 U.S. 137, 150,




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 119 S. Ct. 1167, 1175, 143 L. Ed. 2d 238 (1999) (noting that in some cases, “the relevant reliability

 concerns [of Daubert] may focus upon personal knowledge or experience”).

           Accordingly, the Court concludes Dr. Stewart’s, Dr. Leone’s, and Vail’s expert

 declarations are admissible under Rule 702 to assist the Court in ruling on Defendants’ partial

 summary judgment motion. Defendants’ Objection, Filing 176, is overruled.

                   C. Objection to Magistrate’s Order Regarding Expert Witnesses

           1. Additional Facts

           In support of its Motion for Class Certification, Filing 247, Plaintiffs submitted the expert

 declarations of Margo Schlanger (Filing 249-50), Eldon Vail (Filing 249-47), Dr. Craig Haney

 (Filing 249-42), Dr. Pablo Stewart (Filing 249-38), Dr. Jay Shulman (Filing 249-53), and Dr. Marc

 Stern (Filing 249-58). Defendants moved to strike the declarations of Schlanger, Vail, Dr. Haney,

 and Dr. Stewart in full, as well as portions of Dr. Shulman’s and Dr. Stern’s declarations. Filing

 351. Magistrate Judge Nelson ruled on the objections and found the declarations admissible. Filing

 389 at 4-6. He noted that at the class-certification stage, the Court’s Daubert analysis is more

 “focused,” in part because the evidence is not going to a jury and because the available evidence

 may be more limited. Filing 389 at 4-5 (quoting In re Zurn Pex, 644 F.3d at 614). Magistrate Judge

 Nelson concluded the experts’ qualifications were adequately stated and that their opinions would

 assist the Court in making its determination under Federal Rule of Civil Procedure 23 . Filing 389

 at 5-6.

           Defendants object to the magistrate judge’s order. Filing 395. They argue the Court erred

 in applying the focused analysis in In re Zurn Pex, 644 F.3d at 612-14, and that a full Daubert

 analysis requires the exclusion of the evidence. Filing 395 at 2. They point to the fact that, unlike

 in In re Zurn Pex, discovery has already commenced and thus, the experts had more information



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 available to them. Filing 395 at 2. They also point to cases from outside this Circuit that they claim

 disagree with In re Zurn Pex’s holding. Filing 395 at 3-4.

         2. Analysis

         A magistrate judge is permitted to rule on certain pretrial matters, like the motion to strike

 in this case:

                 (b)(1) Notwithstanding any provision of law to the contrary—

                 (A) a judge may designate a magistrate judge to hear and determine any
         pretrial matter pending before the court, except a motion for injunctive relief, for
         judgment on the pleadings, for summary judgment, to dismiss or quash an
         indictment or information made by the defendant, to suppress evidence in a criminal
         case, to dismiss or to permit maintenance of a class action, to dismiss for failure to
         state a claim upon which relief can be granted, and to involuntarily dismiss an
         action. A judge of the court may reconsider any pretrial matter under this
         subparagraph (A) where it has been shown that the magistrate judge’s order is
         clearly erroneous or contrary to law.

 28 U.S.C. § 636; see also Fed. R. Civ. P. 72 (“The district judge in the case must consider timely

 objections and modify or set aside any part of the [magistrate judge’s] order that is clearly

 erroneous or is contrary to law.”).

         Magistrate Judge Nelson relied on In re Zurn Pex in conducting a “focused” Daubert

 analysis. Filing 389 at 5-6. He concluded the expert opinions offered by Margo Schlanger, Eldon

 Vail, Dr. Craig Haney, Dr. Pablo Stewart, Dr. Jay Shulman, and Dr. Marc Stern were “sufficiently

 reliable in light of the available evidence and purpose for which they were offered.” Filing 389 at

 5. The Court agrees that In re Zurn Pex applies in this case.

         The Eighth Circuit has applied Daubert in a more focused fashion when considering expert

 testimony submitted at the class-certification stage. In In re Zurn Pex, the Eighth Circuit approved

 the district court’s use of what it called a “focused” or “tailored” Daubert analysis when addressing

 expert testimony for purposes of class certification. See In re Zurn Pex, 644 F.3d at 612 (citing



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 with approval Blades v. Monsanto Co., 400 F.3d 562, 569 (8th Cir. 2005)). The Court noted that

 the plaintiff’s “desire for an exhaustive and conclusive Daubert inquiry before the completion of

 merits discovery [could not] be reconciled with the inherently preliminary nature of pretrial

 evidentiary and class certification rulings.” Id. at 613. It also stated that Daubert’s interest in

 protecting juries from being swayed by dubious scientific testimony “is not implicated at the class

 certification stage where the judge is the decision maker.” Id. Accordingly, it concluded “a focused

 Daubert analysis which scrutinized the reliability of the expert testimony in light of the criteria for

 class certification and the current state of the evidence” was appropriate. Id. at 614.

        Defendants urge this court to depart from the holding of In re Zurn Pex, citing precedent

 from outside this Circuit. See Filing 395 at 3-4. However, this Court is bound by the decisions of

 the Eighth Circuit. Defendants have not cited to, nor has the Court located, any binding authority

 that would permit it to depart from settled precedent in this Circuit. Also unavailing is Defendants’

 argument that In re Zurn Pex involved a case with discovery bifurcated between the class-

 certification and merits stages, whereas no such bifurcation has occurred here. Filing 395 at 2. The

 Eighth Circuit’s holding was based on the preliminary nature of the class-certification inquiry and

 the fact that the Court, rather than a jury, was evaluating the expert testimony. In re Zurn Pex, 644

 F.3d at 612-14. Thus, the lack of bifurcated discovery in this case does not change the applicability

 of In re Zurn Pex’s holding. Accordingly, the magistrate judge was correct to rely on In re Zurn

 Pex.

        The Court also agrees with the magistrate judge’s focused Daubert analysis. As the

 magistrate judge’s order noted, each declaration sets forth the expert’s qualifications as well as the

 evidence and data upon which he or she relied in forming an opinion. Filing 389 at 5. The

 magistrate judge correctly noted that the experts provided opinions which would assist the trier of



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 fact in addressing various aspects of Rule 23 regarding class certification, including commonality

 and typicality. Filing 389 at 5-6. The magistrate judge also noted that, to the extent the declarations

 were general and not related to specific Nebraska correctional institutions, such a deficiency would

 go to the credibility of the testimony, not its admissibility. Filing 389 at 6 (citing In re Zurn Pex,

 644 F.3d at 614). The Court agrees that the experts’ declarations are admissible under the focused

 Daubert analysis required by In re Zurn Pex. To the extent portions of the declarations are based

 on the experts’ personal and/or political opinions, the Court will afford those portions little or no

 weight and will instead focus on the fact-based analyses provided by the experts. The Court agrees

 with the magistrate judge’s conclusion: “The Court will be capable of compartmentalizing its class

 certification analysis from its merits analysis when reviewing the evidence in support and in

 opposition to class certification, and therefore the expert declarations do not need to be stricken. .

 . .” Filing 389 at 6.

          Accordingly, the Court concludes Magistrate Judge Nelson was correct in applying In re

 Zurn Pex and finding the declarations submitted in support of class certification are admissible.

 Because the magistrate judge’s finding was not clearly erroneous or contrary to law, Defendants’

 Objection, Filing 395, is overruled.

         D. Motion for Summary Judgment Regarding the Exhaustion of Administrative

                                                   Remedies

         Defendants move for partial summary judgment on several of Plaintiffs’ claims on the basis

 that those individual plaintiffs have failed to exhaust their administrative remedies prior to taking

 judicial action as required by the Prison Litigation Reform Act, 42 U.S.C. § 1997 et seq. Filing

 125; Filing 128. Plaintiffs argue that they have exhausted their administrative remedies or, in the

 alternative, that exhaustion was not required because the NDCS grievance system is unavailable.



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 Filing 162 at 51-73. For the reasons set forth herein, the Court concludes that questions of material

 fact exist as to whether the NDCS grievance system is practically unavailable. For this reason, the

 Court finds that summary judgment in NDCS’s favor is inappropriate on the question of exhaustion

 of administrative remedies.

        1. Standard of Review

         “Summary judgment is appropriate when the evidence, viewed in the light most favorable

 to the nonmoving party, presents no genuine issue of material fact and the moving party is entitled

 to judgment as a matter of law.” Garrison v. ConAgra Foods Packaged Foods, LLC, 833 F.3d 881,

 884 (8th Cir. 2016) (citing Fed. R. Civ. P. 56(c). “[S]ummary judgment is not disfavored and is

 designed for every action.” Briscoe v. Cty. of St. Louis, 690 F.3d 1004, 1011 n.2 (8th Cir. 2012)

 (internal quotation marks omitted) (quoting Torgerson v. City of Rochester, 643 F.3d 1031, 1043

 (8th Cir. 2011) (en banc)). In reviewing a motion for summary judgment, the Court will view “the

 record in the light most favorable to the nonmoving party . . . drawing all reasonable inferences in

 that party’s favor.” Whitney v. Guys, Inc., 826 F.3d 1074, 1076 (8th Cir. 2016) (citing Hitt v.

 Harsco Corp., 356 F.3d 920, 923–24 (8th Cir. 2004)). Where the nonmoving party will bear the

 burden of proof at trial on a dispositive issue, “Rule 56(e) permits a proper summary judgment

 motion to be opposed by any of the kinds of evidentiary materials listed in Rule 56(c), except the

 mere pleadings themselves.” Se. Mo. Hosp. v. C.R. Bard, Inc., 642 F.3d 608, 618 (8th Cir. 2011)

 (quoting Celotex Corp. v. Catrett, 477 U.S. 317, 324, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986)).

 The moving party need not produce evidence showing “an absence of a genuine issue of material

 fact.” Johnson v. Wheeling Mach. Prods., 779 F.3d 514, 517 (8th Cir. 2015) (citing Celotex, 477

 U.S. at 323, 106 S. Ct. 2548). Instead, “the burden on the moving party may be discharged by

 ‘showing’ . . . that there is an absence of evidence to support the nonmoving party’s case.” St. Jude



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 Med., Inc. v. Lifecare Int’l, Inc., 250 F.3d 587, 596 (8th Cir. 2001) (quoting Celotex, 477 U.S. at

 325).

         In response to the moving party’s showing, the nonmoving party’s burden is to produce

 “specific facts sufficient to raise a genuine issue for trial.” Haggenmiller v. ABM Parking Servs.,

 Inc., 837 F.3d 879, 884 (8th Cir. 2016) (quoting Gibson v. Am. Greetings Corp., 670 F.3d 844,

 853 (8th Cir. 2012)). The nonmoving party “must do more than simply show that there is some

 metaphysical doubt as to the material facts, and must come forward with specific facts showing

 that there is a genuine issue for trial.” Wagner v. Gallup, Inc., 788 F.3d 877, 882 (8th Cir. 2015)

 (quoting Torgerson, 643 F.3d at 1042). “[T]here must be more than ‘the mere existence of some

 alleged factual dispute’” between the parties in order to overcome summary judgment. Dick v.

 Dickinson State Univ., 826 F.3d 1054, 1061 (8th Cir. 2016) (quoting Vacca v. Viacom Broad. of

 Mo., Inc., 875 F.2d 1337, 1339 (8th Cir. 1989)).

         2. The PLRA

         Under the Prison Litigation Reform Act (“PLRA”), inmates cannot bring judicial actions

 regarding prison conditions until they have utilized available administrative remedies first:

                 (a) Applicability of administrative remedies

                 No action shall be brought with respect to prison conditions under section
         1983 of this title, or any other Federal law, by a prisoner confined in any jail, prison,
         or other correctional facility until such administrative remedies as are available are
         exhausted.

 42 U.S.C § 1997e(a); see also Porter v. Sturm, 781 F.3d 448, 451 (8th Cir. 2015) (“An inmate

 must exhaust all available administrative remedies before bringing a § 1983 suit.”). The benefits

 of requiring exhaustion “include allowing a prison to address complaints about the program it

 administers before being subjected to suit, reducing litigation to the extent complaints are

 satisfactorily resolved, and improving litigation that does occur by leading to the preparation of a

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 useful record.” Jones v. Bock, 549 U.S. 199, 219, 127 S. Ct. 910, 923, 166 L. Ed. 2d 798 (2007)

 (citing Woodford v. Ngo, 548 U.S. 81, 88-91, 126 S. Ct. 2378, 165 L. Ed. 2d 368 (2006)).

        The question of exhaustion of administrative remedies under the PLRA is a question of

 law. See Ray v. Kertes, 130 F. App’x 541, 543–44 (3d Cir. 2005) (noting “the proposition that the

 availability of administrative remedies to a prisoner is a question of law”). However,

 “[n]onexhaustion is an affirmative defense, and defendants have the burden of raising and proving

 the absence of exhaustion.” Porter, 781 F.3d at 451 (citing Jones, 549 U.S. at 211-12, 127 S. Ct.

 910). “The question of whether administrative remedies are actually available requires a factual

 inquiry.” See William G. v. Pataki, No. 03 CIV. 8331 (RCC), 2005 WL 1949509, at *6 (S.D.N.Y.

 Aug. 12, 2005).

        3. The NDCS Grievance Process

        “[I]t is the prison’s requirements, and not the PLRA, that define the boundaries of proper

 exhaustion.” Burns v. Eaton, 752 F.3d 1136, 1141 (8th Cir. 2014) (quoting Jones, 549 U.S. at 218,

 127 S. Ct. 910); see also Porter, 781 F.3d at 451. Nebraska law provides, “All inmates shall be

 informed of the grievance procedures established by the department and copies of such procedures

 shall be available to all inmates.” Neb. Rev. Stat. § 83-4,138 (Reissue 2014). The NDCS grievance

 procedures are set forth in the Nebraska Administrative Code and NDCS’s Administrative

 Regulations (“ARs”). See 68 Neb. Admin. Code § 2-001 (providing that the grievance procedure

 set forth in the ARs “applies to all institutions operated by the Department of Correctional

 Services”); Filing 127-2 at 2 (stating the purpose of NDCS AR 217.02 is “[t]o establish procedures

 for the implementation of Chapter 2 of the Nebraska Department of Correctional Services Rules

 and Regulations, Title 68 Nebraska Administrative Code . . . for the effective and equitable

 resolution of inmate grievances, and for the monitoring of the inmate grievance system”). Under



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 the administrative code, “[a]ny topic may be the subject of a grievance, except matters over which

 the Department has no control, classification actions, and inmate disciplinary actions.” 68 Neb.

 Admin. Code § 2-002.02.

        The administrative code provides a three-step procedure for inmate grievances. See 68 Neb.

 Admin. Code § 2-003. First, an inmate must submit an “Informal Grievance Resolution Form” to

 his or her “designated unit staff.” 68 Neb. Admin. Code § 2-003.002. However, if a grievance is

 of a “sensitive nature,” the inmate can file it directly with the Director or designee “by interoffice

 mail.” 68 Neb. Admin. Code § 2-004.01. The informal grievance must be filed on a special form

 “obtained from unit staff” and “must be filed within three calendar days of the incident” being

 grieved. 68 Neb. Admin. Code §§ 2-005.02, 03. NDCS unit staff who receive an informal

 grievance are to respond in writing within ten working days. 68 Neb. Admin. Code § 2-005.04.

        “If an inmate is dissatisfied with the response to the Informal Grievance, the inmate may

 file a Step-One Grievance with the Warden” on the required Step-One Grievance form which must

 be obtained from the inmate’s case manager or other designee. 68 Neb. Admin. Code, §§ 2-003.03,

 -006.01. “The Step-One Grievance Form must be filed within 15 calendar days of the receipt of

 the informal grievance response, or if no response was received, within 20 calendar days of the

 incident giving rise to the grievance.” 68 Neb. Admin. Code § 2-006.02. The other requirements

 of a Step-One Grievance are that it must address only one issue per form and that the inmate must

 attach the Informal Grievance Resolution Form and response, if received, to the Step-One

 Grievance Form. 68 Neb. Admin. Code §§ 2-006.03, .04. Upon receipt, the Warden’s designee

 signs and dates the form and provides the inmate with a receipt. 68 Neb. Admin. Code § 2-006.06.

 The Warden or designee must send a written response to the inmate within ten working days,

 including a brief statement of reasons for the decision. 68 Neb. Admin. Code § 2-006.07.



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        If the inmate is dissatisfied with the results of the Step-One Grievance response, he or she

 must obtain a Step-Two Grievance Form from the case manager or designee and submit it to the

 Director by interoffice mail in a clearly marked envelope within ten calendar days after receipt of

 the Warden’s response. 68 Neb. Admin. Code § 2-007.01. The inmate must attach copies of both

 the Informal Grievance Resolution Form and the Step-One Grievance Form, as well as NDCS’s

 responses. 68 Neb. Admin. Code § 2-007.03. The Director or his or her designee must respond

 within twenty working days and can modify, affirm, or reverse the Step-One response of the

 Warden. 68 Neb. Admin. Code § 2-007.05.

        The Nebraska Administrative Code also places a limitation on grievances. “An inmate may

 file no more than two Step-One Grievances per week (Monday through Sunday), except for valid

 emergency grievances.” 68 Neb. Admin. Code § 2-008. “Emergencies” are defined as “those

 matters that must be resolved quickly because if the standard grievance time limits were used the

 inmate would be subjected to substantial risk of personal injury or other serious or irreparable

 harm.” 68 Neb. Admin. Code § 2-009. An Emergency Grievance is to be filed on the same form

 as an Informal Grievance with unit staff. 68 Neb. Admin. Code §§ 2-009.01, .02. If the Warden’s

 designee determines that an inmate files “frivolous, nuisance or duplicative grievances at any

 level,” he or she may place “a reasonable limitation . . . on the number of grievances the inmate is

 allowed to file.” 68 Neb. Admin. Code § 2-010.

        Lastly, the Administrative Code contains a section entitled “Other Remedies.” It states:

        Inmates may communicate grievances to persons outside the Department.

        011.01 An inmate may communicate a grievance to the Office of Public
        Counsel/Ombudsman, legislators, attorneys, courts or others.

        011.02 Claims against the Department involving miscellaneous or tort claims for
        money may be filed pursuant to the State Tort Claims Act.



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        011.03 Each facility shall ensure that inmates have reasonable access to courts and
        to legal services and materials.

 68 Neb. Admin. Code § 2-011.

        NDCS’s AR 217.02 “expands upon [the grievance] statutes and Chapter 2” of the

 administrative code. Filing 146-1 at 2. In addition to restating much of what is set forth in the

 administrative code, AR 217.02 requires that inmates and staff be given access to the grievance

 procedures. Filing 146-1 at 2, 5; Filing 127-1 at 2. It also requires NDCS to maintain copies of all

 grievances and maintain a log of all grievances containing the grievance’s date, the grievant’s

 name and inmate number, a statement of the nature of the grievance, and the date the appropriate

 official responded to the grievance. Filing 146-1 at 6.

        AR 004.01 establishes the ADA policy for NDCS employees and inmates. Filing 146-2 at

 2. According to the policy, “Inmates may follow grievance procedures for reporting ADA-related

 concerns.” Filing 146-2 at 6. However, the regulation goes on to provide that “[i]nmates may also

 contact the NDCS ADA Coordinator directly to report an ADA-related concern.” Filing 146-2 at

 6. AR 004.01 states that if an inmate “is uncertain how to submit complaints of disability

 discrimination” he or she may “contact the NDCS ADA Coordinator, the State ADA Coordinator,

 or the Nebraska Equal Opportunity Commission for assistance.” Filing 146-2 at 7. It continues,

 “No one is required to submit a complaint to NDCS before filing with the NEOC and/or EEOC.”

 Filing 146-2 at 6. NDCS’s ADA Coordinator stated that, in her opinion, “if an inmate believes he

 or she has been subject to disability discrimination or denied accessibility to an activity, service,

 or program . . . the proper way to complain about that [is] to follow the grievance procedure in

 [AR] 217.02.” Filing 178-7 at 12, 289.

        4. Evidence Regarding the Availability of the Grievance Process




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         While the PLRA requires administrative exhaustion prior to an inmate seeking judicial

 resolution of a complaint, an inmate is only required to exhaust those administrative remedies

 which are actually available. See Townsend v. Murphy, 898 F.3d 780, 783 (8th Cir. 2018) (citing

 42 U.S.C. § 1997e(a)) (“The PLRA, however, requires exhaustion of only ‘such administrative

 remedies as are available.’”). “The availability of a remedy, according to the Supreme Court, is

 about more than just whether an administrative procedure is ‘on the books.’” Id. (quoting Ross v.

 Blake, ___ U.S. ___, 136 S. Ct. 1850, 1859, 195 L. Ed. 2d 117 (2016)). Rather, a remedy is

 available only if it is “‘capable of use’ to obtain ‘some relief for the action complained of.’” Ross,

 ___ U.S. at ___, 136 S. Ct. at 1859 (quoting Booth v. Churner, 532 U.S. 731, 738, 121 S. Ct. 1819,

 1820, 149 L. Ed. 2d 958 (2001)).

         The Supreme Court noted three specific instances in which a remedy would not be

 “available” for purpose of PLRA exhaustion. See id. at 1859-60. “First, . . . an administrative

 procedure is unavailable when (despite what regulations or guidance materials may promise) it

 operates as a simple dead end—with officers unable or consistently unwilling to provide any relief

 to aggrieved inmates.” Id. at 1859 (citing Booth, 532 U.S. at 736, 738, 121 S. Ct. 1819). Second,

 “an administrative scheme might be so opaque that it becomes, practically speaking, incapable of

 use” because “no ordinary prisoner can discern or navigate it.” Id. “[W]hen a remedy is . . .

 essentially ‘unknowable’—so that no ordinary prisoner can make sense of what it demands—then

 it is also unavailable.” Id. (citing Goebert v. Lee Cty., 510 F.3d 1312, 1323 (11th Cir. 2007); Turner

 v. Burnside, 541 F.3d 1077, 1084 (11th Cir. 2008)). Finally, the third scenario in which the

 Supreme Court would find a remedy unavailable is “when prison administrators thwart inmates

 from taking advantage of a grievance process through machination, misrepresentation, or

 intimidation.” Id.



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         Defendants assert the NDCS grievance process was actually available to all inmates,

 Filing 179 at 147-54, but Plaintiffs introduced evidence from both individual inmates as well as

 experts showing that serious factual disputes exist regarding whether remedies are, in fact,

 “available” within the definition put forth by the Supreme Court in Ross, ____ U.S. at ____,136

 S. Ct. at 1859-60.

                a. Plaintiffs’ Inmate Declarations Regarding Unavailability of Grievance Process

          Cardeilhac filed a declaration detailing his knowledge of and experiences lodging

 grievances at TSCI. Filing 160-1. According to Cardeilhac, he participated in an inmate orientation

 when he arrived at TSCI but does not recall receiving an inmate rulebook or any information

 related to the grievance process. Filing 160-1 at 2. His understanding of how to complete the

 grievance process therefore comes largely from speaking with other inmates. Filing 160-1 at 3. He

 also does not have access to the library at TSCI due to his classification in segregation and he is

 not aware if TSCI has an “inmate resource center.” Filing 160-1 at 2. Cardeilhac also detailed his

 difficulty in lodging grievances while housed in a segregation unit. Filing 160-1 at 1-2; Filing 160-

 2. According to Cardeilhac, when in segregation he is supposed to have access to grievance forms

 by requesting them at 2:00 P.M. “when the gallery corporal brings the supply cart past [his] cell.”

 Filing 160-1 at 1. However, Cardeilhac has requested grievance forms in this manner and NDCS

 staff “have declined to provide [him] these forms within three days of [his] request.” Filing 160-1

 at 2. According to Cardeilhac, “[T]he only other way to access grievance forms outside of this

 time frame, from NDCS staff, in [his] housing unit is to cover [his] window and act like there is

 an emergent situation to draw NDCS staff attention to [his] cell.” Filing 160-1 at 2.

         Cardeilhac also describes other issues with the operation of the grievance procedure at

 TSCI. He has experienced NDCS staff encouraging him to utilize an Inmate Interview Request



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 (IIR), also informally known as a “kite,” rather than the formal grievance process. Filing 160-1 at

 2. Cardeilhac has also experienced NDCS staff delaying responses to his grievances, incorrectly

 dating the responses such that they do not correspond to the actual date he received an answer, or

 failing to respond to grievances at all. Filing 160-1 at 3. He has also witnessed NDCS staff losing

 or destroying grievance forms and refusing to submit them to the proper authority. Filing 160-1 at

 3. He feels that a common sentiment among inmates is “that filing grievances is pointless due to

 the lack of tangible results from engaging in the process.” Filing 160-1 at 2. Griswold reports

 similar issues at TSCI, including NDCS losing, intentionally destroying, or refusing to accept

 grievances. Filing 160-9 at 2-3.

         Sabata and Rena both filed declarations detailing issues with perfecting grievances at

 NCCW. Filing 160-3; Filing 160-30. Both say they did not recall receiving information about

 grievances during their orientation, nor did the facility’s inmate resource center provide

 information about the grievance procedure. Filing 160-3 at 1-2; Filing 160-30 at 2. They also

 express a sentiment among inmates at NCCW that the filing of grievances does not produce

 tangible results and takes an extended length of time to complete. Filing 160-3 at 1-2; Filing 160-

 30 at 2. They experienced NDCS staff refusing to accept grievances they attempted to file,

 inaccurately dating NDCS responses to grievances, and requiring more time to respond. Filing

 160-3 at 2; Filing 160-30 at 2-3.

         Curtright attested to grievance issues at the Omaha Correctional Center (“OCC”). Filing

 160-4. Curtright has experienced “significant delays between when a grievance is marked as

 responded to by NDCS and when [he] actually receive[s] their response.” Filing 160-4 at 2. He

 provided an example of Grievance 2017-5244, which he filed as a Step One Grievance on June

 27, 2017. Filing 160-4 at 2. The form itself indicates NDCS responded on July 19, 2017, while the



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 grievance log states the response date as July 21, 2017. Filing 160-4 at 2; Filing 160-5. According

 to Curtright, he did not receive the response until July 24, 2017. Filing 160-4 at 2. When Curtright

 appealed the decision by filing a Step Two Grievance form on August 6, 2017, NDCS did not mark

 it “received” until August 9, 2017. Filing 160-4 at 2-3. While Curtright’s attempted Step Two

 Grievance may have been untimely, the grievance nevertheless reveals significant issues on

 NDCS’s part in incorrectly dating inmate grievances and responses.

         Curtright also reported NDCS staff and unit managers telling inmates to report issues via

 a “kite,” or IIR, rather than by filing a formal grievance. Filing 160-4 at 3. According to Curtright,

 NDCS staff would also incorrectly tell inmates that they must file an IIR in order to initiate the

 grievance process, in contravention of 68 Neb. Admin. Code, § 2-003.002 which states that only

 an Informal Grievance Resolution Form initiates the grievance process. Filing 160-4 at 3.

         Gunther reported issues with the grievance process at NSP. Filing 160-10. While housed

 in isolation, Gunther had limited access to grievance forms, and NDCS staff told him grievance

 forms were completely unavailable on certain days. Filing 160-10 at 2. For example, on several

 occasions, Gunther attempted to submit a Step Two grievance regarding medical care, but NDCS

 rejected it because he did not attach a signed Step One response. Filing 160-10 at 4; Filing 160-

 14; Filing 160-15; Filing 160-16; Filing 160-17. However, staff refused to accept the initial Step

 One grievance at all, meaning Gunther had no response to attach. Filing 160-10 at 4. Gunther also

 reported NDCS failing to provide responses on the same date written on grievance forms or logs,

 thus resulting in Gunther’s escalation of the grievance being untimely. Filing 160-10 at 5-6; Filing

 160-20; Filing 160-21; Filing 160-22. Lastly, Gunther experienced NDCS responding that it would

 resolve issues to remedy a grievance, but then failing to take the promised steps. Filing 160-10 at

 6; Filing 160-23.



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         Galle likewise experienced difficulty in submitting grievances while incarcerated at NSP,

 including correctional officers discouraging him from filing grievances and a unit manager

 repeatedly threatening to throw away Galle’s grievances. Filing 160-6 at 3. Galle also experienced

 NDCS staff losing his grievances, and he was unable to submit grievances during a “lockdown”

 situation. Filing 160-6 at 3.

         R.P. testified to a complete lack of information regarding the grievance process at the

 NCYF. Filing 160-26 at 1-2. He was not provided with any information about the grievance

 process during his orientation. Filing 160-26 at 2. He reports that NDCS staff at NCYF tell inmates

 to address any concerns or issues by filing an IIR and do not advise them to use the grievance

 process. Filing 160-26 at 2-3. He was unaware that an IIR was different from the grievance process

 until he was so informed during the course of litigating this case. Filing 160-26 at 3.

         Reeves reported a similar lack of access to and information about the grievance process

 during his time at NCYF prior to June 2017. Filing 160-27 at 1. While housed in segregation,

 Reeves was denied access to pens and paper, including grievance forms. Filing 160-27 at 2. On

 other occasions, when Reeves asked for grievance forms, NDCS staff would express anger, tell

 him to wait because they were too busy, and tell him it was too late and he would have to wait for

 the next shift. Filing 160-27 at 2. He also experienced NDCS staff telling him to just “file a kite”

 rather than pursue a grievance because they claimed “the kites work better than grievances.” Filing

 160-27 at 2. As a result of this misinformation by NDCS staff, Reeves sent numerous IIRs directly

 to the Warden rather than pursuing the grievance process to exhaustion. Filing 160-27 at 3; Filing

 160-28. He averred, “Each time I believed that the Warden’s response completed the grievance

 because I followed staff’s instructions and contacted the warden directly.” Filing 160-27 at 3.




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         Sweetser detailed numerous barriers to exhausting the grievance process during his

 incarcerations at the Community Corrections Center in Omaha, NSP, and OCC. Filing 160-31 at

 1. In 2017, Sweetser filed Grievance 2017-7212. Filing 160-31 at 3; Filing 160-32. NDCS

 indicated it responded to his Step One grievance on August 28, 2017, but Sweetser did not receive

 the response back until September 12. Filing 160-31 at 3; Filing 160-32. Sweetser filed his Step

 Two grievance on September 13, the day immediately after receiving NDCS’s response, but NDCS

 rejected it on the grounds that it was untimely for being submitted more than ten days after the

 false response date of August 28. Filing 160-31 at 3; Filing 160-32. Sweetser was unable to exhaust

 another grievance, number 2017-4568, because NDCS dated its response May 31, 2017, but failed

 to return it until several weeks later. Filing 160-31 at 3; Filing 160-33. Sweetser’s Step Two

 grievance form was consequently deemed untimely, despite him filing it immediately after

 receiving NDCS’s Step One response. Filing 160-31 at 3; Filing 160-33. Sweetser also experienced

 NDCS losing three of his grievances and advising inmates to file IIRs instead of going through the

 grievance process. Filing 160-31 at 4.

                b. Plaintiffs’ Expert Declarations Regarding Unavailability of the Grievance

                    Process

          In addition to the various declarations from inmates documenting their first-hand

 experiences and frustrations with the NDCS grievance process, Plaintiffs also submitted evidence

 from three experts substantiating that the grievance process is not actually available to inmates.

 Filing 160-35; Filing 160-38; Filing 160-41.

         Eldon Vail, whose qualifications are described at length above, supra Section II.B,

 submitted a declaration based on his extensive experience working in correctional facilities and

 his review of NDCS’s grievance procedures and individual inmates’ grievances. Filing 160-35 at



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 1-5. Vail identifies a number of procedural roadblocks built into the NDCS grievance policy which

 prevent inmates from utilizing it to exhaustion. Filing 160-35 at 5-6. First, Vail opines that the

 requirement that inmates file grievances within three days of the instance being grieved is

 problematic and exceptionally short when compared with other states’ practices. Filing 160-35 at

 8. In addition to such a quick turnaround time requiring prisoners to act with haste or before fully

 comprehending a situation, the policy is vague as to when the three-day period begins. Filing 160-

 35 at 8-9. “Because the NDCS policy does not define the term ‘incident’ or provide any guidance

 for when this 3 day time period begins, in most cases it will be unknowable by when the prisoner

 needs to file the Informal Grievance Resolution Form.” Filing 160-35 at 9. According to Vail, he

 has reviewed numerous instances in which NDCS staff used the timing requirement to “dismiss[]

 grievances without consideration of their merits, by concluding the prisoner guessed wrong as to

 when the triggering incident occurred.” Filing 160-35 at 9. For example, Vail reviewed one

 rejected grievance in which the inmate complained his new pain medication was not being properly

 managed. Filing 160-35 at 27. Because his medication had changed six weeks prior, NDCS staff

 rejected it as untimely. Filing 160-35 at 27. Vail calls it “incomprehensible” that NDCS would

 reject such a grievance when common sense would provide that an inmate might need time to see

 the effectiveness of a new medication before realizing it is not working and grieving the issue.

 Filing 160-35 at 27.

         In Vail’s opinion, requiring inmates to obtain the Step One and Step Two grievance forms

 in person from different NDCS staff also disincentivizes inmates from utilizing the grievance

 procedure if they fear the grievance could trigger retaliation. Filing 160-35 at 10, 13. Vail notes

 that the regulations allow an inmate to avoid the in-person requirement by mailing grievances “of

 a sensitive nature” but found that exception problematic because “sensitive nature” is not defined.



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 Filing 160-35 at 11. Accordingly, if NDCS disagrees with an inmate about a grievance being

 sensitive or not, it could result in rejection of the grievance beyond the three-day time limit and no

 remedy for the inmate. Filing 160-35 at 11. Similarly, Vail notes two instances in which grievances

 were rejected by NDCS because the inmate had marked them as an “emergency” and NDCS

 disagreed. Filing 160-35 at 22.

          Likewise, the requirement that an inmate attach copies of the responses to each

 subsequent level of grievance report is “burdensome” and “nonsensical” in Vail’s opinion because

 NDCS policy already requires it to keep copies of grievance responses. Filing 160-35 at 13. Vail’s

 opinion in this respect is supported by the fact that six of the grievance examples he reviewed

 “were rejected by NDCS staff simply because the prisoner failed to attach the appropriate form.”

 Filing 160-35 at 21. This was true even when the inmate attempted to indicate his or her inability

 to attach the prior forms “because unit staff had refused to accept the forms.” Filing 160-35 at 21.

         Vail also finds problems with the requirement that inmates file no more than two

 grievances per week, especially in conjunction with the requirement that inmates grieve separate

 incidents on separate forms. Filing 160-35 at 14-15. As an illustration of the latter problem, he

 reviewed one grievance which was rejected for containing multiple issues when the inmate

 complained about being housed in protective custody instead of general population despite being

 blind. Filing 160-35 at 23.

         Vail identifies inconsistencies in the guidance to inmates of where and how they could

 lodge complaints. Filing 160-35 at 12-19. While NDCS seems to take the position that the Step

 One and Step Two procedure is the only manner for properly filing a grievance, Vail argues both

 the grievance and ADA regulations contain confusing language which seems to inform prisoners




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 they can pursue other avenues of filing a grievance, such as by contacting the ombudsman or filing

 a judicial complaint. Filing 160-35 at 15-19.

         Vail also identifies instances of NDCS staff disincentivizing inmates from filing

 grievances and encouraging them only to file IIRs instead. Filing 160-35 at 27-28. Vail opines that

 “This misdirection of prisoners away from the formal grievance process by NDCS staff, instead

 telling them to file a form that Nebraska does not treat as part of its grievance process, obstructs

 prisoners from complying with the procedural requirements of the grievance system.” Filing 160-

 35 at 27-28.

         Based on the foregoing observations, Vail concludes that “the NDCS grievance processes

 are so opaque, confusing and contradictory that ordinary prisoners would find [them] unknowable

 and therefore unavailable.” Filing 160-35 at 5.

         Plaintiffs also submitted the declaration of Dr. Pablo Stewart. Filing 160-38. Based on his

 thirty-plus years of experience in correctional mental healthcare and his review of the NDCS

 grievance policies as well as materials from Plaintiffs’ medical files, Dr. Stewart opines that the

 grievances processes are “complex, confusing, and overly stringent.” Filing 160-38 at 3. Dr.

 Stewart finds the grievance process especially problematic for those inmates “suffering from

 Major Mental Illnesses . . . [who] would find it nearly impossible to complete.” Filing 160-38 at

 3. In particular, Dr. Stewart opines that individuals with mental illnesses would find it difficult to

 comply with the grievance policies’ strict time limitations and technical requirements because

 mental illness tends to wax and wane over time. Filing 160-38 at 5.

         Lastly, Plaintiffs submitted the declaration of Dr. Peter Leone, a professor specializing in

 educational disabilities and the experiences of disabled individuals in correctional institutions.

 Filing 160-41 at 2. Dr. Leone reviewed the NDCS grievance process and declarations from NDCS



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 officials. Filing 160-41 at 3; Filing 160-43 at 2. According to Dr. Leone, the grievance process is

 so complex and confusing for prisoners of average reading ability and for those with intellectual

 disabilities that it is essentially unknowable to them. Filing 160-41 at 3-4. Dr. Leone evaluates the

 ARs governing the grievance procedure as ranging from a tenth-grade to a fifteenth-grade reading

 level, which he opines would be beyond the capacity of many inmates. Filing 160-41 at 4-5; Filing

 160-44. Dr. Leone also finds it unlikely that inmates would self-identify as having intellectual

 disabilities in order to request an accommodation or assistance in completing the grievance

 process. Filing 160-41 at 7.

                   c. Defendants’ Evidence Regarding Availability of the Grievance Process3

           Defendants counter Plaintiffs’ evidence by arguing that the grievance process cannot be

 considered “unavailable” because some of the plaintiffs have managed to successfully grieve

 certain issues. See Filing 179 at 147-52. First, they claim the grievance process is not a dead end.

 Filing 179 at 148. They point to the fact Sabata requested access to use the swing set at NCCW

 and was allowed to do so in Grievance 2017-499 and that Galle was granted relief at a Step-One

 grievance level when he requested to work in the Cornhusker State Industries shops and was

 permitted to do so. Filing 179 at 148; Filing 127-5 at 1-4; Filing 127-44 at 59-62. Chief of

 Operations at NDCS, Diane Sabatka-Rine further states that even if a grievance is technically

 untimely, staff have the “discretion” to choose to still respond on its merits. Filing 178-8 at 48-49.

 However, there is no guidance for staff on how or when to exercise this discretion and Sabatka-

 Rine admits that “staff would not be in error if they relied simply on the rule book” in strictly


 3
   Plaintiffs purport to object to three of Defendants’ affidavits submitted in support of their motion on the basis of lack
 of personal knowledge. Filing 160-45. However, Plaintiffs did not properly file a separate motion or objection
 supported by a brief, but rather attached a document titled “Objection” as one of the exhibits in their index of evidence
 in opposition. Filing 160-45. As the objection was not properly filed as required by NECivR 7.1, the Court need not
 address it. However, even if the objection had been properly filed, the Court still would have considered the affidavits
 in question as Defendants have established the affiants had adequate personal knowledge of the facts to which they
 attest.

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 denying all untimely grievances, even those based on circumstances such as delayed or incorrectly

 dated responses. Filing 178-8 at 48. Sabatka-Rine admits being aware of instances of “grievances

 not being processed within the timeframes” and claims NDCS took “corrective action” but that to

 the best of her knowledge, no staff have ever been disciplined for obstructing access to the

 grievance system, telling inmates to file an IIR instead of a grievance, destroying grievances,

 delaying grievance responses, or giving inaccurate information to inmates about the grievance

 process. Filing 178-8 at 54-56, 58.

         Defendants further argue the grievance policy cannot be considered opaque or

 unknowable because some of the plaintiffs admit receiving a copy of the inmate rulebook and the

 grievance process is otherwise readily available via electronic means in each facility’s law library,

 also known as its inmate resource center, and inmates have access to all grievance forms by asking

 for them from staff. Filing 178-8 at 22-24; Filing 179 at 150; Filing 160-1 at 2; Filing 160-3 at 2;

 Filing 160-4 at 3; Filing 160-9 at 2; Filing 160-24 at 1-2; Filing 160-26 at 2; Filing 160-30 at 2;

 Filing 160-31 at 2; Filing 178-12 at 2; Filing 178-14 at 2-3; Filing 178-15 at 2; Filing 178-16 at 2;

 Filing 178-17 at 2; Filing 178-18 at 2-3. Sabatka-Rine states that all individuals in the general

 population can go to the inmate resource centers and those in protective or restrictive housing have

 access to inmate resource centers in their respective units as well. Filing 178-8 at 26-27. She further

 states that all inmates are given a copy of the grievance process during their orientation and all

 inmates have access to printed grievance forms. Filing 127-1 at 3, 5. Sabatka-Rine agreed that per

 the ARs, NDCS staff is supposed to respond to an informal grievance within ten days, but

 “circumstances such as illness, injury or unavailability of a witness may lengthen the response

 time.” Filing 127-1 at 3.




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         Finally, Defendants urge the Court to discount the evidence of NDCS officials preventing

 inmates from pursuing grievances because they call such evidence “merely subjective beliefs” and

 “unsupported allegations.” Filing 179 at 152 (citation omitted).

                d. Analysis Regarding Availability of the Grievance Process

        The case of Labounty v. Johnson, 253 F. Supp. 2d 496 (W.D.N.Y. 2003) is instructive as

 to how this Court should address Defendants’ motion for summary judgment on the question of

 administrative remedies. In Labounty the plaintiff filed a § 1983 claim for Eighth Amendment

 prison violations and the defendants moved for summary judgment on the basis that the plaintiff

 had failed to exhaust his administrative remedies under the PLRA. Id. 497. The court

 acknowledged that the question of “[w]hether the plaintiff has exhausted his administrative

 remedies is a question for the Court to decide as a matter of law.” Id. at 504 (citing Snider v.

 Melindez, 199 F.3d 108, 113–14 (2d Cir. 1999)). However, the court found that as to one of the

 plaintiff’s claims, “[t]he record as it exists at this time contains conflicting accounts regarding

 plaintiff’s efforts to complete the exhaustion process.” Id. at 504. The Court concluded that

 “[g]iven that the Court must draw all reasonable inferences in [the] plaintiff’s favor, the Court

 must deny the defendants’ motion for summary judgment at this time.” Id.; see also Albino v. Baca,

 747 F.3d 1162, 1166 (9th Cir. 2014) (“[D]efendants must produce evidence proving failure to

 exhaust in order to carry their burden. If undisputed evidence viewed in the light most favorable

 to the prisoner shows a failure to exhaust, a defendant is entitled to summary judgment under Rule

 56. If material facts are disputed, summary judgment should be denied . . . .”).

         Having considered all the pertinent evidence, the Court concludes that there are genuinely

 disputed facts regarding whether the grievance process is available to the named NDCS inmates

 within the meaning provided for by the United States Supreme Court. Plaintiffs’ evidence, both in



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 the form of actual experiences of inmates and experts reviewing the rules and individual

 grievances, creates genuine questions about whether the NDCS grievance process is “‘capable of

 use’ to obtain ‘some relief for the action complained of.’” Ross, ___ U.S. at ___, 136 S. Ct. at 1859

 (quoting Booth, 532 U.S. at 738, 121 S. Ct. 1819). The Court finds genuine disputed facts regarding

 all three forms of unavailability enumerated in Ross: the NDCS grievance policy acting as a dead

 end; the process being so opaque and incapable of practical use such that no prisoner can navigate

 it; and NDCS administrators and staff undertaking overt actions to deter inmates from completing

 the grievance process. See Ross, ____ U.S. at ____,136 S. Ct. at 1859-60.4

           “First, . . . an administrative procedure is unavailable when (despite what regulations or

 guidance materials may promise) it operates as a simple dead end—with officers unable or

 consistently unwilling to provide any relief to aggrieved inmates.” Id. at 1859 (citing Booth, 532

 U.S. at 736, 738, 121 S. Ct. 1819). Here, Plaintiffs presented evidence that inmates were routinely

 unable to obtain relief from the grievance process, with their grievances denied either based on

 failure to comply with the regulations or due to NDCS’s lack of follow-through. Filing 160-1 at 3;

 Filing 160-4 at 3; Filing 160-10 at 2-6; Filing 160-14; Filing 160-15; Filing 160-16; Filing 160-

 17; Filing 160-23; Filing 160-31 at 3. Inmates also consistently reported feeling that the grievance

 process was futile. Filing 160-1 at 2; Filing 160-3 at 1; Filing 160-30 at 2. Vail opined that NDCS




 4
   The Court acknowledges that even without considering the dispute as to the availability of the administrative
 remedies to the named plaintiffs, there are significant factual and legal disputes among the parties as to whether
 individual grievances have been exhausted. See Filing 128 at 35-98; Filing 162 at 71-81 (summary chart); Filing 179
 at 165-184 (responsive summary chart). Indeed, Plaintiffs argue “there is at least one exhausted named plaintiff for
 each claim in the class action, with exhaustion either established by Defendants’ concession, or with exhaustion as a
 triable issue of fact precluding summary judgment.” Filing 162 at 81. The Court agrees that to be the case as of today.
 See supra Section II.D; see infra Section II.G.3. Plaintiffs further point out that if the Court were inclined to certify
 the class, there would be no need for all Plaintiffs to administratively exhaust every claim due to the theory of vicarious
 exhaustion. Filing 162 at 81-83. Given the Court concludes there is a question of material fact regarding the
 availability of the grievance process to the named plaintiffs that precludes summary judgment in favor of Defendants,
 the Court need not address every grievance filed nor address the question of whether certain actions taken outside the
 three-step grievance process constitute exhaustion under the PLRA.

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 staff routinely rejected grievances on procedural technicalities rather than addressing their merits.

 Filing 160-35 at 9, 10, 13, 27. Although Defendants point to instances of a few completed

 grievances which resulted in relief for inmates, Filing 179 at 147-52, Plaintiffs’ evidence

 overwhelming disputes that the process was a viable means for obtaining relief on a consistent

 basis.

          Second, “an administrative scheme might be so opaque that it becomes, practically

 speaking, incapable of use” because “no ordinary prisoner can discern or navigate it.” Ross, ____

 U.S. at ____,136 S. Ct. at 1859-60. “[W]hen a remedy is . . . essentially ‘unknowable’—so that no

 ordinary prisoner can make sense of what it demands—then it is also unavailable. Id. (citations

 omitted). Plaintiffs’ evidence creates a factual dispute as to whether the NDCS grievance process

 is so complex and rife with technical requirements that the ordinary prisoner could not successfully

 navigate it. Inmates testified that even obtaining the numerous proper grievance forms can be

 difficult because it requires a specific procedure that is dependent on particular personnel acting

 or making the forms available within tight timeframes. Filing 160-1 at 1-2; Filing 160-3 at 2; Filing

 160-6 at 3; Filing 160-10 at 2; Filing 160-27 at 2; Filing 160-31 at 4. Inmates also experienced

 difficulty complying with the strict timelines in filing grievances, either due to confusion over the

 proper procedure or due to NDCS responses themselves being untimely or incorrectly dated. Filing

 160-1 at 3; Filing 160-3 at 2; Filing 160-4 at 2; Filing 160-5; Filing 160-10 at 4-6; Filing 160-27

 at 3; Filing 160-31 at 3; Filing 160-32; Filing 160-33.

          Plaintiffs’ experts substantiated the opaqueness of the NDCS grievance scheme. Vail

 opined that the three-day turnaround for filing initial grievances was unworkable because the term

 “incident” was unclear, such as in the situation of the inmate who was told his grievance was

 untimely because he waited to see the effectiveness of a new medication. Filing 160-35 at 8-9; 27.



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 According to Vail, the classification of different grievances was also vague and unclear. Vail noted

 that the regulations allow an inmate to avoid the in-person requirement by mailing grievances “of

 a sensitive nature” but found that exception problematic because “sensitive nature” was not

 defined. Filing 160-35 at 11. If NDCS disagreed with an inmate about a grievance being sensitive

 or not, it could result in rejection of the grievance beyond the three-day time limit and there would

 be no remedy for the inmate. Filing 160-35 at 11. Vail also noted two instances in which grievances

 were rejected by NDCS because the inmate had marked them as an “emergency” and NDCS

 disagreed. Filing 160-35 at 22. Vail also found confusing the language in the grievance and ADA

 regulations which seemed to inform prisoners they could pursue other avenues of filing a

 grievance, such as by contacting the ombudsman or filing a judicial complaint, despite the fact

 NDCS maintains the formal grievance process is the only avenue for exhausting one’s

 administrative remedies. Filing 160-35 at 12-19.

         Dr. Leone evaluated the ARs governing the grievance procedure as ranging from a tenth

 to a fifteenth grade reading level, which he opined would be beyond the capacity of many inmates.

 Filing 160-41 at 4-5; Filing 160-44. According to Dr. Leone, the grievance process is so complex

 and confusing for prisoners of average reading ability—let alone those suffering from intellectual

 disabilities—that it is essentially unknowable to them. Filing 160-41 at 3-4. Dr. Stewart agreed

 that the grievance process is “complex, confusing, and overly stringent.” Filing 160-38 at 3. Dr.

 Stewart found the grievance process especially problematic for those inmates “suffering from

 Major Mental Illnesses . . . [who] would find it nearly impossible to complete.” Filing 160-38 at

 3. Dr. Stewart opined that individuals with mental illnesses would find it difficult to comply with

 the grievance policies strict time limitations and technical requirements because mental illness

 tends to wax and wane over time. Filing 160-38 at 5.



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         Based on the Court’s own review of the multi-step grievance process, its numerous

 technical requirements, and Plaintiffs’ declarations and experts, the Court agrees that disputed

 issues of material fact exist regarding whether the NDCS grievance process is so confusing and

 opaque that it is incapable of use by the ordinary inmate.

         Lastly, and perhaps most concerningly, Plaintiffs presented evidence that NDCS

 “administrators thwart inmates from taking advantage of [the] grievance process through

 machination, misrepresentation, or intimidation.” See Ross, ____ U.S. at ____,136 S. Ct. at 1860.

 Almost all of the inmates reported a dearth of information regarding the proper grievance

 procedure, despite Defendants’ insistence that the policy is supposed to be readily accessible. See,

 e.g., Filing 160-1 at 2-3; Filing 160-3 at 2; Filing 160-30 at 2; Filing 160-26 at 2. Inmates also

 reported NDCS staff dissuading them from filing grievances, losing or refusing to accept

 grievances, and telling inmates to file IIRs instead of grievances, knowing that IIRs were not a part

 of the formal grievance system. Filing 160-1 at 2-3; Filing 160-9 at 2-4; Filing 160-3 at 2; Filing

 160-30 at 2; Filing 160-10 at 4-6; Filing 160-6 at 3; Filing 160-26 at 2-3. Curtright even reported

 NDCS staff incorrectly telling inmates that an IIR was required in order to initiate the grievance

 process, while NDCS staff told Reeves to just “file a kite” rather than pursue a grievance because

 they claimed “the kites work better than grievances.” Filing 160-4 at 3; Filing 160-27 at 2. NDCS

 staff also took more overt actions to prevent successful inmate grievances, such as incorrectly

 dating responses, delaying answers, or refusing to submit grievances to the proper authority, thus

 all but ensuring they would be denied at the next level for failure to comply with the grievance

 procedures. Filing 160-1 at 2-3; Filing 160-3 at 2; Filing 160-30 at 2; Filing 160-4 at 2-3; Filing

 160-5; Filing 160-31 at 3, 5.




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         Vail’s review of the evidence revealed that NDCS staff employed a hypertechnical reading

 of the rules in order to deny inmate grievances based on lack of compliance. Filing 160-35 at 9,

 21, 23. Vail found numerous instances in which NDCS staff used the timing requirement to

 “dismiss[] grievances without consideration of their merits, by concluding the prisoner guessed

 wrong as to when the triggering incident occurred.” Filing 160-35 at 9. Vail also identified

 instances of NDCS staff disincentivizing inmates from filing grievances and encouraging them

 only to file IIRs instead. Filing 160-35 at 27. Vail opined, “This misdirection of prisoners away

 from the formal grievance process by NDCS staff, instead telling them to file a form that Nebraska

 does not treat as part of its grievance process, obstructs prisoners from complying with the

 procedural requirements of the grievance system.” Filing 160-35 at 27-28. The Court finds

 Plaintiffs’ evidence creates genuine disputes regarding whether NDCS officials and staff thwarted,

 misdirected, and confused inmate attempts at completing the grievance process.

         Viewing the evidence in the light most favorable to Plaintiffs as the Court is required to do

 on a motion for summary judgment, there are genuine issues of material fact regarding whether

 the NDCS grievance process is available and whether inmates were therefore required to exhaust

 their administrative remedies.5 See Garrison, 833 F.3d at 884; Fed. R. Civ. P. 56(c). Accordingly,

 Defendants’ Motion for Summary Judgment for failure to exhaust administrative remedies must

 be denied.

                  e. Statute of Limitations

          Finally, the Court addresses Defendants’ argument that certain of individual Plaintiffs’

 grievances should be barred by the statute of limitations for filing actions under § 1983. Filing 128


 5
  The Court notes that Defendants’ Motion for Partial Summary Judgment (Filing 125) was filed on July 27, 2018.
 Since that time, a vast number of additional filings along with additional discovery has taken place. The Court
 acknowledges that the parties in this case have agreed that some named Plaintiffs have indeed exhausted their
 administrative remedies for certain grievances. See infra Section II.G.3 in this opinion.

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 at 55-56, 61, 72-73. Because the Court has concluded that summary judgment is inappropriate due

 to disputes over whether Plaintiffs were able to exhaust their administrative remedies, it cannot

 grant summary judgment on the basis of the statute of limitations either. The PLRA, 42 U.S.C. §

 1997(e), provides that no judicial action may be filed until a prisoner exhausts his available

 administrative remedies. If, however, the administrative remedies were not available to Plaintiffs,

 there is a question whether the statute of limitations was tolled during the time they attempted to

 exhaust their remedies but were unable to do so. See, e.g., Carney v. Walker, No. 2:04CV92(SNL),

 2005 WL 8165808, at *1 (E.D. Mo. Feb. 10, 2005) (finding “[w]hether and to what extent the

 statute of limitations for bringing a suit pursuant to 42 U.S.C. § 1983 is tolled while a prisoner

 pursues his available administrative remedies is an issue that has not yet been decided by the Eighth

 Circuit Court of Appeals” but remanding for the parties to present evidence regarding tolling); Doe

 v. Selsky, 948 F. Supp. 2d 306, 310-11 (W.D.N.Y. 2013) (“If plaintiff began actively pursuing, or

 attempting to pursue, his administrative remedies through the grievance process shortly after his .

 . . confinement began in 2004, but was prevented from doing so due to prison staff’s refusal to

 process, or even their outright destruction, of his grievances, then the limitations period could have

 been tolled for virtually his entire period of . . . confinement.”). Thus, the Court declines to

 determine the applicability of the statute of limitations at this time.

           E. Motion for Summary Judgment Regarding Those Serving Life Sentences

        Defendants move for partial summary judgment on Curtright, Griswold, and Gunther’s

 claims relating to ADA and RA compliance during the parole-review process. Filing 292.

 Defendants argue that because these three Plaintiffs are serving life sentences, they have no

 standing to challenge the parole process. Filing 294 at 9. Plaintiffs counter that their life sentences




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 do not preclude them from receiving parole review hearings and they should thus be permitted to

 maintain their claims against the BOP. Filing 324 at 1-3.

        1. Additional Facts

        It is undisputed that Curtright, Griswold, and Gunther are committed to NDCS custody for

 terms of life imprisonment. Filing 42-10 at 2; Filing 42-11 at 2; Filing 42-12 at 2; Filing 324 at 5.

 Despite the fact he is serving a life term, the BOP afforded Curtright a parole review hearing in

 2016. Filing 249-21 at 10. Gunther has participated in parole-review hearings in the past as well,

 although he did not provide specific dates when those reviews occurred. Filing 249-4 at 7.

 Griswold has not attended any previous parole hearings. Filing 249-3 at 6. However, he testified

 in a February 2019 declaration that he had a parole review hearing scheduled for March 2019.

 Filing 249-3 at 6.

        NDCS provides an “Inmate Information Locator” website. Filing 323-9 at 1. It is a publicly

 available website which contains limited basic information about inmates in NDCS custody. Filing

 323-9 at 1. On the Inmate Information Locator website, Gunther’s “Total Sentence” is listed as

 “LFE” to “LFE,” presumably meaning “life.” Filing 323-10 at 2. Next to the spots for “Parole

 Eligibility Date,” “Parole Discharge Date,” “Parole Hearing Date,” and “Parole Discharge Type,”

 the entries are blank for Gunther. Filing 323-10 at 2. However, the Inmate Information Locator

 states Gunther is scheduled for his “Next Parole Review Date” in October 2026. Filing 323-10 at

 2.

        Curtright’s Inmate Information Locator page likewise reflects a sentence of “LFE” and has

 no parole eligibility date, parole hearing date, parole discharge date, or parole discharge type

 description. Filing 323-11 at 2. According to the website, Curtright’s next parole review hearing

 is scheduled for August 2026. Filing 323-11 at 2.



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        The Inmate Information Locator website also reflects Griswold is serving a “LFE”

 sentence, and has no parole eligibility date, no parole hearing date, no parole discharge date, and

 no parole discharge type description. Filing 323-12 at 2. According to the webpage, Griswold’s

 next parole review date is January 2029. Filing 323-12 at 2.

        The Inmate Information Locator website contains a disclaimer, which reads as follows:

        Neither the Nebraska Department of Correctional Services, nor any officer or
        employee of the Department of Correctional Services, nor the State of Nebraska
        makes any express or implied warranty regarding documents on this server.
        Although every effort has been made to ensure the accuracy of the information,
        neither the Nebraska Department of Correctional Services, nor any officer or
        employee of the Department of Correctional Services, nor the State of Nebraska
        assumes any liability for the accuracy of information contained herein. Any
        questions regarding the accuracy of the information contained on this website
        should be submitted to Records Administrator, Department of Correctional
        Services, PO Box 94661, Lincoln NE 68509.

 Filing 323-10 at 2; Filing 323-11 at 2-3; Filing 323-12 at 2.

        2. Analysis

        Defendants seek summary judgment on the basis that those Plaintiffs serving life sentences

 lack standing to challenge the parole-review process. Standing is an element of the requirement

 that an actual controversy must exist at all stages of a case. In re Pre-Filled Propane Tank Antitrust

 Litig., 893 F.3d 1047, 1054 (8th Cir. 2018). To show standing when seeking injunctive relief,

        a plaintiff must show that he is under threat of suffering “injury in fact” that is
        concrete and particularized; the threat must be actual and imminent, not conjectural
        or hypothetical; it must be fairly traceable to the challenged action of the defendant;
        and it must be likely that a favorable judicial decision will prevent or redress the
        injury.

 Summers v. Earth Island Inst., 555 U.S. 488, 493, 129 S. Ct. 1142, 1149, 173 L. Ed. 2d 1 (2009)

 (quoting Friends of Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 180–181, 120

 S. Ct. 693, 145 L. Ed. 2d 610 (2000)). “Past exposure to illegal conduct does not in itself show a

 present case or controversy regarding injunctive relief . . . if unaccompanied by any continuing,

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 present adverse effects[.]” Pre-Filled Propane Tank Antitrust, 893 F.3d at 1054 (quoting O’Shea

 v. Littleton, 414 U.S. 488, 495-96, 94 S. Ct. 669, 38 L. Ed. 2d 674 (1974) (first alteration in

 original).

         Prior to 2018, Nebraska law provided inmates serving a life sentence with a right to a parole

 review hearing. The statute in force at the time read, “If a committed offender is serving a

 minimum life sentence, his or her record shall be reviewed during the first year of incarceration

 and every ten years thereafter until such time as the sentence is commuted.” Neb. Rev. Stat. § 83-

 192(1)(f)(v) (Reissue 2014) (repealed 2018). In accordance with this mandate, the Nebraska parole

 rules in effect at the time also required parole reviews for inmates serving life sentences. See Filing

 324 at 28 n.2.

         Effective July 19, 2018, however, the legislature ceased requiring inmates serving life

 sentences to receive parole review hearings. See Neb. Rev. Stat. 83-192 (Supp. 2018) (requiring

 only “review [of] the record of every parole-eligible committed offender annually” (emphasis

 added)). The Parole Board likewise revised its parole rules to no longer provide life-sentence

 inmates with parole-review hearings. See Neb. Parole Bd. R. § 4-204(D) (“The Board will not

 conduct offender reviews for inmates who are not eligible for parole.”).

         The parties do not dispute that Griswold, Gunther, and Curtright are serving life sentences

 and are therefore ineligible for parole. Filing 42-10 at 2; Filing 42-11 at 2; Filing 42-12 at 2; Filing

 324 at 5. Defendants also do not dispute that these Plaintiffs have had past parole review hearings

 and that the Inmate Information Locator page still reflects they are scheduled for future hearings.

 Filing 335 at 10-14. But Plaintiffs’ argument ignores the 2018 change to the Nebraska parole

 statute and the concomitant change to the Nebraska Board of Parole Rule. Formerly, life-sentence

 inmates were statutorily required to receive reviews by the Board of Parole every ten years despite



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 their ineligibility for parole. See Neb. Rev. Stat. § 83-192(1)(f)(v) (repealed 2018). Now, however,

 such reviews are no longer required, Neb. Rev. Stat. § 83-192, and the Board of Parole Rules

 therefore no longer provide for them, Neb. Parole Bd. R. § 4-204(D). Accordingly, while the life-

 sentence Plaintiffs may have received parole-review hearings in the past, they are no longer

 entitled to them nor will the BOP provide such hearings to them moving forward.

        Plaintiffs point to the Inmate Information Locator as proof they will be afforded parole

 review hearings in the future. Filing 323-10 at 2; Filing 323-11 at 2; Filing 323-12 at 2. They claim

 the fact the inmate-locator website still lists parole review dates for these inmates means such

 hearings will, in fact, occur. Filing 324 at 2. But the inmate locator website itself contains a

 disclaimer stating that the information it displays is not necessarily accurate or updated. Filing

 323-10 at 2; Filing 323-11 at 2-3; Filing 323-12 at 2. The pertinent statute and BOP rule state a

 clear prohibition on parole-review hearings for inmates serving life sentences. This is further

 supported by the fact that Griswold was scheduled for a parole review hearing following the 2018

 change in the law and testified that the hearing did not occur. Filing 324 at 3.

        Plaintiffs also argue that the parole-review statute still allows the BOP to review the

 sentence of any inmate if it so chooses. See Neb. Rev. Stat. § 83-192(1) (“Nothing in such [review]

 schedule shall prohibit the board from reviewing a committed offender's case at any time.”). They

 argue the life-sentence Plaintiffs should still have standing because under this subsection, the

 Board of Parole could theoretically afford them parole review hearings at some time in the future.

 Filing 324 at 28 n.2. However, Plaintiffs present no evidence to contradict the BOP Rule stating

 that inmates serving life sentences will not receive parole review hearings. Thus, their argument is

 nothing more than speculation and conjecture, not the type of evidence which would create an

 actual dispute regarding their lack of standing.



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        Plaintiffs’ allegations do not demonstrate those inmates serving life sentences are under

 threat of suffering an “actual and imminent” threat that is “not [merely] conjectural or

 hypothetical.” Summers, 555 U.S. at 493, 129 S. Ct. at 1149 (citations omitted). Furthermore,

 because Plaintiffs are seeking injunctive relief, Filing 1 at 82-88, their claim of violations of ADA

 and RA requirements at past parole-review hearings held for life-sentence inmates “does not in

 itself show a present case or controversy.” Pre-Filled Propane Tank Antitrust, 893 F.3d at 1054

 (quoting O’Shea, 414 U.S. at 495-96, 94 S. Ct. 669). Therefore, there is no disputed issue of

 material fact that Griswold, Curtright, and Gunther lack standing to assert their ADA and RA

 claims against the Board of Parole and Director Micek. For these reasons, Defendants’ Motion for

 Partial Summary Judgment, Filing 292, is granted as it relates to the parole issue, and Curtright,

 Griswold, and Gunther’s claims against the BOP Defendants are dismissed.

                 F. Motion for Summary Judgment Regarding Defendant Micek

        Defendant Julie Micek moves for summary judgment on the basis that the undisputed facts

 demonstrate she plays no role in determining inmates’ eligibility for parole nor holding parole-

 eligibility hearings, which Plaintiffs claim fail to comply with the ADA. Filing 223; Filing 225 at

 2. Plaintiffs respond that summary judgment is improper because Micek plays a role in parole-

 revocation proceedings and in maintaining certain records on behalf of the Board of Parole. Filing

 238 at 8-14. Because there is no genuine dispute of material fact that Micek is uninvolved in the

 BOP-functions relating to Plaintiffs’ claims, the Court grants summary judgment in Micek’s favor

 and dismisses her as a defendant from this lawsuit.

        1. Additional Facts

        Julie Micek is the Director of Supervision and Services for the Division of Parole

 Supervision. Filing 224-1 at 1. The Division of Parole Supervision is in charge of “[t]he



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 maintenance of all records and files associated with the Board of Parole.” Neb. Rev. Stat. § 83-

 1,100 (Supp. 2018). The duties of the Director of Supervision and Services are outlined in Neb.

 Rev. Stat. § 83-1,102 (Supp. 2018) and § 3.404 of the Nebraska Board of Parole Rules. Filing 224-

 1 at 2. These duties encompass the oversight of “the field parole service and the community

 supervision of sex offenders” as well as the preliminary parole-revocation process. Neb. Rev. Stat

 § 83-1,102(2); Filing 224-1 at 2-3. Neither the Division of Parole Supervision nor its director,

 Micek, participate in hearings to determine an inmate’s eligibility for parole. Filing 224-1 at 2-3;

 Filing 238 at 4.

        In contrast to Micek’s role as the Director of Supervision and Services for the Division of

 Parole Supervision, Rosalyn Cotton serves as the Chairperson of the Nebraska Board of Parole.

 Filing 245-2 at 1. The Chairperson presides over the Board’s determinations regarding “the time

 of release on parole of committed offenders eligible for such release,” and review of “every parole-

 eligible committed offender annually.” Neb. Rev. Stat. § 83-192 (Supp. 2018). When the Board,

 under Cotton’s supervision, conducts key reviews, prison interviews, and hearings to determine

 parole eligibility, it relies on NDCS records, including those which might indicate or track an

 inmate’s disability for ADA purposes. Filing 245-2 at 2.

        2. Analysis

        Plaintiffs do not dispute that Micek plays no role in determining whether an inmate is

 eligible for or should receive parole. Filing 238 at 4. The evidence shows such initial parole

 determinations are the purview of the Chairperson of the Board of Parole rather than the Director

 of Supervision and Services. Filing 245-2 at 2. Plaintiffs instead contend Micek’s role overseeing

 parole-revocation proceedings and her oversight of BOP records should subject her to liability for

 their claims, but Plaintiffs’ claims do not relate to the parole revocation process. See Filing 1 at



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 27-28 (describing Plaintiffs’ claim relating to the BOP as involving notification of eligibility for

 parole, holding parole-determination hearings, and determining whether parole is warranted).

 Rather, Plaintiffs’ claims relating to the Board of Parole apply exclusively to prisoners who are

 seeking or eligible for parole. Micek oversees parolees who have already been released into the

 community and no longer reside in NDCS facilities. See Neb. Rev. Stat. § 82-1,102; Filing 224-1

 at 2 (describing the duties of the Director of Supervision and Services for the Division of Parole

 Supervision).

         Micek’s role overseeing BOP records likewise does not implicate Plaintiffs’ allegations.

 The evidence shows that because initial parole hearings take place while an individual is still in

 NDCS custody, it is NDCS records—not BOP ones—that are relevant. Filing 245-1 at 2; see also

 Neb. Rev. Stat. § 83-197 (Reissue 2014) (granting to the BOP “the power to direct the Director of

 Correctional Services to keep records concerning committed offenders which the board deems

 pertinent to its functions”).

         Thus, the undisputed facts show Micek plays no role in the processes pertinent to Plaintiffs’

 claims: the parole determination process for inmates in NDCS custody. Accordingly, Micek’s

 Motion for Summary Judgment, Filing 223, is granted and Micek is dismissed as a defendant from

 the case.

                                   G. Motion for Class Certification

         Plaintiffs seek class certification under Federal Rule of Civil Procedure 23. Filing 247 at

 1-2. They ask the Court to certify the following class: “all persons who are now, or will in the

 future, be subjected to the health care (including medical, mental health and dental care) policies

 and practices of NDCS.” Filing 247 at 1. Plaintiffs further seek to certify two subclasses, a

 disability subclass described as “all persons with disabilities who are now, or will in the future be,



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 confined at any NDCS facility” and an isolation subclass consisting of “all NDCS prisoners who

 are now, or will in the future be, subject to conditions of confinement that provide limited contact

 with other prisoners, strictly controlled movement while out of cell, and out-of-cell time of less

 than twenty-four hours per week.” Filing 247 at 1-2.

        1. Standard of Review on Class Certification

        “To be certified as a class, plaintiffs must meet all of the requirements of Rule 23(a) and

 must satisfy one of the three subsections of Rule 23(b).” In re St. Jude Med., Inc., 425 F.3d 1116,

 1119 (8th Cir. 2005) (citing Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 614, 117 S. Ct. 2231,

 138 L. Ed. 2d 689 (1997); Blades v. Monsanto Co., 400 F.3d 562, 568-69 (8th Cir. 2005)). “District

 courts must engage in a ‘rigorous analysis’ to determine whether the requirements of Rule 23 have

 been satisfied.” Postawko v. Mo. Dep’t of Corr., 910 F.3d 1030, 1036 (8th Cir. 2018) (quoting

 Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 161, 102 S. Ct. 2364, 72 L. Ed. 2d 740 (1982)).

 “Plaintiffs carry the burden of showing that they have met those requirements.” Id. (citing Luiken

 v. Domino’s Pizza, LLC, 705 F.3d 370, 372 (8th Cir. 2013)).

        “[A] decision to certify a class is far from a conclusive judgment on the merits of the case.”

 Id. at 1037 (quoting In re Zurn Pex, 644 F.3d at 613). “For that reason, ‘Rule 23 grants courts no

 license to engage in free-ranging merits inquiries at the certification stage.’” Id. (quoting Amgen

 Inc. v. Conn. Ret. Plans & Trust Funds, 568 U.S. 455, 466, 133 S. Ct. 1184, 1194-95, 185 L. Ed.

 2d 308 (2013)). “Merits questions may be considered to the extent—but only to the extent—that

 they are relevant to determining whether the Rule 23 prerequisites for class certification are

 satisfied.” Id. (quoting Amgen Inc., 568 U.S. at 466, 133 S. Ct. 1184). Thus, in addressing a motion

 for class certification, the Court’s “primary task is not to determine the final disposition of a




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 plaintiff’s claims, but instead to examine whether those claims are appropriate for class

 resolution.” Id. (citing In re Zurn Pex Plumbing Prod. Liab. Litig., 644 F.3d at 613).

        2. Additional Facts

        The NDCS system consists of ten facilities and houses over 5,000 inmates. Filing 250 at

 10, 20. Defendants are responsible for the operation of all NDCS facilities. Filing 250 at 10, 20.

 This includes providing medical care, dental care, mental healthcare, and disability-related

 accommodations for NDCS inmates. Filing 249-75; Filing 250 at 36-37.

                a. Administrative Regulations

        Nebraska law requires the NDCS Director to “[e]stablish and administer policies and

 programs for the operation of the facilities in the department and for the custody, control, safety,

 correction, and rehabilitation of persons committed to the department” and “adopt and promulgate

 rules and regulations for the management, correctional treatment, and rehabilitation of persons

 committed to the department, the administration of facilities, and the conduct of officers and

 employees under his or her jurisdiction.” Neb. Rev. Stat. § 83-173(3), (6). In addition, Neb. Rev

 Stat. § 83-181 mandates that each person committed to a NDCS facility shall have regular medical

 and dental care. In order to effectuate these statutes, NDCS promulgated the ARs, a system of

 centralized policies and procedures. Filing 250 at 10. NDCS’s facilities are governed by the

 policies and procedures outlined in the ARs. Filing 249-77.

        The ARs address a wide range of healthcare, dental, mental health, and isolation policies.

 For example, AR 115.01 serves to “protect the health of patients . . . by ensuring health care

 providers are properly licensed, trained and/or supervised” and requires that healthcare services be

 “provided by qualified health care personnel.” Filing 249-82 at 3. It also places all clinical

 decisions squarely in the hands “of the responsible physician and dentist” and requires a healthcare



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 coordinator to oversee the provision of healthcare at each facility. Filing 249-82 at 5; see also

 Filing 249-84 at 3 (summarizing AR 115.05 which describes how NDCS healthcare providers are

 to conduct initial inmate screenings).

        Another regulation, AR 115.04, “ensure[s] patients are provided unimpeded access to

 health care services and health education programs” and prescribes the various ways in which

 inmates must be able to request and access care. Filing 249-83 at 3-6. It also mandates that

 “[r]outine and emergency dental care” be “provided to each individual sentenced to NDCS under

 the direction and supervision of a licensed dentist.” Filing 249-83 at 6. AR 115.05 requires that

 inmates in restrictive housing have access to healthcare as well. Filing 249-83 at 4; Filing 249-84

 at 6 (requiring a medical assessment prior to placement in restrictive housing).

        A related AR mandates that restrictive housing be used only as “an alternative of last

 resort” and in “the least restrictive manner possible.” Filing 249-90 at 3. It defines restrictive

 housing as “[c]onditions of confinement that provide limited contact with other inmates, strictly

 controlled movement, and out-of-cell time less than 24 hours per week.” Filing 249-90 at 3; see

 also Neb. Rev. Stat. § 83-170 (defining “restrictive housing” in the same manner). Restrictive

 housing is further divided into immediate segregation (“[a] short-term restrictive housing

 assignment of not more than 30 days”) and longer-term restrictive housing (“[a] classification-

 based restrictive housing assignment of over 30 days”). Filing 249-90 at 3-4. Immediate

 segregation gives staff time “to assess the risk the individual poses to safety and security” while

 longer-term restrictive housing enables “behavior change, and treatment that will facilitate the

 inmate’s capacity to live successfully in general population and return successfully to the

 community.” Filing 249-90 at 6. Additionally, longer-term restrictive housing specifically requires

 “the development of a plan for transition back to general population or mission-specific housing.”



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 Filing 249-90 at 4. With either form of restrictive housing, the regulation insists that staff employ

 “[a]lternatives to restrictive housing . . . in every case possible.” Filing 249-90 at 4.

         Prior to assigning an inmate to longer-term restrictive housing, a Unit Classification

 Committee (including, at least, a unit manager, case manager, and unit sergeant) must conduct an

 impartial classification hearing. Filing 249-90 at 9. The inmate must be notified of this hearing at

 least forty-eight hours beforehand and informed that “he or she may present a written appeal of

 the recommendation at the time of . . . [the] hearing.” Filing 249-90 at 9. If the inmate cannot

 prepare a written request or if the issues are exceptionally complex, they must be provided staff

 assistance or a staff representative. Filing 249-90 at 9. Inmates may also submit written appeals,

 and they must receive assistance if their “English reading and writing skills don’t support

 preparing” one. Filing 249-90 at 10. After the hearing, the Unit Classification Committee must

 present a recommendation to the Warden and the Institutional Classification Committee for

 review. Filing 249-90 at 10. The Warden then makes a recommendation to the Multi-Disciplinary

 Review Team, which makes the final placement decision. Filing 249-90 at 10. Inmates may appeal

 the Multi-Disciplinary Review Team’s decision to the Director. Filing 249-90 at 11. This hearing

 process must be repeated at least every 90 days. Filing 249-90 at 11.

         Finally, other ARs establish policies to implement the provisions of the ADA, Filing 249-

 87 at 3-7, and to ensure inmates have access to oral and written interpretation services, Filing 249-

 88 at 3-5.

         The policies established in the ARs apply to every inmate housed in a NDCS facility

 including the eleven named Plaintiffs. Plaintiffs point to the ARs and other policies as evidence

 that healthcare is centralized at NDCS and that implementation and enforcement of healthcare-

 related policies falls entirely within Defendants’ control. Filing 250 at 10-33.



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                  b. Individual Plaintiffs’ Claims

         The Court next turns to the individual named Plaintiffs’ claims regarding inadequate

 healthcare, use of isolation, and lack of compliance with the ADA and RA in order to determine if

 these individuals will adequately represent the proposed class and subclasses and if they have

 claims appropriate for class treatment.

                           i.       Hannah Sabata

         Hannah Sabata is housed in NCCW. Filing 1 at 6. She has been there since June 17, 2013.6

 Filing 1 at 6-7. According to her Declaration, Sabata suffers from bipolar type one disorder with

 psychotic features, PTSD, delusional disorder-erotomaniac type, and depression. Filing 249-15 at

 2. During her time with NDCS, Sabata has experienced delays in accessing mental health services.

 Filing 249-15 at 3. According to Sabata, when she requests to see her therapist, it takes two or

 three weeks before she sees him. Filing 249-15 at 3. Sabata reports engaging in hunger strikes on

 at least four occasions. Filing 249-15 at 3.

         With regard to dental care, Sabata has experienced months-long delays in seeing a dentist

 after requesting care. Filing 249-15 at 4-5. For example, on one occasion, Sabata needed to have

 her wisdom teeth removed. Filing 357-21 at 49. When she requested the procedure, the dentist said

 to “write a kite and he’ll do x-rays on them.” Filing 357-21 at 49. Sabata then submitted an IIR

 asking for dental care. Filing 357-21 at 49. As of the date of her deposition testimony, Sabata had

 not seen a dentist in over a year. Filing 357-21 at 49-50.

         During her incarceration, Sabata reports six or seven interactions with the BOP. Filing 249-

 15 at 5. Relevant to the claims presented in this case, Sabata asserts that no one from either the


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  Sabata was released on parole in November 2017. Filing 54 at 1. Her parole was revoked, and she was returned to
 NDCS custody in January 2018. Filing 54 at 1. Defendants agree that Sabata’s reincarceration in NDCS custody makes
 any court ruling on its previously filed suggestion of mootness unnecessary. Filing 54 at 1.


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 BOP or NCCW asked if she had a disability and if she needed an accommodation for that disability.

 Filing 249-15 at 5. However, during her deposition on March 19, 2018, Sabata was asked if she

 had a disability to which she responded, “I don’t think so.” Filing 357-21 at 46. Sabata also testified

 that she was never denied participation in a program because of a disability. Filing 357-21 at 49.

        Sabata has also been placed in restrictive housing. Filing 249-15 at 3-4. At one point,

 Sabata claims to have been in restrictive housing for a week short of a year. Filing 357-21 at 40.

 While in restrictive housing, Sabata could spend one hour out of her cell per day on weekdays and

 was locked down continuously on the weekends. Filing 249-15 at 4. In her declaration, Sabata

 claims placement in restrictive housing has exacerbated the symptoms and manifestations of her

 mental health issues. Filing 249-15 at 4. When she was asked why she had been placed in

 restrictive housing in the past, Sabata testified it was due to an “escape attempt,” making phone

 calls about an escape attempt, being in an unauthorized area, and swinging on a swing set. Filing

 357-21 at 28.

                        ii.     Dylan Cardeilhac

        Dylan Cardeilhac has been detained in NDCS facilities since 2014, most recently at TSCI.

 Filing 249-1 at 1. Prior to that he was housed at DEC and NCYF. Filing 249-1 at 1. Cardeilhac

 claims that when he first arrived at DEC for intake, he only received a brief medical screening and

 dental exam. Filing 249-1 at 2. Cardeilhac does not have any specific diagnosed medical issues.

 Filing 249-1. However, he has complaints about NDCS’s response to isolated medical episodes.

 Filing 249-1. The only instruction he received on how to access medical care was to “file a kite”.

 Filing 249-1 at 2. On one occasion when he felt sick, had trouble breathing, and had a severe

 nosebleed, Cardeilhac filed an emergency kite but did not receive medical care for three days.

 Filing 249-1 at 2. Cardeilhac also claims he waited several months before he received dental



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 treatment after he complained of pain from his wisdom teeth. Filing 249-1 at 5. Finally, Cardeilhac

 claims the BOP process was not well explained to him and that he was discouraged from attending

 the BOP hearing by his case manager and unit manager. Filing 249-1 at 5.

          Cardeilhac’s main complaint with the NDCS system centers around its mental healthcare.

 Cardeilhac alleges NDCS was inadequate in its responses to his suicidal episodes. Filing 249-1 at

 2-3. According to his declaration, Cardeilhac was taken off his mental-health medications without

 being able to see an NDCS doctor. Filing 249-1 at 2. His ability to access mental healthcare is

 limited to filing an IIR, although he rarely receives a response unless he threatens suicide. Filing

 249-1 at 3.

          Cardeilhac further complains of NDCS’s use of restrictive housing. Filing 249-1 at 3-4.

 Cardeilhac estimates that of his five years in prison, he has spent three and a half years confined

 to restrictive housing. Filing 249-1 at 3. During his time in restrictive housing, Cardeilhac is only

 allowed to exercise outside for one hour a day, five days a week. Filing 249-1 at 3. Cardeilhac

 alleges his time in restrictive housing has negatively impacted his existing mental health issues,

 making him “intensely angry” and leading to him going on a hunger strike. Filing 249-1 at 4.

                            iii.      James Curtright

          James Curtright has been in NDCS for more than thirty-two years. Filing 249-21 at 1. He

 is currently incarcerated at OCC.7 Filing 249-21 at 1. In the past he has been housed at LCC and

 DEC. Filing 249-21 at 1. Curtright is deaf and relies on the use of American Sign Language

 (“ASL”). Filing 249-21 at 1. Curtright testified that he has asthma and “some heart-related issues.”

 Filing 357-24 at 27-28. He claims he was not provided an interpreter during some of his

 interactions with doctors, which impacted his ability to effectively communicate with them. Filing


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   Curtright is not included as a named Plaintiff for the isolation subclass so this Court will forgo any inquiry into the
 facts surrounding his time in restrictive housing. Filing 1 at 68.

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 357-24 at 28. Curtright further complains NDCS frequently denies him an ASL interpreter during

 dental appointments. Filing 249-21 at 10. Curtright reported an incident in 2017 where a dentist at

 LCC put a crown on one of his teeth without consulting him. Filing 357-24 at 40. The crown ended

 up causing him excruciating pain and had to be removed. Filing 357-24 at 40.

        Curtright contends that during the intake process he did not receive any information from

 NDCS regarding accommodations for disabilities. Filing 249-21 at 2. In addition, Curtright

 expresses concerns about the phone systems, emergency-warning systems, and closed captioning

 for television. Filing 357-24 at 70, 71, 74-75. Finally, although he is serving a life sentence and is

 not eligible for parole, Curtright claims a 2016 parole hearing had to be postponed for one month

 so NDCS could locate an ASL interpreter. Filing 249-21 at 10.

                        iv.     Jason Galle

        Jason Galle has been in the custody of NDCS for ten years, most recently at NSP. Filing

 249-26 at 1. In the past, he was housed at DEC. Filing 249-26 at 1. Galle arrived at DEC in

 February of 2010 with a gunshot wound to his leg which required him to use crutches. Filing 249-

 26 at 2. Despite his need for crutches, NDCS did not make any accommodations for Galle. Filing

 249-26 at 2. NDCS also discontinued Galle’s prescription for the pain medications he had been

 taking for his leg and gave him ibuprofen and tramadol instead. Filing 249-26 at 2. Primary to

 Galle’s complaint is the lack of treatment he received for his leg, specifically surgery to repair his

 broken femur. Filing 249-26 at 4-5. Galle alleges he filed numerous grievances requesting

 treatment for his femur which he claims were ignored. Filing 249-26 at 5. Galle claims he has

 repeatedly requested medical attention for his leg since 2010. Filing 357-23 at 96. In August of

 2016, NDCS agreed Galle needed surgery to repair his leg, but the operation did not occur until

 August 25, 2017. Filing 249-26 at 5.



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        Galle has also been placed in restrictive housing. Filing 249-26 at 6. During his multiple

 experiences in restrictive housing, Galle had limited access to medical care. Filing 249-26 at 6.

 Galle states that his time in restrictive housing, “caused the deterioration of [his] mental health and

 led [him] to experience severe symptoms of paranoia, anxiety, depression, and inability to sleep.”

 Filing 249-26 at 6. Galle has experienced mental-health problems such as paranoid schizophrenia,

 anxiety, and depression for most of his life and believes NDCS was ineffective in addressing his

 mental-health needs. Filing 357-23 at 60-87. Galle alleges the dental care provided by NDCS is

 inadequate and prone to delays. For example, Galle recalls an instance where he requested a dental

 appointment due to two of his fillings coming out but was not seen by a dentist for three months.

 Filing 249-26 at 8-9. Galle contends that filing IIRs is generally ineffective at addressing his

 medical needs. Filing 249-26 at 6-7. Additionally, Galle asserts there was a lack of information

 provided at the intake process and a lack of information regarding parole. Filing 249-26 at 9-10.

        Finally, Galle complains about the accommodations provided to him for his injured leg.

 Filing 249-26 at 9. During his deposition, Galle states that when he first arrived at DEC, he was

 not given any accommodations for his broken leg and he was housed in a “normal housing unit.”

 Filing 357-23 at 17. At NSP, Galle was provided a cane, a shoe lift, a lower bunk assignment, and,

 later in his incarceration, physical therapy. Filing 357-23 at 18.

                        v.      Richard Griswold

        Rischard Griswold has been in NDCS custody since June 11, 2008, and is currently

 incarcerated in TSCI. Filing 249-3 at 1. He was previously housed at DEC. Filing 249-3 at 1.

 According to Griswold, he has chronic hip problems and tremors which impact his mobility and

 require him to frequently use a wheelchair or a walker. Filing 249-3 at 1. Griswold is also legally

 blind in one eye. Filing 249-3 at 1.



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        Griswold claims NDCS’s initial intake process is flawed and there is a lack of information

 and training regarding how to obtain medical, dental, mental health, and disability-related care.

 Filing 249-3 at 2. Griswold’s list of concerns includes the confidentiality of the grievance process,

 discontinuation of medicines, and access to healthcare while in solitary confinement. Filing 249-3

 at 2-3. Griswold’s most pressing concern is the lack of accommodations provided to help him with

 his mobility and vision issues. Filing 249-3 at 3. However, according to his deposition testimony,

 Griswold has not sought help for his vision within the last few years. Filing 316-6 at 2. Griswold

 expresses concerns about the mental health treatment he received while on “suicide watch” and

 describes the conditions in restrictive housing at TSCI as “barbaric.” Filing 249-3 at 4-5. Finally,

 Griswold states he does not know when his last dental appointment was or if anyone ever instructed

 him on the parole process. Filing 249-3 at 6.

                        vi.     Michael Gunther

        Michael Gunther has been an inmate with the NDCS since April 15, 2005. Filing 249-4 at

 1. He is currently housed at NSP. Filing 249-4 at 1. He has also been housed at DEC, Lincoln

 Regional Center, LCC, and TSCI. Filing 249-4 at 1. Gunther’s health issues include diabetes,

 neuropathy, mood disorder not otherwise specified, and adjustment disorder. Filing 249-4 at 2. In

 addition, he is legally blind due to traumatic brain injury and suffers from diabetes-related

 complications. Filing 249-4 at 2.

        Gunther’s complaints against NDCS are wide-ranging. He claims that there was a lack of

 screening regarding his disabilities and medications he was taking when he first arrived at NDCS.

 Filing 249-4 at 1-2. He claims he has experienced delays in medical treatment necessary to treat

 his neuropathy, diabetes, and pain resulting from ill-fitting dentures. Filing 249-4 at 5-6. Gunther




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 also alleges poor dental care in the form of unnecessary tooth extractions and ill-fitting dentures.

 Filing 361-2 at 136-148.

         Gunther further complains about his treatment in restrictive housing. He alleges that while

 in restrictive housing, he did not receive eye-drops for twenty-eight days to treat an eye infection.

 Filing 294-4 at 3. In addition, while in restrictive housing, the materials he used to assist him with

 his blindness were confiscated, he was not adequately fed, and his mental health deteriorated.

 Filing 249-4 at 2-3. In another instance, Gunther’s dentures were confiscated while he was in

 restrictive housing for periods of two to three weeks. Filing 361-2 at 160. When Gunther was

 suicidal, NDCS isolated him which he alleges continued to damage his mental state. Filing 249-4

 at 6.

         Finally, Gunther asserts NDCS failed to accommodate his blindness. Filing 249-4 at 4.

 NDCS apparently confiscated his assistive materials multiple times, did not provide him with

 training on how to use his tapping cane, and did not provide porters to assist him in moving around

 the NDCS facility. Filing 249-4 at 4. Gunther also alleges on several occasions, NDCS has not

 assisted him in filling out grievance forms. Filing 249-4 at 3. According to Gunther, when he

 submitted some of his grievances, a case manager would throw them “in the garbage.” Filing 361-

 2 at 68. He claims eleven to fifteen of his grievances have disappeared. Filing 361-2 at 67-68. This,

 plus a lack of training on how to fill out disability requests and prepare for BOP hearings, has

 made it difficult for Gunther to participate in NDCS programming and BOP hearings. Filing 249-

 4 at 2, 7.

                        vii.    Angelic Norris

         Angelic Norris is housed at NCCW. Filing 357-22 at 6. She is blind and has been diagnosed

 with a developmental disability, bipolar disorder, congestive heart disease, and diabetes. Filing



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 357-22 at 32. Filing 1 at 16. In addition, Norris suffers from high blood pressure. Filing 357-22 at

 17. While at NCCW, Norris claims she has not received adequate mental-health services because

 the only doctor at the facility is “not a very good doctor” in her opinion. Filing 357-22 at 64.

        In addition to her medical concerns, Norris complains about the use of restrictive housing.

 She has been placed in restrictive housing several times for fighting and as a form of protective

 custody. Filing 357-22 at 19-20. While in restrictive housing, Norris was given two hours of out-

 of-cell time and was treated “pretty good.” Filing 357-22 at 20.

        Norris claims she has been denied participation in activities and programs. Filing 357-22

 at 33. However, when she was asked about these denials, she testified the programs were a waste

 of time. Filing 357-22 at 33-34. With regard to accommodations, Norris requested and received a

 braille block which she returned because she “didn’t like it.” Filing 357-22 at 38-39. NDCS has

 also provided her with a talking clock and a clear backpack. Filing 357-22 at 39. Norris has

 participated in classes and programming at NDCS. Filing 357-22 at 39. She was not provided audio

 or braille materials for those classes but admits she did not request them. Filing 357-22 at 39.

 Norris also claims to have “jaw problems” but does not report any deficiencies in dental treatment

 while at NCCW. Filing 357-22 at 55-59. However, she later claimed not to be receiving dental

 services while at NCCW. Filing 357-22 at 65.

                          viii.    R.P.

        In support of their motion for class certification, Plaintiffs have not submitted a transcript

 of a deposition or a declaration from Plaintiff R.P.

                         ix.      Isaac Reeves

        Isaac Reeves has been in NDCS custody since November 2013. Filing 249-2 at 1. He is

 currently at TSCI and has previously been in DEC, NSP, and NCYF. Filing 249-2 at 1. Upon



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 arriving at NCYF, Reeves claims he does not remember receiving any information about how to

 file a grievance or access services such as medical, dental, or mental healthcare. Filing 249-2 at 1-

 2. He does not remember receiving any sort of medical or dental examination. Filing 249-2 at 2.

 While in NDCS custody, Reeves has experienced tooth pain, bleeding, and tooth discoloration.

 Filing 249-2 at 5. According to Reeves, he waited months before his tooth was examined. Filing

 249-2 at 5. There was another instance where the whites of Reeves’ eyes turned yellow and he

 thought he had hepatitis. Filing 249-2 at 2. This caused Reeves to file an IIR requesting to be seen

 by a doctor and get tested. Filing 249-2 at 2. Reeves claims he waited six or seven months before

 he was tested. Filing 249-2 at 2-3. On several occasions, Reeves attempted suicide by opening a

 vein. Filing 249-2 at 2. During one of these attempts, Reeves alleges a correctional officer watched

 as Reeves cut himself. Filing 249-2 at 2. It took approximately an hour after Reeves cut himself

 before he was placed into an ambulance. Filing 249-2 at 2.

         Reeves has suffered from mental-health issues during his time in NDCS custody. Filing

 249-2. These issues are exacerbated by his placement in restrictive housing. Filing 249-2 at 3-4.

 Reeves estimates that he has spent a total of five years in restrictive housing. Filing 249-2 at 4.

 Reeves has been in restrictive housing at NCYF, NSP, and TSCI.8 Filing 249-2 at 4. Filing 357-

 14 at 22. While in restrictive housing at NCYF, Reeves asked for mental health treatment, but it

 took “a couple months” to receive treatment. Filing 357-14 at 29. The privileges available in

 restrictive housing vary from one facility to another but Reeves described the conditions for

 restrictive housing at NCYF, TSCI, and NSP as “miserable”. Filing 249-2 at 4-5. For instance,

 Reeves describes the conditions at TSCI’s restrictive housing as follows:

         There [were] no windows. You had very little human contact. The only thing
         outside your door window to look at was a wall, and there’s black mold everywhere.

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   Reeves also characterized his time at DEC “in the skilled nursing facility on five-point [restraints]” as being
 restrictive housing. Filing 357-14 at 22.

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        There was -- the first cell they put me in there was poop on the ceiling, and they
        didn’t clean it before I came. There was poop on the little cement block where my
        mattress was. Under the mattress there was poop. And then there was like -- there
        was nasty stuff everywhere all over that room. It was disgusting.

 Filing 357-14 at 83.

        Reeves describes difficulty sleeping, hallucinations, and feelings of anxiousness and

 hopelessness while in restrictive housing. Filing 249-2 at 5. During his time in restrictive housing

 at TSCI, Reeves was only able to exercise one hour a day, five days a week. Filing 249-2 at 4. Due

 to being placed in restrictive housing, Reeves has not been able to participate in programming that

 would assist his parole eligibility. Filing 249-2 at 4.

                        x.      Zoe Rena

        Zoe Rena has been incarcerated since July of 2015. Filing 249-12 at 1. She is currently

 housed at NCCW. Filing 249-12 at 1. She has also been housed at the Work Ethic Camp,

 Community Corrections-Omaha, and Community Corrections-Lincoln. Filing 249-12 at 1.

        During her time with NDCS, Rena suffered from a chronic skin rash. Filing 249-12 at 2-3.

 Rena alleges that the rash was neither diagnosed nor treated properly. Filing 249-12 at 2-3. When

 she requested to see a dermatologist to treat her skin rash, she was told that NDCS does not employ

 a dermatologist and it would not send her to one. Filing 249-12 at 2. Rena claims that none of the

 various medications she was prescribed to treat her rash was effective. Filing 249-12 at 2-3. Rena

 also expressed concern over how medications are distributed. Filing 249-12 at 4.

        In addition to her skin rash, Rena has repeatedly asked for treatment for tooth, mouth, and

 jaw pain. Filing 249-12 at 3. Rena notes that she has experienced long delays in receiving this care

 which has led to more pain and discomfort. Filing 249-12 at 3. Moreover, following one dental

 procedure, NCCW noted that she had two large abscesses in her mouth which it did not treat for




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 two months. Filing 249-12 at 3. Rena also alleges instances where the dental staff extracted her

 teeth unnecessarily. Filing 249-12 at 3.

        Rena has been placed in restrictive housing several times. Filing 249-12 at 4. She claims

 that NDCS’s observation of inmates’ mental health while in restrictive housing is inadequate.

 Filing 249-12 at 4. Rena also expresses concerns about the confidentiality of the grievance system

 and the use of inmate medical porters. Filing 249-12 at 2. Finally, Rena describes inadequate

 screening procedures and BOP assistance. Filing 249-12 at 1, 5.

                        xi.    Brandon Sweetser

        Brandon Sweetser has been an inmate with NDCS for approximately five years. Filing 249-

 34 at 1. Prior to his current sentence, Sweetser was incarcerated from November 2003 through

 June of 2010 at NDCS facilities. Filing 249-34 at 1. He has experience living at Community

 Corrections-Omaha, NSP, and DEC. Filing 249-34 at 1.

        Sweetser has been diagnosed with hepatitis C. Filing 249-34 at 3. NDCS has repeatedly

 denied Sweetser treatment for hepatitis C because his condition is not severe enough. Filing 249-

 34 at 3. In January of 2016, Sweetser began having severe stomach pain and cramping. Filing 249-

 34 at 4. He was taken to the Skilled Nursing Facility (“SNF”) at NSP where a nurse accused him

 of faking his symptoms and sent him back to his housing unit. Filing 249-34 at 4. Between one to

 two days passed until Sweetser was reexamined and it was discovered he had a ruptured appendix.

 Filing 249-34 at 4. After waiting another twenty-four hours at the SNF, Sweetser was taken to a

 hospital where emergency surgery was performed. Filing 249-34 at 4. After the surgery, the doctor

 advised Sweetser that he needed to get up and walk every hour or two. Filing 249-34 at 4. However,

 due to being housed in “max custody,” Sweetser was shackled to a bed and was unable to follow

 this medical advice. Filing 249-34 at 4. Due to not being able to get up and walk, Sweetser’s legs



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 and ankles became swollen and he was forced to use a walker for fifteen months after his appendix

 surgery. Filing 249-34 at 5. Additionally, Sweetser reports NDCS suddenly stopped giving him

 his medications without a doctor’s consultation. Filing 249-34 at 6. As a result, Sweetser suffered

 withdrawal symptoms such as hot and cold flashes, night sweats, inability to sleep, muscle aches,

 and diarrhea. Filing 249-34 at 6.

        Sweetser has also had issues with dental care at NDCS. Filing 249-34 at 6. As of February

 2019, Sweetser claims to have only seen the dentist once in four years. Filing 249-34 at 6. Sweetser

 also claims that mental healthcare is lacking at NDCS. Filing 249-34 at 6-7. According to Sweetser,

 he has experienced weeks long delays after he sends a kite requesting mental healthcare before he

 is seen. Filing 249-34 at 7. Sweetser also alleges deficiencies in the intake screening system and

 the grievance process. Filing 249-34 at 2-3, 6. Finally, Sweetser claims that no one at NDCS has

 adequately explained the parole process to him. Filing 249-34 at 8.

                c. Additional Evidence

        In addition to the individual named Plaintiffs’ claims as set forth above, Plaintiffs and

 Defendants have presented extensive evidence from expert witnesses and other supporting

 documentation regarding the main healthcare class and the isolation and disabilities subclasses.

 Plaintiffs’ experts claim NDCS’s healthcare-related practices and its implementation of the

 policies outlined above subject all putative class members to the same constitutional harm: a

 substantial risk of serious injury. See generally Filing 249, Filing 250. Defendants’ experts attempt

 to refute Plaintiffs’ experts’ opinions and demonstrate that the constitutional harm, if any, is not a




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 proper issue for classwide resolution.9 The Court summarizes the evidence presented with respect

 to each of the subclasses.

                        i.       Healthcare

          Plaintiffs submit thirteen expert declarations in support of their motion for class

 certification. See generally Filing 249. Like the named plaintiffs’ claims, the expert opinions cover

 a wide range of issues relating to healthcare, including intake screening, inmate care while in

 custody, actions of NDCS healthcare staff, dental care, and mental healthcare.

                                     (1)       Intake Screening

          Plaintiffs assert NDCS’s intake procedures are the first of many ways in which NDCS

 improperly administers healthcare at its facilities. Intake screenings at all ten NDCS facilities are

 governed by AR 115.05. All male inmates are screened at DEC and all female inmates are screened

 at NCCW. Filing 249-58 at 24.

          Plaintiffs’ healthcare expert is Dr. Marc Stern, M.D., M.P.H. Filing 249-58 at 3. Dr. Stern

 is a board-certified internist specializing in correctional healthcare. Filing 249-58 at 3. Dr. Stern

 has previously served as a healthcare expert in several cases, including Parsons v. Ryan, 289

 F.R.D. 513, aff’d, 754 F.3d 657 (9th Cir. 2014). Filing 249-58 at 3, 13; Filing 249-59 at 2. Plaintiffs

 urge the Court to find Dr. Stern’s opinions persuasive based on his background and previous

 experience as an expert witness. Filing 250 at 15; Filing 249-59.

          Dr. Stern’s concerns regarding the Nebraska prison system’s intake process are threefold:

 1) the use of licensed practical nurses (“LPNs”) to conduct intake screenings and other



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  The Court reviewed the substantial material submitted by both sides purportedly in relation to class certification. The
 Court found much of it related to the merits of Plaintiffs’ claims, not the narrower question of class certification.
 Accordingly, to the extent such materials are not appropriate for the Court to consider at this stage, the Court has not
 relied upon such information in deciding the question of class certification. The Court further has not included an
 analysis of certain purported expert opinions which the court does not find relevant or persuasive in deciding the
 certification question.

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 examinations; 2) NDCS policies and practices regarding tuberculosis (“TB”) screenings; and 3)

 intake screenings not being performed in a timely manner. Filing 249-58 at 24-28.

        Dr. Stern first contends that LPNs do not have the expertise, nor are they permitted under

 their licenses, to exercise the considerable clinical expertise and judgment needed for competent

 medical screenings. Filing 249-58 at 24. However, it is not clear whether LPNs regularly conduct

 intake screenings at NDCS facilities, or whether this happens only sporadically. Compare Filing

 249-58 at 24 & n.18 (Stern deposition stating he reviewed three patient forms reflecting intake by

 an LPN), with Filing 249-80 at 75-76 (Deol deposition stating to his knowledge, RNs conduct

 intakes); and Filing 249-60 at 11-13 (showing the three instances identified by Stern were a small

 portion of the sixty-one records Stern reviewed). Further, to the extent LPNs are used to conduct

 intakes, Defendants’ expert, Dr. David Thomas, M.D., J.D., EdD, states that use of LPNs at intake

 screenings is consistent with “virtually every other correctional system in the country” and thus

 does not support the notion that individual inmates suffer a uniform risk of harm from the practice.

 Filing 316-31 at 12

        Dr. Stern next asserts NDCS’s tuberculosis (TB) screening process is inadequate because

 screening nurses do not ask enough questions about possible symptoms, nurses fail to determine

 whether the inmate has previously tested positive for TB, and nurses improperly retest inmates for

 false-negative results. Filing 249-58 at 24-26. However, with respect to the screening questions,

 Dr. Stern does not address how checking for these other symptoms is not covered by other parts

 of the intake screening nor does he explain how the lack of additional questions places all inmates

 at a substantial risk of serious harm. Filing 249-58 at 25. With respect to previous TB tests, the

 ARs state, “At the time of entry into NDCS, all inmates shall be tested by facility medical staff for

 Tuberculosis unless there is documentation of a previous positive test result.” Filing 249-58 at 26



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 n.20. Dr. Stern complains of, but provides no real-world incidents of, nurses automatically

 conducting a second test even where the patient self-reported a previous positive test. Filing 249-

 58 at 25-26. Finally, with respect to false-negative retesting, Dr. Stern writes that “[t]he practice

 at DEC is for nurses to [improperly] inject a second skin test if the first one is negative” and

 “according to an Intake nurse, they do so 3 to 5 days after arrival, which is too soon according to

 CDC guidelines and NDCS’s own policy.” Filing 249-58 at 26 (emphasis added).Stern’s

 speculation and input from one unnamed intake nurse does not show a systemic breakdown of the

 NDCS policy regarding TB testing.

        Dr. Stern’s third broad area of concern is that inmates do not receive timely intake

 examinations after first entering an NDCS facility. Filing 249-58 at 26. AR 115.05 requires a

 screening to be performed “upon the patient’s arrival at the facility.” Filing 249-84 at 3. However,

 despite Dr. Stern’s opinion, there is no evidence that intake screenings are usually, or even

 regularly, conducted in an untimely fashion. See Filing 249-80 at 38 (Deol deposition stating intake

 health screenings are completed within 24 hours of arrival in 90% of cases); Filing 316-31 at 12

 (Dr. Thomas declaration concluding “[t]here is no ‘delayed and flawed’ intake screening”); Filing

 357-23 at 15-17 (Galle describing intake upon arrival); Filing 361-2 at 27-32 (Gunther describing

 intake upon arrival); Filing 357-14 at 13-15 (Reeves describing intake upon arrival); Filing 357-

 21 at 23-26 (Sabata describing intake upon arrival); Filing 357-22 at 14-17 (Norris describing

 intake upon arrival).

                                (2)    Inmate Care While in Custody

        Dr. Stern contends there are numerous problems with the healthcare inmates receive after

 their initial intake screening and while they are in NDCS custody. Filing 249-58 at 28. However,

 many of Dr. Stern’s opinions are based on generalizations or isolated instances of allegedly



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 inadequate care rather than pervasive, systemic problems. For example, Dr. Stern finds fault with

 NDCS’s handling of emergency situations because nurses do not always respond to the right

 location or in a timely manner, only LPNs might respond, staff might not have the proper medical

 equipment, and cardiac patients may be moved rather than treated on the spot, which he believes

 is preferable. Filing 249-58 at 28-35. However, Dr. Stern points to just two concrete examples and

 one practice at one facility wherein he found issues with failed nurse responses to medical

 emergencies. Filing 249-58 at 28-29. With respect to alleged delays, Dr. Stern points to a single

 example of an eighteen-minute delay to an inmate experiencing a seizure due to a lack of an on-

 call practitioner for emergencies. Filing 249-58 at 34. Dr. Stern’s opinion regarding NDCS moving

 cardiac patients and increasing their risk of death is based on conversations with NDCS staff and

 “publicly available information”; Dr. Stern points to no specific policy or any known instance of

 this actually occurring. Filing 249-58 at 34-35.

        Dr. Stern also expresses concern that inmates might not receive proper care for less serious

 situations, which he terms “urgent care” because they might not be able to gain access to the

 appropriate care, either because of problems getting the attention of the correctional officer, the

 officer failing to pass a medical request along, or improper medical responses to an urgent care

 request. Filing 249-58 at 35.

        Dr. Stern also takes issue with the provision of non-urgent episodic care. Filing 249-58 at

 42. According to Dr. Stern, the administration of such care at NDCS is flawed because inmates

 often request non-urgent episodic care via IIRs, which violates confidentiality, does not result in

 review by a medical professional, and can cause delays in care. Filing 249-58 at 42-45. However,

 Defendants’ evidence demonstrates that IIRs are generally triaged daily by a health professional.

 Filing 249-80 at 96-97. Further, of the many IIRs reviewed by Defendants’ expert, Dr. Thomas,



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 an “overwhelming majority of them” that dealt with medical care were answered in less than

 twenty-four hours. Filing 316-31 at 5.

         Dr. Stern also criticizes the provision of day-to-day care at NDCS, which he terms “chronic

 care.” Filing 249-58 at 51. Dr. Stern argues that NDCS’s chronic-care system suffers from many

 inadequacies, including failure to see patients at appropriate intervals, failure to follow up, and

 discoordination of care. Filing 249-58 at 52. Dr. Stern also sees issues with provision of care to

 inmates in restrictive housing and those in need of interpreter services. Filing 249-58 at 60-61. As

 evidence of these shortcomings, Dr. Stern references five examples of perceived failures by NDCS

 to provide medical care involving significantly different health conditions and needs: asthma,

 Crohn’s disease, breast cancer, hepatitis C, and an abnormality in a pap smear. Filing 249-58 at

 52-56. Dr. Thomas opined that chronic care at NDCS is “performed well” and Dr. Stern’s

 contention that there are problems in this area “cannot be substantiated.” Filing 316-31 at 12.

                               (3)     Actions of NDCS Healthcare Staff

         Plaintiffs also point to a number of ways in which NDCS staff fail to provide adequate

 medical care, including using inmates as porters, Filing 249-58 at 13-14; failing to follow orders,

 Filing 249-58 at 14-16; poor clinical decision-making; Filing 249-58 at 16-22; inaccurate

 medication administration, Filing 249-58 at 61-70; poor record-keeping, Filing 249-58 at 70-71;

 and failure to track and remedy problems in the system, Filing 249-58 at 70-78. However, the

 evidence shows these purported issues to be either speculation on Dr. Stern’s part, or the isolated

 actions of individual staff members rather than policy mandates or routine practice on NDCS’s

 part.

         For example, Dr. Stern expresses concerns over inmate porters’ lack of training and ability

 to see other inmates’ medical information, Filing 249-58 at 13-14, but Dr. Thomas points out that



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 porters who engage in basic medical tasks, like taking an inmate’s vital signs, receive training

 equivalent to a Certified Nursing Assistant, as opposed to those porters who merely assist with

 food and transportation needs who receive no such training. Filing 316-31 at 11.

        With respect to other inappropriate actions by staff, Dr. Stern provides only isolated

 examples of allegedly insufficient healthcare. See, e.g., Filing 249-58 at 15-16 (two examples of

 staff not following orders); Filing 249-58 at 17-22 (nine examples of allegedly poor clinical

 decision-making); Filing 249-58 at 64-65 (four examples of errors in medication administration).

 Dr. Thomas “witnessed no signs of poor medical decision making, much less on a system-wide

 basis. The physicians and mid-levels were all concerned for their patients and practiced modern

 correctional care.” Filing 316-31 at 12. Thus, despite Dr. Stern’s numerous concerns, he fails to

 demonstrate that inmates routinely suffer from the same deficiencies in healthcare or that NDCS

 staff act inappropriately on a system-wide, rather than isolated, basis.

                                (4)    Dental Care

        Plaintiffs allege deficiencies in the dental care provided by NDCS as well. In support, they

 present the expert testimony of Jay D. Shulman, D.M.D., M.A., M.S.P.H. Filing 249-53 at 1. Dr.

 Shulman concludes that the dental care provided by NDCS is “consistently inadequate” and that

 the deficiencies are “attributable to systemic problems caused by inadequate dentist staffing and

 inadequate policies and procedures.” Filing 249-53 at 3. He bases his conclusion on allegedly

 inadequate diagnosis and treatment of certain dental conditions, Filing 249-53 at 7, 40-43, 44-50;

 delayed or denied dental care, Filing 249-53 at 50-64 (illustrating delays in urgent care, denture

 fabrication, chewing difficulty); inadequate record-keeping, Filing 249-53 at 65-66; and

 inadequate dental staffing, Filing 249-53 at 28-30, 66. In support of his opinions, Dr. Shulman




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 points to examples from his interviews with two Plaintiffs and his review of the dental records of

 the named plaintiffs and a number of randomly selected prisoners.

        In response, Defendants present the testimony of their dental expert, Philip R. Rich, D.D.S.

 Filing 315-3. There is a dispute between Dr. Rich and Dr. Shulman with regard to the referenced

 inadequacies. Filing 357-12 at 4. After reviewing charts and declarations from the named

 plaintiffs, Dr. Shulman’s expert report, and a variety of other materials relating to this case, Dr.

 Rich determined that NDCS provides adequate dental care. Filing 315-3 at 3-4. He states that

 NDCS’s “dental practice operates in a capable and efficient manner” and that the “staff is sufficient

 . . . to treat and schedule all dental procedures.” Filing 315-3 at 4. Dr. Rich notes that “patients

 were seen on a timely basis including emergency needs” and that “[a]ccepted guidelines were

 followed and adhered to.” Filing 315-3 at 4. After speaking with Dr. Eric Smith about chart

 reviews, Dr. Rich stated that “Dr. Shulman lacks proof of inadequate or failed treatment” and that

 “[m]any of his comments are inaccurate.” Filing 315-3 at 5. Further, Dr. Rich criticized Dr.

 Shulman’s concerns regarding delays, stating that “[e]ven in a well-managed private practice, a

 patient can have x-rays, treatment plan, chronic periodontal conditions, and extensive caries of

 teeth that can and do take up to 6 months to complete treatment.” Filing 315-3 at 6. Additionally,

 Dr. Rich noted that “not all patients . . . complete dental treatment.” Filing 315-3 at 6.

        More broadly, Dr. Rich suggests that “[j]ust as the complaints of the Plaintiffs are different,

 their dental conditions are different. They lack a common theme.” Filing 315-3 at 7. Thus, in Dr.

 Rich’s opinion, each complaint should be taken individually because they lack the commonality

 necessary to reveal systemic problems. Filing 315-3 at 7. Specifically, he states “[t]he dental

 policies at NDCS do not impact all dental inmates the same way. Because of this, inmates do not

 all face the same risk of injury.” Filing 315-3 at 8. For these reasons, Dr. Rich opines that NDCS’s



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 dental care “is consistent with care provided by dentists in the Nebraska community,” and that “the

 treatment of inmates is professionally adequate and does not place inmates at a substantial risk of

 harm.” Filing 315-3 at 8.

                               (5)     Mental Healthcare

        Plaintiffs identify mental healthcare as another deficient aspect of the healthcare provided

 by NDCS. Plaintiffs’ expert, Dr. Pablo Stewart, identified eight problems with respect to mental

 healthcare: staffing shortages, Filing 249-38 at 13-16; inadequate identification/screening

 procedures, Filing 249-38 at 16; failure to differentiate between appropriate levels of mental

 healthcare, Filing 249-38 at 16-19; poor access to care through the use of IIRs and lack of NDCS

 response thereto, Filing 249-38 at 21-24; poor record-keeping including accessibility of records

 during telepsychiatry, Filing 249-38 at 24-26; inadequate mediation administration, Filing 249-38

 at 27-33; the use of restrictive housing for those with mental illness, Filing 249-38 at 33-34, and

 inadequate suicide prevention, Filing 249-38 at 35.

        According to Defendants, the issues Dr. Stewart identifies are speculative, not supported

 by evidence of widespread problems, or are otherwise refuted by Defendants’ experts, Dr. Terry

 Davis (Filing 315-1) and Dr. Dean Aufderheide (Filing 316-38). For example, in support of his

 claim of staffing shortages causing harm, Dr. Stewart points to one example of an inmate who

 allegedly committed suicide after not receiving mental-health treatment. Filing 249-38 at 15-16.

 However, according to Dr. Davis, who reviewed Dr. Stewart’s declaration, this inmate had been

 evaluated and treated several times by mental health treatment providers, including by a

 psychiatrist, and even refused mental health treatment prior to his death. Filing 315-1 at 4.

        Similarly, Dr. Stewart’s claim of poor mental-health screening is refuted by Dr. Davis’s

 review of two intakes he observed at DEC which included an evaluation by a registered nurse who



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 performed a mental health assessment. Filing 315-1 at 4. Dr. Stewart’s concerns about the use of

 records for telepsychiatry is refuted by Dr. Davis’s statement that telepsychiatry is a recognized

 and accepted method of performing psychiatric evaluations and treating psychiatric patients and

 thus its use does not place all innates at a serious risk of harm. Filing 315-1 at 6. In addition, NDCS

 apparently has a staff member present and the inmate’s chart available during all telepsychiatry

 appointments in order to alleviate any concerns about incomplete information. Filing 315-1 at 6.

        Overall, Dr. Stewart fails to demonstrate the concerns he expresses are commonly

 occurring in NDCS facilities and pose a common risk applicable to all patients with mental health

 concerns. Rather, taken with Defendants’ evidence, Dr. Stewart expresses only general concerns

 and speculation about how processes might negatively impact individual inmates and should be

 improved.

                        ii.     Additional Evidence Regarding Restrictive Housing

        Plaintiffs present additional evidence in support of certifying their proposed isolation

 subclass. Restrictive housing units can be found in five of the ten NDCS facilities: LCC, NSP,

 NCCW, NCYF, TSCI. Filing 249-42 at 28. During the six-month period from January 1, 2019, to

 June 30, 2019, there was an average daily population of 335 inmates in restrictive housing. Filing

 352-9 at 2. As of January 10, 2020, there were 295 inmates in restrictive housing. Filing 439 at 23.

        Plaintiffs put forth the opinions of three experts to assess NDCS’s policies and practices

 that deal with restrictive housing. Filing 250 at 23. The three experts conclude that the use of

 isolation is harmful to an inmate’s mental health and sometimes harmful to their physical well-

 being as well, regardless of their underlying mental and physical health. Filings 249-47; 249-42;

 249-38. The experts opine that isolation causes harm based on, among other things, lack of out-of-

 cell time, Filing 249-90 at 17; the lack of personal property, Filing 249-42 at 30; small cell sizes,



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 Filing 249-42 at 29, 38; housing two inmates in one cell (“double celling”), Filing 249-42 at 40;

 Filing 249-47 at 34; severe levels of idleness, Filing 249042 at 32; and lack of access to mental

 healthcare, Filing 249-38 at 34.

          However, much of this testimony pertains to isolation in general, not the specific use of

 restrictive housing at NDCS. For example, Dr. Craig Haney, Ph.D., J.D., points to the fact that AR

 210.01 does not require the exclusion of people with serious mental illness from restrictive

 housing. Filing 249-42 at 28. However, Plaintiffs do not allege every member of the proposed

 isolation subclass has a serious mental illness.10 With respect to the harm of housing two inmates

 in one restrictive-housing cell, there is no evidence that this practice happens to all inmates in

 restrictive housing, or even that it occurs at all NDCS facilities. See generally Filing 249-42; Filing

 249-47.

          Defendants’ expert on the issue of restrictive housing, Dr. John Stoner, reviewed the NDCS

 policies and concludes they are consistent with national standards. Filing 316-47 at 6. According

 to Dr. Stoner, this fact is illustrated by NDCS receiving accreditation by the American Correctional

 Association. Filing 316-47 at 6. Dr. Stoner also finds fault with Plaintiffs’ experts’ opinions. For

 example, Dr. Stoner opines that the studies cited by Dr. Haney do not adequately address other

 variables that may lead to mental disorders in inmates and suggests the inmates selected as

 representatives, namely Cardeilhac, Reeves, and R.P., are the “unusual and often extreme of the

 inmate population.” Filing 316-47 at 15-17. Dr. Haney himself also appears to concede the

 individualized nature of potential harm resulting from isolation, noting the answer for each inmate




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   Further, as of March 1, 2020, no inmate who is a member of a vulnerable population, including those with a serious
 medical illness, can be placed in restrictive housing, unless it is for placement in immediate segregation to protect the
 inmate, staff, or other inmates. Neb. Rev. Stat. § 83-173.03(3).

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 in restrictive housing “might very well involve a different kind of treatment modality for different

 kinds of symptoms that are being manifested.” Filing 316-17 at 4-5.

                        iii.    Additional Evidence Regarding Americans with Disabilities

                                Act/Rehabilitation Act

        Finally, Plaintiffs present additional evidence in favor of certifying their proposed

 disability subclass. Plaintiffs contend that systemic deficiencies deny prisoners with disabilities

 meaningful access to programs, services, and activities, and NDCS fails to communicate

 effectively with prisoners with disabilities. Filing 432 at 11-13. Plaintiffs’ expert, Margo

 Schlanger, believes NDCS policies and practices may lead to under-identification of inmates with

 disabilities at intake. Filing 249-50 at 19; non-identification of inmates already in custody, Filing

 249-50 at 19-24; inaccurate tracking of inmates with disabilities resulting in inadequate

 accommodations and care, Filing 249-50 at 31-35; inadequate modifications and lack of auxiliary

 aids to those in need, Filing 249-50 at 35-39; inaccessibility of the grievance process to disabled

 inmates, Filing 249-50 at 44-45; placement of disabled individuals in restrictive housing, Filing

 249-50 at 50; and lack of accommodations to disabled inmates during the parole process, Filing

 249-50 at 51-52. She also takes issue with inmate porters being used to assist disabled inmates

 because of concerns about abuse, inmate privacy, inadequate porter training, unavailability of

 porters, and better alternatives to the use of porters. Filing 249-50 at 39-40.

        Schlanger’s concerns are based on speculation about how policies might impact inmates,

 not facts supporting that such violations occur or are widespread. Importantly, Schlanger provides

 few examples of the actual impact of NDCS policy and practice on disabled inmates and no

 evidence that such impacts affect all disabled inmates in NDCS custody. For example, Schlanger

 faults NDCS’s system for tracking inmates but identifies no actual harm or substantial risk to



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 inmates, instead speculating that, “[w]ith this policy/practice in place, it is only to be expected that

 every cell or job change, or similar event, will pose significant difficulties for a prisoner with a

 hard-won modification.” Filing 249-50 at 35. With regard to inadequate notice of an inmate’s

 disability to staff, Schlanger points to one example where an inmate was unable to hear a

 correctional officer but was unable to prove that a hearing impairment created the issues. Filing

 357-13 at 6. Likewise, Schlanger objects to NDCS’s use of inmate porters to assist those with

 disabilities because she fears they may feel assisting disabled prisoners is not their job and refuse

 to do it. Filing 249-50 at 40.

         Similarly, Schlanger expresses concerns about disabled inmates being discriminated

 against during the parole process by the issuance of parole plans that target their mental illness.

 Filing 249-50 at 35. Filing 357-13 at 12. However, her sole example of this allegedly occurring is

 plaintiff Sabata being terminated from her housing while on parole due to “her increased needs

 and [the program’s] inability to address those needs.” Filing 249-50 at 53 & n.53 (quoting Filing

 237-5 at 6).

         Schlanger opines NDCS has only a “very spare policy addressing” disabled inmate

 communication systems, but she fails to identify the policy or explain why it is insufficient for all

 inmates with disabilities. Filing 249-50 at 41. With respect to restrictive housing, Schlanger

 generalizes that prisoners with disabilities often end up in isolation. Filing 249-50 at 45. Relatedly,

 Schlanger expresses concern over disabled inmates being placed in special housing units where

 they have limited access to programs and may face accessibility issues including stairs. Filing 357-

 13 at 10-12. Schlanger fails to tie these concerns to a common risk of harm to all disabled inmates.

         Accordingly, while the individual instances Schlanger identifies may or may not present

 valid claims under the ADA or RA, her testimony does not support that such alleged issues are



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 widespread, place all disabled individuals at NDCS at a substantial risk of harm, or are capable of

 resolution by uniform changes to policy or practice.

         3. Analysis on Need for Exhaustion of Administrative Remedies

         As a preliminary matter, Defendants argue that the Court is obligated to determine whether

 Plaintiffs have exhausted their administrative remedies prior to deciding the Motion for Class

 Certification. Filing 433 at 2-3. In support of their contention, Defendants cite to the Eighth

 Circuit’s opinion in Chelette v. Harris, 229 F.3d 684, 688 (8th Cir. 2000), stating that once a

 defendant raises the affirmative defense of failure to exhaust administrative remedies, “the court

 [i]s obligated to proceed to determine whether in fact [the plaintiff] ha[s] exhausted his

 administrative remedies.”

         Defendants’ reliance on Chelette, 229 F.3d at 688, is misplaced. The portion of the opinion

 which Defendants quote did not impose an obligation on courts to determine exhaustion before all

 other pending motions. See id. Rather, the defendants argued that exhaustion of administrative

 remedies was a jurisdictional requirement. Id. at 686. The court found it was not jurisdictional but

 determined it would still address the defendants’ argument regarding exhaustion, despite it being

 improperly raised as a motion under Federal Rule of Civil Procedure12(b)(1) for lack of

 jurisdiction. Id. at 687-88. Thus, the court concluded that despite the improper framing of the issue

 as a jurisdictional one, it was still “obligated” to address the exhaustion issue because it had been

 raised. Id. at 688

         The Eighth Circuit has clarified that the district court must address the question of

 exhaustion of administrative remedies prior to proceeding to the merits of a case. See Benjamin v.

 Ward Cty., 632 F. App’x 301 (8th Cir. 2016) (per curiam) (“[W]e conclude that the district court

 erred by proceeding to the merits of Benjamin’s claims without first determining whether he had



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 exhausted administrative remedies that were available . . . .”). Given the analyses and language

 from the Eighth Circuit in Chelette and Benjamin, the Court doubts it is required to determine

 exhaustion of administrative remedies prior to denying class certification because such a

 determination is not one on the merits. See Postawko, 910 F.3d at 1037 (“Rule 23 grants courts no

 license to engage in free-ranging merits inquiries at the certification stage.” (citations omitted)).

          However, the legal conclusion on this issue is inapposite here. Defendants have conceded

 that there is at least one member of each class and subclass who has exhausted his or her remedies.

 Defendants admit the following Plaintiffs have exhausted at least one grievance each: Curtright

 (member of the main healthcare class, Filing 1 at 66, and disability subclass, Filing 1 at 70); Rena

 (member of the main healthcare class, Filing 1 at 66, and isolation subclass, Filing 1 at 68); Galle

 (member of the main healthcare class, Filing 1 at 66, isolation subclass, Filing 1 at 68, and

 disability subclass, Filing 1 at 70), and Reeves (member of the main healthcare class, Filing 1 at

 66, isolation subclass, Filing 1 at 68, and disability subclass, Filing 1 at 70); Filing 179 at 183-84;

 Filing 439 at 106 (stating defendants “concede that plaintiff Reeves grieved removal from

 restrictive housing” for exhaustion purposes). The concededly exhausted grievances themselves

 relate to all three classes by grieving disability accommodations, a variety of healthcare issues,

 and isolation issues. See Filing 179 at 183-84; Filing 127-37 at 43-44; Filing 127-49 at 2; Filing

 439 at 106.11 The Court agrees with the parties that these grievances were appropriately

 administratively grieved. Thus, the class certification analysis can and should still proceed as to




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    Defendants take issue with the fact that not every healthcare-related issue raised by Plaintiffs was individually
 grieved to completion. Exhaustion under the PLRA is not so narrow. See McAlphin v. Toney, 375 F.3d 753, 755 (8th
 Cir. 2004) (finding three incidents were part of inmate–plaintiff’s overarching claim regarding dental services and
 since one incident was exhausted, the others were not required to be); see also Griffin v. Arpaio, 557 F.3d 1117, 1120
 (9th Cir. 2009) (“A grievance also need not contain every fact necessary to prove each element of an eventual legal
 claim. The primary purpose of a grievance is to alert the prison to a problem and facilitate its resolution, not to lay
 groundwork for litigation.”) (citation omitted).

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 the main class and each subclass, regardless of the question regarding the order in which a court

 should address administrative remedies in relation to class certification.

        In accordance with the foregoing, the Court turns to the question of class certification itself.

        4. Analysis on Class Certification

        Federal Rule of Civil Procedure 23(a) “ensures that the named plaintiffs are appropriate

 representatives of the class whose claims they wish to litigate.” Wal-Mart Stores, Inc. v. Dukes,

 564 U.S. 338, 349, 131 S. Ct. 2541, 2550, 180 L. Ed. 2d 374 (2011). “Rule 23(a) requires plaintiffs

 to show that the class satisfies the requirements of ‘numerosity, commonality, typicality, and fair

 and adequate representation.’” Postawko, 910 F.3d at 1037 (citing Luiken, 705 F.3d at 372); see

 also Fed. R. Civ. P. 23(a).

        The Court will analyze the Rule 23(a) factors and their applicability to the class and sub-

 classes proposed by Plaintiffs.

                        a.      Numerosity

        The numerosity prerequisite requires that “the class [be] so numerous that joinder of all

 members is impracticable.” Fed. R. Civ. P. 23(a)(1). In Postawko, the Eighth Circuit affirmed the

 district court’s conclusion that a class of at least 2,000 inmates suffering from chronic HCV would

 satisfy the numerosity requirement. Postawko, 910 F.3d at 1041. The Court concluded, “A class

 of that size would make ‘joinder of all members . . . impracticable.’” Id. at 1037-38 (quoting Fed.

 R. Civ. P. 23(a)(1)) (citing Paxton v. Union Nat. Bank, 688 F.2d 552, 559-60 (8th Cir. 1982)).

        The general proposed class in this case consists of over 5,000 individuals. Filing 250 at 10,

 20. In addition, Plaintiffs seek to include in the class future inmates subject to NDCS custody.

 Filing 1 at 66; Filing 249-75. The proposed disability subclass consists of an estimated 750 inmates

 plus future disabled inmates, Filing 249-50 at 13-14, while the proposed isolation subclass



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 embodies nearly 1800 members plus future inmates who might be subject to isolation as well,

 Filing 249-92 at 10.

        Given the requirements of Fed. R. Civ. P. 23(a)(1) and binding case law interpreting that

 provision, the Court concludes that the proposed class and subclasses are sufficiently numerous to

 satisfy Rule 23(a).

                b.      Commonality

        “To satisfy Rule 23(a)(2) [regarding commonality], plaintiffs must show their claims

 involve a common question or contention ‘of such a nature that it is capable of classwide

 resolution—which means that determination of its truth or falsity will resolve an issue that is

 central to the validity of each one of the claims in one stroke.’” Postawko, 910 F.3d at 1038

 (quoting Sandusky Wellness Ctr., LLC v. Medtox Sci., Inc., 821 F.3d 992, 998 (8th Cir. 2016)).

 “The mere presence of one or more common questions is not enough; rather, the district court must

 examine the capacity of a class-wide proceeding to generate common answers apt to drive the

 resolution of the litigation.” Id. (quoting Yates v. Collier, 868 F.3d 354, 361 (5th Cir. 2017)).

 According to the Supreme Court, this provision requires plaintiffs to “demonstrate that the class

 members ‘have suffered the same injury,’” not merely violations of “the same provision of law.”

 Dukes, 564 U.S. at 350, 131 S. Ct. at 2551 (quoting Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147,

 157, 102 S. Ct. 2364, 72 L. Ed. 2d 740 (1982)). Plaintiffs claim the proposed class presents the

 common question of whether NDCS violated the Eighth Amendment by being deliberately

 indifferent to the substantial risk of harm posed by its healthcare policies. See Farmer v. Brennan,

 511 U.S. 825, 828, 114 S. Ct. 1970, 1974, 128 L. Ed. 2d 811 (1994) (“A prison official’s ‘deliberate

 indifference’ to a substantial risk of serious harm to an inmate violates the Eighth Amendment.”).




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        Here, Plaintiffs have not demonstrated the proposed class or either proposed subclass

 presents common issues capable of classwide resolution. With respect to the general class of “all

 persons who are now, or will in the future, be subjected to the healthcare (including medical,

 mental health and dental care) policies and practices of NDCS,” Filing 247 at 1, the Court finds

 the class is too broad and that its members have such disparate medical needs that the questions

 are neither common nor resolved by a single classwide answer. Plaintiffs have not shown a single

 policy or question whose resolution would apply across the class. Plaintiffs’ claims present

 individual instances of alleged indifference or lack of their preferred treatment for their particular

 medical needs, not classwide issues capable of common resolution.

        First, the named plaintiffs suffer from a wide variety of medical issues and most do not

 have the same or even similar issues in common with other Plaintiffs. For example, Sabata suffers

 from bipolar disorder, PTSD, delusional disorder, and depression, while Cardeilhac has no

 diagnosed medical issues. Curtright is disabled, Galle has a broken leg from a gunshot wound, and

 Griswold suffers from mobility problems and is blind. Gunther has diabetes and mental health

 issues and is also blind. Norris is blind, has a developmental disability, and suffers from bipolar

 disorder, heart disease, diabetes, and high blood pressure. Reeves has tooth pain and is suicidal

 while Rena suffers from a skin rash and dental pain. Finally, Sweetser has been diagnosed with

 hepatitis C and suffered a ruptured appendix while in custody.

        Even for those inmates with somewhat similar medical needs, they complain of different

 alleged inadequacies in the care they received. For example, while Sabata, Cardeilhac, Curtright,

 Galle, Gunther, Rena, and Sweetser all claimed to be in need of dental care, they presented with

 different dental problems requiring various forms of treatment. Sabata and Cardeilhac alleged they

 received delayed dental care while Curtright complained that the dental care he received was



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 improperly performed when a crown was put on wrong without his consent. Galle claims he had

 fillings that came out and Gunther asserted pain from his dentures as well as unnecessary tooth

 extractions. While others complained of being unable to receive dental care, Rena alleges she

 received excessive dental procedures and claimed to have had teeth extracted unnecessarily. She

 also experienced pain from an abscess in her mouth. Sweetser claims to have only seen the dentist

 once in four years of living at NDCS facilities. While these complaints can generally be

 categorized under the seemingly “common” heading of “dental care,” a closer examination of the

 inmates’ dental needs and the alleged inadequate treatment they each received shows that the issues

 presented are incapable of common resolution.

        Second, the expert opinions also support that Plaintiffs do not present common questions

 that are capable of classwide resolution. First, as a whole, the experts take issue with a breath-

 takingly wide variety of policies and procedures at NDCS. As illustrated by the summary of the

 expert testimony included above, Plaintiffs’ experts address issues ranging from intake screening,

 the use of LPNs, TB screening, emergent care, urgent care, non-urgent episodic care, chronic care,

 restrictive housing, interpreter services, inmate porters, medication administration, record-

 keeping, dental diagnosis, dental treatment, provision of dental X-rays, mental health identification

 and screening, mental health protection and care, identifying inmates with disabilities, tracking

 inmates with disabilities, accommodating inmates with disabilities, and the provision of parole

 hearings. Many of the expert opinions on these topics are directly disputed by Defendants’ experts.

 Ultimately, this battle of the experts illustrates to this Court that these disputed areas regarding

 what is or should be the standards for prison healthcare policy are not capable of resolution in one

 fell swoop.




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        In addition to the breadth of policies and procedures identified by Plaintiffs’ experts, the

 experts also fail to support the contention that any of the identified shortcomings are common

 issues. For example, while Dr. Stern identifies what he perceives as three main issues with NDCS’s

 healthcare intake screening, he fails in many instances to provide examples of these problems

 actually occurring in NDCS facilities. The few real-world instances Dr. Stern does identify are

 isolated occasions of alleged inadequate treatment and do not demonstrate a pattern or common

 policy across the class or subclasses. For example, Dr. Stern points to three patient forms that

 allegedly show an LPN conducted the intake screening. Filing 249-58 at 24, n.18. However, Dr.

 Stern’s own list of documents state that he reviewed all eleven of the named plaintiffs’ medical

 records and fifty additional inmate records for a total of sixty-one records. Filing 249-60 at 11-13.

 The mere fact that three out of sixty-one medical screenings show the use of an LPN in

 contravention of NDCS policy does not reflect a wide-spread and systemic deficiency in need of

 class resolution.

        Dr. Stern likewise takes issue with poor decision-making by nurses, medical officers, and

 other professionals. Filing 249-58 at 16-17. Dr. Stern cites nine different examples of this poor

 decision making, Filing 259-58 at 17-22, but fails to link these separate, isolated incidents to a

 common deficiency or theme rather than to poor decision-making by individual actors.

        Dr. Stern’s other assertions of supposed systemic inadequacies are not supported by the

 facts. For example, he asserts that nurses fail to properly screen inmates for TB because they only

 ask two questions about coughing rather than assessing by direct observation whether a patient has

 a cough or other symptoms at intake. Filing 249-58 at 25. Dr. Stern does not explain how a nurse

 conducting an in-person intake is not, by default, engaged in “direct observation.” Dr. Stern also

 complains that intake examinations are not done in a timely fashion, but Plaintiffs present no



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 evidence that inmate screenings are routinely missed or conducted late on a systemic level.

 Furthermore, Plaintiffs’ signed intake screening sheets appear to show they were screened upon

 entry to NDCS. See, e.g., Filing 357-23 at 15-17 (Galle describing intake upon arrival); Filing 361-

 2 at 27-32 (Gunther describing intake upon arrival); Filing 357-14 at 13-15 (Reeves describing

 intake upon arrival); Filing 357-21 at 23-26 (Sabata describing intake upon arrival); Filing 357-22

 at 14-17 (Norris describing intake upon arrival).

        Dr. Shulman likewise selected from among many inmates’ dental records to claim the

 prevalence of problems in dental care at NDCS. Filing 315-3 at 4. He claims a “majority” were

 picked at random with defense counsel present. Filing 357-12 at 3. This means Dr. Shulman agrees

 he picked some for review that were not a part of a random selection. Furthermore, as substantiated

 by Defendants’ dental expert, Dr. Rich, each inmates’ dental needs are different and require

 separate care. Filing 315-3 at 6-7. Plaintiffs have failed to demonstrate how the alleged deficiencies

 in the dental care afforded to individual inmates in factually different situations support

 commonality.

        Dr. Stewart identifies issues in the mental healthcare provided to NDCS inmates, but his

 proposed solutions to these issues are not consistent or cohesive and the Court finds many of his

 contentions rebutted by Defendants’ experts, Drs. Davis and Aufderheide. For example, Dr.

 Stewart takes issue with staffing shortages and blames an inmate’s suicide on the lack of mental

 health staff. Filing 249-38 at 15-16. However, Dr. Aufderheide refutes this contention and

 highlights that Dr. Stewart does not convincingly link the inmate’s death to staff shortages. Filing

 316-38 at 16. Dr. Stewart also oversells the risks of telepsychiatry because of his belief that remote

 treatment-providers will not have reviewed an inmate’s file. Filing 249-38 at 25. However,

 according to Dr. Davis, telepsychiatry is a recognized and accepted method of performing



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 psychiatric evaluations and treating psychiatric patients. Filing 315-1 at 6. In addition, NDCS

 apparently has a staff member present and the inmate’s chart during all telepsychiatry

 appointments, thereby alleviating any concerns about incomplete information. Filing 315-1 at 6.

        Plaintiffs’ proposed disability subclass consisting of “all persons with disabilities who are

 now, or will in the future be, confined at any NDCS facility,” Filing 247 at 2, suffers from the

 same overbreadth as the general class. Its members have different disabilities requiring unique and

 disparate accommodations, vitiating any commonality. For example, while Norris and Gunther are

 fully blind, Griswold is blind only in one eye and complains of mobility accessibility. Curtright is

 sighted but is deaf. Their issues with NDCS’s accommodations also lack commonality. Curtright

 complained of having no sign language interpreter. Norris, on the other hand, did receive a talking

 clock and clear backpack and apparently rejected a braille block because she did not like it.

        Schlanger identifies what she views as a number of deficient procedures with respect to

 disabled individuals, from intake, tracking of disabilities, provision of modification and aides, use

 of porters, communication systems, use of restrictive housing, and parole hearings. Filing 249-50.

 However, she fails to explain how this wide variety of policies affects all of the disability class

 members or how they would be capable of classwide resolution. For example, not all of the inmates

 in the disability subclass assert a lack of ADA accommodation in restrictive housing, nor do all of

 the disability subclass members assert problems with the parole process. The proposed disability

 subclass therefore fails to present common issues which could be resolved by a subclasswide

 solution.

        Finally, Plaintiffs’ isolation subclass also defies commonality. By including “all NDCS

 prisoners who are now, or will in the future be, subject to conditions of confinement that provide

 limited contact with other prisoners, strictly controlled movement while out of cell, and out-of-cell



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 time of less than twenty-four hours per week,” Filing 247 at 1, Plaintiffs’ proposed subclass

 encompasses a wide variety of inmates placed in isolation for varying reasons and who would not

 benefit from a single subclasswide solution. For example, while Sabata, Cardeilhac, Galle,

 Gunther, Norris, Reeves, and Rena all complained of restrictive housing, their complaints ranged

 from a general gripe about being placed in isolation to specific things that were lacking or

 unsatisfactory about the conditions of their confinement. Gunther complained of not having access

 to eye drops or adequate food. Rena complained about the lack of confidentiality from having to

 use porters while in restrictive housing. The reasons for the inmates being placed in restrictive

 housing also varied. For example, Norris was in restrictive housing at various times for either

 fighting or for his own protective custody.

        Dr. Haney identifies problems with NDCS’s use of restrictive housing, but he concedes

 that aside from completely stopping isolation in all prisons, fixing the alleged negative impact of

 restrictive housing in inmates’ physical and mental health would require individualized solutions.

 Filing 316-17 at 5. Dr. Haney points to the tie between restrictive housing and mental illness.

 However, not every member of the proposed isolation subclass is alleged to have a serious mental

 illness. Dr. Haney and Vail also both point to the negative impact of double celling in restrictive

 housing. Filing 249-42 at 40; Filing 429-47 at 34. However, neither Dr. Haney nor Vail contend

 that double celling inmates is a practice or policy that is common to all inmates in restrictive

 housing or common to all NDCS facilities. The isolation Plaintiffs therefore also fail to present

 common issues or solutions that would apply across the subclass.

        The case of Wal-Mart v. Dukes, 564 U.S. 338, 131 S. Ct. 2541, is instructive in

 demonstrating the overbreadth of Plaintiffs’ proposed class and subclasses. In Dukes, the United

 States Supreme Court was “presented with one of the most expansive class actions ever.” Id. at



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 342, 131 S. Ct. at 2547. The class that the plaintiffs sought to certify included “about one and a

 half million plaintiffs, current and former female employees of petitioner Wal-Mart who allege[d]

 that the discretion exercised by their local supervisors over pay and promotion matters violate[d]

 Title VII by discriminating against women.” Id., 131 S. Ct. at 2547. The Supreme Court considered

 “whether the certification of the plaintiff class was consistent with Federal Rules of Civil

 Procedure 23(a) and (b)(2).” Id. It concluded that certification was not warranted, in part because

 Plaintiffs had not demonstrated commonality under Rule 23(a).

         Plaintiffs did “not allege that Wal-Mart ha[d] any express corporate policy against the

 advancement of women.” Id. at 344, 131 S. Ct. at 2548. Rather, “they claim[ed] that their local

 managers’ discretion over pay and promotions is exercised disproportionately in favor of men,

 leading to an unlawful disparate impact on female employees.” Id. “The basic theory of their case

 [was] that a strong and uniform ‘corporate culture’ permit[ted] bias against women to infect,

 perhaps subconsciously, the discretionary decision making of each one of Wal-Mart’s thousands

 of managers—thereby making every woman at the company the victim of one common

 discriminatory practice.” Id. at 345, 131 S. Ct. at 2548. The plaintiffs “therefore wish[ed] to litigate

 the Title VII claims of all female employees at Wal-Mart’s stores in a nationwide class action.”

 Id. The plaintiffs “moved the District Court to certify a plaintiff class consisting of ‘[a]ll women

 employed at any Wal-Mart domestic retail store at any time since December 26, 1998, who have

 been or may be subjected to Wal-Mart’s challenged pay and management track promotions

 policies and practices.” Id. at 346, 131 S. Ct. at 2549 (internal quotation marks omitted).

         The Supreme Court stated, “The crux of this case is commonality—the rule requiring a

 plaintiff to show that ‘there are questions of law or fact common to the class.’” Id. at 349, 131 S.

 Ct. at 2550-51 (citing Fed. R. Civ. P. 23(a)(2)). The Court noted that the rule “is easy to misread,



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 since ‘[a]ny competently crafted class complaint literally raises common ‘questions.’” Id. at 349,

 131 S. Ct. at 2551 (alteration in original). The Supreme Court went on, however, that “[r]eciting

 [common] questions is not sufficient to obtain class certification. Commonality requires the

 plaintiff to demonstrate that the class members ‘have suffered the same injury[.]” Id. at 349-50,

 131 S. Ct. at 2551 (quoting Falcon, 457 U.S. at 157, 102 S. Ct. at 2364). “Their claims must depend

 upon a common contention . . . .” Id. at 350, 131 S. Ct. at 2551. The Court continued:

        What matters to class certification . . . is not the raising of common ‘questions’—
        even in droves—but rather, the capacity of a class-wide proceeding to generate
        common answers apt to drive the resolution of the litigation. Dissimilarities within
        the proposed class are what have the potential to impede the generation of common
        answers.

    Id. (alteration in original) (quoting Richard A. Nagareda, Class Certification in the Age of

 Aggregate Proof, 84 N.Y.U. L. Rev. 97, 132 (2009)).

        The Court concluded that the plaintiffs had not raised such common questions capable of

 resolution by common answers. Id. at 359, 131 S. Ct. at 2556-57. It stated, “Because respondents

 provide no convincing proof of a companywide discriminatory pay and promotion policy, we have

 concluded that they have not established the existence of any common question.” Id. It continued:

                In sum, we agree with [the dissenting judge below] that the members of the
        class “held a multitude of jobs, at different levels of Wal–Mart’s hierarchy, for
        variable lengths of time, in 3,400 stores, sprinkled across 50 states, with a
        kaleidoscope of supervisors (male and female), subject to a variety of regional
        policies that all differed . . . . Some thrived while others did poorly. They have little
        in common but their sex and this lawsuit.”

 Id. at 359-60, 131 S. Ct. at 2557 (quoting Dukes v. Wal-Mart Stores, Inc., 603 F.3d 571, 652 (9th

 Cir. 2010) (dissenting opinion), rev’d, 564 U.S. 338, 131 S. Ct. 2541, 180 L. Ed. 2d 374 (2011)).

        Similarly to the issues presented by the broad class in Dukes, here Plaintiffs’ proposed class

 consists of inmates in a variety of institutions with a wide range of health issues and medical needs.

 They have little in common but their status as NDCS inmates and this lawsuit. Furthermore, while

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 in Dukes the plaintiffs sought to certify a class based only on a single policy relating to pay and

 promotion, here Plaintiffs argue there is commonality among all of NDCS’s health-, dental-,

 mental health-, and confinement-related policies. Plaintiffs’ proposed class is thus much broader

 than that rejected as overly broad in Dukes.

        In contrast to the Dukes holding, Plaintiffs point to a Ninth Circuit case that certified a

 broad class similar to the one they propose. See Parsons v. Ryan, 754 F.3d 657 (9th Cir. 2014). In

 Parsons, inmates in the Arizona Department of Corrections’ (“ADC’s”) custody challenged the

 prison system’s “policies and practices governing medical care, dental care, and mental health

 care” on Eighth Amendment and other grounds. Id. at 663. The district court “certified a class

 consisting of ‘[a]ll prisoners who are now, or will in the future be, subjected to the medical, mental

 health, and dental care policies and practices of the ADC.’” Id. at 672 (alteration in original). “It

 also certified a subclass consisting of ‘[a]ll prisoners who are now, or will in the future be,

 subjected by the ADC to isolation, defined as confinement in a cell for 22 hours or more each day

 or confinement in [certain housing units].’” Id. (alterations in original). The district court

 determined that “the problems identified in the provision of health care are not merely isolated

 instances but, rather, examples of systemic deficiencies that expose all inmates to a substantial risk

 of serious harm” and thus met the standard of commonality. Id. at 673.

        The Ninth Circuit agreed that commonality was met. It stated, “After all, every inmate in

 ADC custody is necessarily subject to the same medical, mental health, and dental care policies

 and practices of ADC.” Id. at 678. “The putative class and subclass members . . . all set forth

 numerous common contentions whose truth or falsity can be determined in one stroke: whether

 the specified statewide policies and practices to which they are all subjected by ADC expose them

 to a substantial risk of harm.” Id. It concluded such issues were capable of common resolution



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 because “either each of the policies and practices is unlawful as to every inmate or it is not” and

 therefore they did not require an individualized inquiry. Id.

        The Court finds Plaintiffs’ reliance on Parsons unconvincing. First, the Court disagrees

 that the relevant inquiry can be reduced to a simple “yes or no” question on legality as the Ninth

 Circuit suggests. See id. at 678, 684. Rather, in determining whether a policy is unconstitutional

 or violates the ADA or RA, it is necessary to examine its application to individual inmates and the

 effect it has on them. How else is the court to assess, for example, whether a risk of harm is

 substantial? The Court believes it would be impossible to determine the effect of a policy or

 practice in a vacuum devoid of actual inmates with real medical needs. Under the Ninth Circuit’s

 logic, almost any disparate group of plaintiffs could be certified as a class by reducing the relevant

 inquiry to an oversimplified question of “legality” and ignoring the pesky facts and details that

 might differentiate class members.

         Furthermore, the Eighth Circuit has never interpreted Rule 23(a) as broadly as the Ninth

 Circuit did in Parsons. For example, in Postawko, 910 F.3d 1030, the Eighth Circuit certified a

 prison healthcare-related class, but one much narrower in scope than either that in Parsons or the

 class Plaintiffs propose here. In Postawko, the plaintiffs “sought class certification for their claims

 alleging that the Missouri Department of Corrections (‘MDOC’) and various related defendants

 violated the Eighth Amendment and Title II of the Americans with Disabilities Act (‘ADA’) by

 providing inadequate medical screening and care for chronic Hepatitis C (‘HCV’) viral infections.”

 Id. at 1033. “As a highly communicable disease, HCV often spreads among the incarcerated

 population” but is easily treated with direct-acting antiviral (“DAA”) drugs which cure over 90%

 of patients. Id. at 1034-35. Despite this, “[t]he MDOC . . . provided DAA medications to less than

 one-half of one percent of inmates in their custody with a known HCV infection.” Id. at 1035.



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        Plaintiffs sought to certify the following class of inmates:

        All those individuals in the custody of MDOC, now or in the future, who have been,
        or will be, diagnosed with chronic HCV, as that term is defined medically, but who
        are not provided treatment with direct acting antiviral drugs.

 Id. at 1036.

        The Eighth Circuit Court of Appeals noted that at the class-certification stage, the Court’s

 “primary task is not to determine the final disposition of a plaintiff’s claims, but instead to examine

 whether those claims are appropriate for class resolution.” Id. at 1037 (citing In re Zurn Pex, 644

 F.3d at 613). With regard to the commonality requirement, “[T]he Defendants argue[d] that the

 unique medical condition of each member of the class” would require resolution involving “a

 ‘highly individualized’ inquiry.” Id. at 1038. In finding the commonality requirement met, the

 district court noted that “[a]ll class members share the common question of whether the

 Defendants’ policy or custom of withholding treatment with DAA drugs from individuals who

 have been or will be diagnosed with chronic HCV constitutes deliberate indifference to a serious

 medical need” under the Eighth Amendment. Id. While “the physical symptoms eventually

 suffered by each class member may vary, . . . the question asked by each class member is

 susceptible to common resolution.” Id. at 1038-39. Thus, the court concluded that commonality

 was met and the class was properly certified under Rule 23(a). Id. at 1039; cf. Powers v. Credit

 Mgmt. Servs., Inc., 776 F.3d 567, 570 (8th Cir. 2015) (finding commonality was not met in Fair

 Debt Collection Practices Act case where the question of whether the creditor improperly sought

 prejudgment interest would require individualized inquiry into each underlying debtor’s

 transaction).

        While Plaintiffs argue Postawko supports their position because it allowed a class action

 to proceed in the prison healthcare context, the breadth of Plaintiffs’ proposed class distinguishes



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 it from the Eighth Circuit’s holding therein. While in Postawko the class was based on a single

 disease and a single policy of non-treatment for that disease, Plaintiffs here seek to certify a class

 whose members suffer from a multitude of diseases, mental health conditions, and other alleged

 problems, and they challenge many dozens of NDCS’s policies and practices related to these

 various conditions. The Court fails to see how Plaintiffs’ vastly broader class presents common

 issues capable of common resolution like that in Postawko. Instead, Plaintiffs’ proposed class and

 subclasses would require numerous changes to NDCS’s policy and practice in order to rectify the

 broad range of issues the class members assert.

         Aside from the Ninth Circuit as seen in Parsons, this more measured approach is supported

 by cases from other circuits as well. For example, the Fifth Circuit found a class presented common

 issues and was thus correctly certified in Yates v. Collier, 868 F.3d 354 (5th Cir. 2017). The

 plaintiffs were inmates at one facility in Texas who alleged violations of the Eighth Amendment,

 ADA, and RA “due to high temperatures in the prison housing areas.” Id. at 358. Plaintiffs sought

 to certify a class consisting of “[a]ll inmates who currently are, or in the future will be, incarcerated

 at the [facility], and who are subjected to [the corrections department]’s policy and practice of

 failing to regulate high indoor heat index temperatures in the housing areas,” as well as subclasses

 for those at increased risk and those with disabilities. Id. at 359. In upholding the district court’s

 decision to certify the general class, the Fifth Circuit noted that all inmates were exposed to the

 same high temperatures and “every inmate . . . is at a substantial risk of serious harm due to the

 heat.” Id. at 362. The district court noted that while “[n]o two individuals have the exact same

 risk” due to variations in age and health conditions, the extreme heat nevertheless posed the

 common question of “the adequacy of [the department]’s mitigation measures—as applied in

 practice—in reducing the heat risk for all the inmates.” Id. at 363 (alteration and emphasis in



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 original). The Fifth Circuit agreed that the “[p]laintiffs have demonstrated the presence of a

 “question[ ] of law or fact common to the class.” Id. at 365 (second alteration in original) (quoting

 Fed. R. Civ. P. 23(a)(2)).

         Thus, more akin to the single health issue presented in Postawko, Yates presented the single

 question of high temperatures placing prisoners at risk. In contrast, Plaintiffs’ proposed class does

 not focus on a single or even a few health conditions or policies, but instead purports to encompass

 a wide variety of health conditions and NDCS practices that affect inmates in disparate ways and

 are thus incapable of common resolution. The two broad proposed subclasses suffer the same

 deficiencies. To say such broad classes present common issues is to strain the meaning of Rule

 23(a)(2). The Court thus finds most convincing the approaches taken by the Eighth Circuit and the

 other courts cited above rather than the overly broad approach in Parsons. Accordingly, Plaintiffs’

 proposed class and subclasses fail to meet the requirement of commonality and will not be

 certified.

                c.      Typicality

         A party seeking class certification must also show “the claims or defenses of the

 representative parties are typical of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3).

 The question is whether “other class members have claims similar to the named plaintiff.” DeBoer

 v. Mellon Mortg. Co., 64 F.3d 1171, 1174 (8th Cir. 1995) (citing Paxton v. Union Nat’l Bank, 688

 F.2d 552, 561 (8th Cir. 1982)). The Eighth Circuit has recognized that the “commonality and

 typicality requirements of Rule 23(a) tend to merge.” Postawko, 910 F.3d at 1039 (citing Wal-

 Mart, 564 U.S. at 349 n.5, 131 S. Ct. 2541). Having found that the proposed class and subclasses

 lack commonality, the Court likewise concludes that the named plaintiffs cannot and do not typify

 the class as a whole. As analyzed at length above, the proposed classes include a large group of



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 inmates, some with no health issues, others with a wide variety of physical, mental, and dental

 issues. The Court concludes the named plaintiffs do not typify this diverse group of class members

 for any of the proposed classes.

                d.       Adequacy of Representation

        The adequacy requirement of Rule 23(a) requires the class representatives to fairly and

 adequately protect the interests of the class. Fed. R. Civ. P. 23(a)(4). “Adequacy of representation

 focuses on two issues: (1) whether the representatives have common interests with class members;

 and, (2) whether the representatives will vigorously prosecute the interests of the class.” Clayborne

 v. Omaha Pub. Power Dist., 211 F.R.D. 573, 597 (D. Neb. 2002) (citing Paxton, 688 F.2d at 562-

 63). “The district court must decide whether Rule 23(a)(4) is satisfied through balancing ‘the

 convenience of maintaining a class action and the need to guarantee adequate representation to the

 class members.’” Rattray v. Woodbury Cty., 614 F.3d 831, 835 (8th Cir. 2010) (quoting Wright v.

 Stone Container Corp., 524 F.2d 1058, 1061 (8th Cir. 1975)). “The inquiry into adequacy of

 representation, in particular, requires the district court’s close scrutiny, because the purpose of

 Rule 23(a)(4) is to ensure due process for absent class members, who generally are bound by a

 judgment rendered in a class action.” Id. (citing Hansberry v. Lee, 311 U.S. 32, 41, 61 S. Ct. 115,

 85 L. Ed. 22 (1940)).

                                i.     Vigorous Prosecution

        Seeking to represent a large group of people as a class representative in a lawsuit
        is a very heavy responsibility. It should never be undertaken lightly, and the court
        should allow such representation only upon a firm foundation that the named
        plaintiffs are willing and [ ] able to shoulder that burden.

 Clayborne, 211 F.R.D. at 597 (quoting Cervantes v. Dobson Bros. Const. Co., No. CV76-L-95,

 1977 WL 89, at *3 (D. Neb. Mar. 1, 1977)).




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           There are eleven named Plaintiffs in this case. Of the eleven named Plaintiffs, ten of them

 submitted either a declaration or a transcript of their depositions in support of class certification.

 During their depositions, Plaintiffs showed a basic understanding of the claims, other Plaintiffs,

 Defendants, procedural history, and class certification process. “[C]lass representatives in complex

 cases are not required to have the detailed level of firsthand knowledge of facts or law that

 defendants seek to impose” but they must make some showing of personal commitment to and

 knowledge of the litigation. In re Genesis Intermedia, Inc. Secs. Litig., 232 F.R.D. 321, 330-31

 (D. Minn. 2005) (quoting In re Select Comfort Corp. Sec. Litig., 202 F.R.D. 598, 609 (D. Minn.

 2001)).

           The declarations submitted by Plaintiffs contain statements regarding their desire to be a

 Plaintiff in this suit and the relief sought. Filing 249-1 at 5 (Cardeilhac Declaration); Filing 249-

 21 at 10 (Curtright Declaration); Filing 249-3 at 6 (Griswold Declaration); Filing 249-4 at 7

 (Gunther Declaration); Filing 249-2 at 6 (Reeves Declaration); Filing 249-12 (Rena Declaration);

 Filing 249-15 at 6 (Sabata Declaration). Many of the plaintiffs testified that they reviewed the

 materials submitted in this case. Filing 357-21 at 10 (Sabata Deposition); Filing 357-24 at 46-47

 (Curtright Deposition); Filing 357-23 at 39, 44-45 (Galle Deposition); Filing 361-2 at 12, 22

 (Gunther Deposition); Filing 357-14 at 68-69 (Reeves Deposition); Filing 249-34 at 9 (Sweetser

 Declaration); Filing 249-1 at 5 (Cardeilhac Declaration); Filing 249-12 at 5 (Rena Declaration).

 Several of the plaintiffs have a basic understanding of their role as class representative. Filing 357-

 24 at 50 (Curtright Deposition); Filing 357-23 at 40 (Galle Deposition); Filing 361-2 at 12-13

 (Gunther Deposition); Filing 357-14 at 70-71 (Reeves Deposition); Filing 357-21 at 33 (Sabata

 Deposition).




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         Ten of the named plaintiffs articulate the overall concerns they seek to redress in this suit.

 Filing 249-1 at 5 (Cardeilhac Declaration); Filing 357-24 at 54 (Curtright Deposition); Filing 357-

 23 at 42-43 (Galle Deposition); Filing 249-3 at 6 (Griswold Declaration); Filing 361-2 at 16-21

 (Gunther Deposition); Filing 357-14 at 69, 72 (Reeves Deposition); Filing 249-12 at 5 (Rena

 Declaration); Filing 357-21 at 35 (Sabata Deposition).

         While the proposed class representatives do not display an in-depth understanding of the

 complexity of this case, they illustrate that they understand the broad strokes of this litigation and

 a commitment to it. The Court finds that the named plaintiffs are adequate representatives and

 exhibit a commitment to vigorous prosecution of their claims.

         Plaintiffs have likewise retained competent and capable counsel to represent them in this

 case, which the Eighth Circuit Court of Appeals has also identified as a factor illustrating a

 willingness to vigorously prosecute the case on behalf of the proposed class. See Paxton, 688 F.2d

 at 563 (stating the proposed class representatives “have demonstrated a willingness to prosecute

 the interests of the class through qualified counsel”).

                         ii.     Common Interests

         The “common interests” factor when considering adequacy of representation involves an

 inquiry into whether the interest of the proposed named plaintiff conflicts with the interests of

 proposed class members. See Clayborne, 211 F.R.D. at 597 (citation omitted) (“[W]here the

 interests of the named plaintiff conflicts with the interests of class members, that plaintiff is not an

 appropriate class representative.”).

         Courts note that conflicts of interest between proposed class representatives and a proposed

 putative class are rare where the proposed class representatives seek only declaratory and

 injunctive relief. See Hernandez v. Cty. of Monterey, 305 F.R.D. 132, 160 (N.D. Cal. 2015) (“Class



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 representatives have less risk of conflict with unnamed class members when they seek only

 declaratory and injunctive relief.”); see also New Directions Treatment Servs. v. City of Reading,

 490 F.3d 293, 313 (3d Cir. 2007) (citing Fed. R. Civ. P. 23(a)(4)) (“Conflicts of interest are rare

 in Rule 23(b)(2) class actions seeking only declaratory and injunctive relief.”).

          Here, the class and proposed subclasses seek only declaratory and injunctive relief. The

 Court concludes that the goals of the NDCS class, the isolation subclass, and the ADA subclass

 do not illustrate conflicts of interest that would preclude certification. Further, the Court likewise

 believes the due process rights of the proposed class and subclass members could be preserved if

 the class and subclasses were certified.

          Although the Court outlines significant problems with Plaintiffs’ proposed classes meeting

 the commonality requirement under Rule 26(a)(2) as outlined above, the Court believes the

 adequacy requirement under Rule 26(a)(4) would not prevent class certification.

                   e.       Factors under Fed. R. Civ. P. 23(b)

          In addition to meeting all of the factors of Fed. R. Civ. P. 23(a), the proposed class must

 also satisfy at least one of the three requirements listed in Rule 23(b) in order to be certified as a

 class action.12 Plaintiffs rely upon Rule 23(b)(1) and 23(b)(2) in their effort to meet the

 requirements under Rule 23(b). Filing 250 at 48. Rule 23(b)(1) applies where there is a risk that

 separate prosecutions would harm other class members or create inconsistent adjudications. Fed.

 R. Civ. P. 23(b)(1). Rule 23(b)(2) applies when “the party opposing the class has acted or refused




 12
    The Court has concluded that the Fed. R. Civ. P. 23(a) requirements of commonality and typicality have not been
 met by Plaintiffs’ proposed class and subclasses. A prerequisite of meeting the requirements of Fed. R. Civ. P. 23(b)
 is that Rule 23(a) requirements must be “satisfied.” Id. Thus, pursuant to the text of Fed. R. Civ. P. 23(b), the
 requirements of Rule 23(b) likewise cannot be met. The Court will therefore not engage in a detailed analysis of all
 Rule 23(b) criteria for certifying a class action. It will, however, briefly address certain arguments on Rule 23(b)
 factors made by the parties.

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 to act on grounds that apply generally to the class, so that final injunctive relief or corresponding

 declaratory relief is appropriate respecting the class as a whole.” Id.

          The Dukes Court determined that the requirement under Rule 23(b)(2) was not met. It said,

 “Rule 23(b)(2) applies only when a single injunction or declaratory judgment would provide relief

 to each member of the class.” 564 U.S. at 360, 131 S. Ct. at 2557. “Permitting the combination of

 individualized and class wide relief in a (b)(2) class is also inconsistent with the structure of Rule

 23(b).” Id. at 2558 (citation omitted). Dukes also noted as problematic that “about half the members

 of the class approved by the Ninth Circuit have no claim for injunctive or declaratory relief at all.”

 Id. at 2560.

          The Court concludes that Plaintiffs have not satisfied the requirements of Rule 23(b). The

 Court believes that any potential differences in separate prosecutions resulting in different

 outcomes would be attributable to the wide factual variations in individual inmates’ medical

 situations. Further, as in Dukes, the Court is concerned that many members of the proposed class

 and subclasses have no claim for the proposed injunctive relief. The Court also believes many of

 the factors discussed in detail in addressing commonality above also illustrate why Rule 23(b)(1)

 and (b)(2) cannot be met.13

                   f.       Additional Concerns

          In addition to finding that Plaintiffs’ proposed class and subclasses fail to meet the

 requirements of Federal Rule of Civil Procedure 23 as set forth above, the Court also believes that

 certifying the requested class would present serious concerns under the established principles of

 federalism.


 13
    In many class actions, the question of whether the requirement of predominance is met under Fed. R. Civ. P. 23(b)(3)
 is at issue. Here, Plaintiffs have argued that predominance arguments have no application to the present dispute given
 they are only seeking certification “pursuant to Rule 23(b)(1) and (b)(2).” Filing 358 at 88. Thus, the Court will not
 address predominance.

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        In Elizabeth M. v. Montenez, 458 F.3d 779, 788 (8th Cir. 2006), the Eighth Circuit reversed

 a grant of class certification by the District of Nebraska in part based on concerns that the class

 was too broad to be manageable. The plaintiffs were former and current female patients

 involuntarily confined in three of Nebraska’s residential mental health facilities who complained

 of sexual assault and inadequate mental-health and disability treatment. Id. at 782. The district

 court certified the following class:

        All women who were subjected to rape, sexual assault, sexual harassment, sexual
        exploitation, and physical assault, while in the care and custody of Nebraska Health
        and Human Services System (NHHSS) as residents at one or more of the NHHSS
        residential mental health facilities; and all women who are currently, or in the future
        will be, in the care and custody of the NHHSS and placed as residents at one or
        more of the NHHSS residential mental health facilities.

 Id.

        In addition to standing issues, the Eighth Circuit expressed its concern that the “[p]laintiffs’

 class action complaint requests sweeping injunctive relief which, if granted, would require the

 district court to mandate and monitor detailed programs governing nearly every facet of the State’s

 operation of the three residential facilities.” Id. at 783. The Eighth Circuit disapproved of a federal

 court “certifying a single class action to litigate this broad array of claims and prayers for relief,”

 thereby “essentially confer[ing] upon itself jurisdiction to assert control over the operation of three

 distinct mental health facilities, a major component of Nebraska state government.” Id. at 784. The

 Court stated, “Where, as here, the exercise of authority by state officials is attacked, federal courts

 must be constantly mindful of the special delicacy of the adjustment to be preserved between

 federal equitable power and State administration of its own law.” Id. (quoting Rizzo v. Goode, 423

 U.S. 362, 378, 96 S. Ct. 598, 607, 46 L. Ed. 2d 561 (1976)). The Eighth Circuit found such a

 concern was especially heightened in the class-certification context because of the likelihood a

 grant of class certification would force a defendant to settle. Id. Accordingly, the Court concluded

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 that the class had been improperly certified. Id. at 788. It stated, “[I]t is not the role of courts, but

 that of the political branches, to shape the institutions of government in such fashion as to comply

 with the laws and the Constitution.” Id. (quoting Lewis v. Casey, 518 U.S. 343, 349, 116 S. Ct.

 2174, 2179, 135 L. Ed. 2d 606 (1996)).

          The Court has similar concerns to those expressed by the Eighth Circuit in Elizabeth M.

 As in that case, here Plaintiffs ask the Court to certify a class so broad that it would “essentially

 confer[] upon itself jurisdiction to assert control over the operation” of Nebraska’s prison system.

 Id. at 784. The Court agrees that it is not its role, but rather that of the executive and legislative

 branches of the state of Nebraska, to shape the policy of the correctional institutions. By asking

 the Court to undertake overseeing the management of nearly all aspects of the state prison

 system—from healthcare to isolation to disability accommodations—Plaintiffs are asking this

 Court to usurp the role conferred upon the political branches.14 The Court declines to do so.

          In Postawko, the Court found that “a single injunction or declaratory judgment would

 provide relief to each member of the class.” Postawko, 910 F.3d at 1039-40 (quoting Dukes, 564

 U.S. at 360, 131 S. Ct. 2541). The proposed injunction in Postawko would require the defendant

 correctional institutions to “formulate and implement an HCV treatment policy,” provide the

 appropriate drugs to qualified class-members, and “provide members of the class an appropriate

 and accurate assessment of the level of fibrosis or cirrhosis they have, counseling on drug-drug

 interactions, and ongoing medical care for complications and symptoms of HCV.” Id. at 1036.




 14
   The overbreadth of the proposed class is also illustrated by the ambiguity of the relief Plaintiffs seek. When asked
 at the hearing how they envision the problems they identify being remedied, Plaintiffs were unable to articulate
 concrete, well-delineated injunctive terms that would provide relief. (Filing 439 at 58-60). The Court is therefore
 concerned that any injunctive relief ordered in this case would not comply with the requirement under Federal Rule
 of Civil Procedure 65 that such relief be sufficiently specific. See Fed. R. Civ. P. 65(d)(1) (requiring that an injunction
 “state its terms specifically” and “describe in reasonable detail . . . the act or acts restrained or required”).

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 Here, however, Plaintiffs have failed to propose an injunction that will provide relief to the

 proposed class or subclass members.

        Based on the foregoing, the Court denies Plaintiffs’ request to certify the proposed class

 and subclasses.

      H. Motion for Summary Judgment Regarding Galle and Rena’s Eighth Amendment

                                                   Claims

        Defendants move for summary judgment as to Galle and Rena’s claims under the Eighth

 Amendment. Filing 292. They claim the undisputed evidence supports that the treatment Rena

 received for her skin condition and the treatment Galle received for his broken femur were

 constitutionally adequate. Filing 294 at 10-19. Plaintiffs counter that the evidence, especially the

 expert affidavit submitted by Dr. Stern, create material factual disputes which prevent summary

 judgment. Filing 324 at 5-10. Because disputed facts preclude summary judgment in Defendants’

 favor, the Court denies the motion.

                1.      Additional Facts

                               a.      Jason Galle’s Femur

        In 2008, Galle sustained a gunshot wound to his right femur, resulting in a fracture. Filing

 293-2 at 28. While housed at the Douglas County Correctional Center, a non-NDCS facility, Galle

 underwent three surgeries for his fractured femur and received Vicodin for pain. Filing 293-2 at

 12, 19, 22, 27. Following his arrival at NDCS on March 1, 2010, Galle submitted an IIR dated

 March 4 informing NDCS staff he was in “extreme pain 24/7” and asking for stronger medication

 and permission to stay in a lower-level bunk. Filing 323-6 at 5. NDCS responded that Galle’s

 requests would be addressed at his intake exam by a physician, which occurred on March 10, 2010.

 Filing 323-6 at 5; Filing 293-2 at 25. The intake screening noted Galle’s medical history related to



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 his fractured femur and surgeries as well as his use of certain controlled substances. Filing 293 at

 27-28. NDCS performed an x-ray of Galle’s femur the day after his intake which revealed an

 intramedullary rod with a fixation screw and a healing mid-shaft fracture. Filing 293-2 at 26.

 NDCS refused to prescribe narcotics like Vicodin for Galle’s chronic femur pain. Filing 293-2 at

 22-23; Filing 293-6 at 17-19. He was prescribed Tramadol and physical therapy and assigned a

 lower-level bunk. Filing 334-3 at 1-5; Filing 293-2 at 24.

        Over the next several months, Galle submitted numerous requests to NDCS indicating that

 he was in extreme pain but NDCS repeatedly responded that it would not change or re-evaluate

 Galle’s treatment plan. For example, on March 15, 2010, Galle told NDCS medical that he had

 pain and weakness in his right leg. Filing 323-6 at 6. On March 18, Galle complained his tramadol

 prescription was not working and he was in constant pain. Filing 323-6 at 7. NDCS responded,

 “You are on ibuprofen as well. Will not increase tramadol” and did not schedule him for a medical

 visit. Filing 323-6 at 7. On May 1, Galle asked to be seen by doctors because he felt his hip

 “grinding bone on bone” and his knee was “constantly throbbing.” Filing 323-6 at 8. NDCS did

 not schedule a medical appointment and responded only, “If the tramadol is not helping you can

 stop taking.” Filing 323-6 at 8.

        On August 5, 2010, Galle submitted an IIR again noting his constant, unbearable pain.

 Filing 323-6 at 10. Dr. John Casebolt evaluated Galle on August 13, 2010. Filing 334-3 at 6. He

 stated that he was unsure whether Galle’s complaints were psychological or due to actual physical

 pain. Filing 334-3 at 6. He prescribed Galle a trial dose of Neurontin and scheduled a follow-up

 for one month later. Filing 224-3 at 6. On August 22, Galle informed NDCS his pain was

 worsening, including that he was experiencing a grinding in his hip. Filing 323-6 at 11. NDCS

 declined to see Galle again until his September 14 follow-up with Dr. Casebolt. Filing 323-6 at 11.



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 On that day, Galle submitted an IIR informing NDCS he had not received the Neurontin

 prescription for the “last 3 med passes” and asking for it to be renewed. Filing 323-6 at 12. It is

 unclear what transpired at the follow-up hearing with Dr. Casebolt, but Galle’s Neurontin

 prescription was eventually renewed two days later. Filing 323-6 at 13.

        On October 18, 2010, Galle asked to be seen by a doctor because his prescriptions had been

 discontinued. Filing 323-6 at 13. NDCS did not permit him to see a doctor and responded that it

 would plan to refill his prescriptions. Filing 323-6 at 13. Later that month, Galle again reported

 on-going pain in his leg and inability to sleep due to the pain but was told NDCS would not change

 his pain-management treatment plan. Filing 323-6 at 14. Galle submitted other subsequent IIRs

 complaining of on-going pain or decreased medication and NDCS repeatedly denied his requests

 to review his treatment plan. See generally Filing 323-6. NDCS’s responses included references

 to the fact that Galle’s “fracture is healing but not fully healed.” Filing 323-6 at 28.

        On September 15, 2010, an x-ray of Galle’s femur indicated a healed mid-shaft femoral

 fracture with no evidence of acute fracture or dislocation. Filing 293-2 at 18. Subsequent x-rays

 on April 25, 2016, June 3, 2016, and March 9, 2017, also indicated that Galle’s femoral fracture

 was healing. Filing 293-2 at 7-10. However, the April 25, 2016 x-ray indicated the fracture line

 remained visible as a lucency. Filing 323-6 at 27. In July 2016, NDCS denied Galle a consultation

 with an orthopedic specialist and instead continued physical therapy and the pain medications he

 had previously been prescribed. Filing 323-6 at 29, 34. In August 2016, following additional

 appointments and complaints, Galle was finally referred to an orthopedic specialist. Filing 334-3

 at 24. The specialist, Dr. Samani, noted an atrophic non-union in Galle’s femur and recommended

 surgery and a bone graft. Filing 323-6 at 80.




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        By January 2, 2017, Galle had not received surgery on his femur and reported extreme pain

 that prevented him from walking to eat meals. Filing 323-6 at 36. NDCS took nine days to respond

 to his inquiry regarding surgery and stated only that “surgery has been approved but not scheduled

 yet.” Filing 323-6 at 36. NDCS added Naproxen to Galle’s pain management regimen. Filing 323-

 6 at 36. Galle submitted another IIR inquiring about the status of surgery in February 2017. Filing

 323-6 at 36.

        In March 2017, Galle again reported extreme pain and loss of feeling in his foot as well as

 his toes changing color. Filing 323-6 at 38-39. NDCS responded that Galle had been unapproved

 for Lyrica and that he should take NSAIDs when needed and that NDCS would schedule another

 x-ray. Filing 334-3 at 25-26. On March 9, 2017, x-rays revealed a healing fracture, but upon

 reviewing them, Dr. Samani indicated a risk of an “occult fracture.” Filing 323-6 at 79. NDCS

 staff noted it would be necessary to schedule Galle for femoral fracture repair surgery “as soon as

 resources permit.” Filing 323-6 at 41. NDCS notes also stated the x-ray indicated, “The hardware

 is intact and shows no evidence of loosening. . . . There is a healed mid shaft femoral fracture.

 There is no acute fracture or dislocation. . . .” Filing 293-2 at 7-8. NDCS submitted an internal

 consult request form for Galle to have femur surgery on March 21, but Medical Director Deol

 denied the request, stating surgery was “clinically not indicated at this time.” Filing 323-6 at 42.

        Galle submitted inquiries about his leg from April through July 2017. Filing 323-6 at 43-

 51. On July 9, Galle submitted an IIR stating he felt a “pop” in his leg and he was in “unbearable”

 pain because it “feels like the bone has come apart.” Filing 323-6 at 50. NDCS provided him with

 an x-ray on July 21, 2017, which confirmed the development of a fracture at the mid-shaft

 intramedullary rod in Galle’s injured femur. Filing 293-2 at 4. According to Galle, after the July

 2017 x-ray, NDCS medical staff were “communicating with people to try to get them to take me



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 to the emergency room and get surgery performed” at Creighton but the surgery did not

 immediately occur. Filing 357-23 at 38. Galle underwent a fourth surgery to repair his fractured

 femur on August 25, 2017, at Bryan Medical Center in Lincoln, Nebraska. Filing 293-2 at 2-3.

         The care Galle received after this surgery is disputed. Defendants claim he received

 consistent physical-therapy rehabilitation but cite only radiology reports referencing physical

 therapy in support of this contention. Filing 294 at 5; Filing 293-2 at 40-42. Galle claims he has

 not received physical therapy for the past six months despite continuing problems with his leg.

 Filing 323-3 at 1-2. The parties agree that post-surgical x-rays have shown Galle’s femur is

 healing. Filing 293-2 at 33, 36.

         Dr. Stern, a board-certified internist specializing in correctional healthcare, submitted an

 expert declaration regarding the medical care Galle received at NDCS for his femur. Filing 323-1;

 Filing 323-1 at 1. He reviewed selected medical records relating to Jason Galle’s treatment at

 NDCS. Filing 323-1 at 2. In Dr. Stern’s expert opinion, Galle received inadequate healthcare and

 treatment for his injured femur. Filing 323-1 at 5. Dr. Stern stated, “In particular, NDCS staff failed

 to conduct appropriate intake screening of Mr. Galle; NDCS staff failed to follow and carry out

 orders from NDCS physicians; there were delays in access to care; there were problems with

 provision of medication; and there were deficiencies with medical record-keeping.” Filing 323-1

 at 5.

         With respect to Galle’s intake screening, Dr. Stern noted that without a physical

 examination, NDCS decided to taper Galle off the Vicodin he had been using to control his pain.

 Filing 323-1 at 6. Such a decision was based not on Galle’s individual medical needs but was rather

 a categorical refusal “without first making an adequate determination of the clinical

 appropriateness and safety of such a treatment plan.” Filing 323-1 at 6. In Dr. Stern’s view, the



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 discontinuation of Galle’s pain medicine “coupled with failure to evaluate Mr. Galle after being

 notified of a complication, resulted in significant harm (continued, un-evaluated and un-controlled

 pain), as well as significant risk of harm (in the event that the new complication signaled a second

 serious problem, such as bone infection).” Filing 323-1 at 7.

        Dr. Stern also noted problems with “[d]iscoordinated [c]are,” delayed care, and a failure to

 follow doctors’ orders. Filing 323-1 at 7. According to Dr. Stern, NDCS was put on notice of

 ongoing issues with Galle’s femur due not only to his self-reports of unmanaged pain but also

 when the x-ray performed on April 25, 2016, “showed, for the first time in several years, that his

 old femur fracture was no longer healed, but rather healing.” Filing 323-1 at 7 (emphasis in

 original). Furthermore, Dr. Samani recommended surgery on August 25, 2016, but Galle did not

 receive it until August 25, 2017, despite numerous IIRs and additional x-rays. Filing 323-1 at 8-

 10. As a result of these “inexplicable failures of medical decision-making, execution of orders,

 coordination, and follow-up” Galle “undoubtedly suffered unnecessary pain during this year of

 delay. In addition, delaying surgery in this way may put the ultimate outcome at serious risk.”

 Filing 323-1 at 10.

                b.      Zoe Rena’s Skin Condition

        When Zoe Rena was initially incarcerated at NDCS in July 2015, she reported a skin rash

 and asked to be placed on a topical antibiotic that she had used during a previous term of

 incarceration at NDCS. Filing 323-5 at 6. NDCS responded six days later that she should purchase

 acne wash from the canteen instead. Filing 323-5 at 6. During her incarceration, she has been

 prescribed hydrocerin cream, clindamycin 1% gel, doxycycline, clobetasol cream, Aveeno Active

 Naturals soap, Minocycline, hydroxyzine, adapalene gel and a birth control pill by the name of

 Nortrel to attempt to address her skin condition. Filing 293-4 at 8; Filing 323-5 at 2. NDCS



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 contends the frequent changes in treatment were due to Rena’s chronic failure to comply with the

 treatment plan. Filing 294 at 17-18; Filing 293-4 at 2, 4-5, 10-11. Rena testified, however, that she

 tried each of the prescribed treatments: “All of the things medical has given me in the past year to

 try I did try for the amount of time you told me it would take to work, and when that time passed,

 and it didn’t work, I kited medical as you recommended that I do.” Filing 323-5 at 4. NDCS

 medical records also reveal that on numerous occasions, Rena was unable or was not timely able

 to receive refills or continuation of the medications she had been prescribed. Filing 323-5 at 12,

 14. Rena has not been referred to a dermatologist. Filing 293-4 at 3. NDCS forms dated January

 26, 2017, stated, “We do not have a dermatologist that will see inmates. Nor will the new director

 approve it.” Filing 323-5 at 3.15

          Rena submitted a declaration stating that while her skin rash had improved at the time of

 her March 2019 deposition, it then worsened by May. Filing 323-2 at 1-2. Rena stated, “I have had

 periods where I have no visible rash, and then I will experience a new outbreak. The symptoms

 come and go without me being able to tell what the trigger is.” Filing 323-2 at 1.

          Dr. Stern evaluated Rena’s medical records and provided an expert declaration determining

 “[t]he care provided by NDCS to Ms. Rena for her multiple skin conditions did not meet the

 community standard of care, and put Ms. Rena at substantial risk of harm.” Filing 323-1 at 2. In

 particular, Dr. Stern opined that Rena experienced substantial delays in receiving care and received

 inadequate care to manage her chronic skin condition. Filing 323-1 at 3. According to Dr. Stern,

 Rena received deficient care when she submitted an IIR on January 26, 2016, indicating she had



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    Rena has also reported prolonged periods of what appeared to be menstrual bleeding. Filing 323-7 at 1. Rena was
 given a prescription, but the cause of the bleeding remains unknown and Rena’s symptoms persist. Filing 323-7 at 1-
 2. However, Defendants only appear to contend that the treatment of Rena’s skin condition, not her menstrual bleeding,
 is appropriate for summary judgment. Thus, the Court will focus on Rena’s skin condition for purposes of the Eighth
 Amendment analysis, just as the parties do.


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 developed a rash that was different from her previously existing condition and which was getting

 worse. Filing 323-1 at 3. Instead of a timely examination and assessment, NDCS took almost two

 weeks to evaluate Rena and finally discover she had, in fact, developed a new condition: dermatitis.

 Filing 323-1 at 3. Dr. Stern stated, “such a skin condition can be the first sign of a spreading

 infection, or could be a manifestation of a systemic infectious or immunological disease. This

 deficient care placed her at significant risk of harm.” Filing 323-1 at 3.

        In September 2015, Rena requested a topical antibiotic for her skin condition but was told

 to purchase acne wash from the canteen. Filing 323-1 at 4. According to Dr. Stern, “It was

 clinically unreasonable to expect, if her condition was unresponsive to non-prescription

 medications previously, that they would now be successful, especially in the absence of any

 examination to suggest otherwise.” Filing 323-1 at 4. “Thus, care providers would know that this

 treatment had a high likelihood of failing to provide adequate care for this chronic condition.”

 Filing 323-1 at 4. Dr. Stern stated, “Until diagnosed and determined to be benign, medical staff

 [should have] treat[ed] the skin condition with the same care and urgency as any other potentially

 serious condition.” Filing 323-1 at 2.

        2. Analysis

        The Eighth Amendment prohibits cruel and unusual punishment. U.S. Const. amend. VIII.

 “[T]he treatment a prisoner receives in prison and the conditions under which he is confined are

 subject to scrutiny under the Eighth Amendment.” Schaub v. VonWald, 638 F.3d 905, 914 (8th

 Cir. 2011) (alteration in original) (quoting Helling v. McKinney, 509 U.S. 25, 31, 113 S. Ct. 2475,

 125 L. Ed. 2d 22 (1993)). “To prevail on a claim of constitutionally inadequate medical care, the

 inmate must show that the prison officials’ conduct amounted to ‘deliberate indifference to [the

 prisoner’s] serious medical needs.’” Dulany v. Carnahan, 132 F.3d 1234, 1237–38 (8th Cir. 1997)



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 (alteration in original) (quoting Estelle v. Gamble, 429 U.S. 97, 104, 97 S. Ct. 285, 291, 50 L. Ed.

 2d 251 (1976)).

        An Eighth Amendment claim that prison officials were deliberately indifferent to the

 medical needs of inmates involves both an objective and a subjective component. Id. at 1239

 (citing Coleman v. Rahija, 114 F.3d 778, 784 (8th Cir.1997)). The plaintiffs must demonstrate (1)

 that they suffered objectively serious medical needs and (2) that the prison officials actually knew

 of but deliberately disregarded those needs. Id. (citing Coleman, 114 F.3d at 784). “A serious

 medical need is ‘one that has been diagnosed by a physician as requiring treatment, or one that is

 so obvious that even a layperson would easily recognize the necessity for a doctor’s attention.’”

 Schaub, 638 F.3d at 914 (quoting Camberos v. Branstad, 73 F.3d 174, 176 (8th Cir. 1995)).

        “Deliberate indifference may be demonstrated by prison guards who intentionally deny or

 delay access to medical care or intentionally interfere with prescribed treatment, or by prison

 doctors who fail to respond to prisoner’s serious medical needs.” Dulany, 132 F.3d at 1239 (citing

 Estelle, 429 U.S. at 104–05, 97 S. Ct. at 291–92). “Mere negligence or medical malpractice,

 however, are insufficient to rise to a constitutional violation.” Id. (citing Estelle, 429 U.S. at 106,

 97 S. Ct. at 292). “Deliberate indifference is equivalent to criminal-law recklessness, which is

 ‘more blameworthy than negligence,’ yet less blameworthy than purposefully causing or

 knowingly bringing about a substantial risk of serious harm to the inmate.” Schaub, 638 F.3d 914–

 15 (quoting Farmer, 511 U.S. at 839-40, 114 S. Ct. 1970).

                        a.      Galle

        First, Defendants do not dispute that Galle’s broken femur and resultant pain constitute a

 “serious medical need.” See Dulany, 132 F.3d at 1239. Thus, the question for the Court is whether

 summary judgment is appropriate based on NDCS officials allegedly showing no deliberate



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 indifference in their handling of Galle’s medical condition. See id. The Court concludes there are

 genuine disputes of material fact as to whether NDCS officials were deliberately indifferent to

 Galle’s leg which preclude summary judgment.

        Defendants argue there is no dispute that NDCS’s treatment of Galle’s leg and pain was

 medically appropriate and did not rise to the level of criminal-law recklessness such as could be

 called deliberate indifference. See Schaub, 638 F.3d 914–15. However, the evidence put forth by

 Plaintiffs calls into question the reasonableness of Defendants’ actions. According to Galle’s

 medical records, he repeatedly reported unmanaged pain, including indications of an aggravation

 to his preexisting femur injury. Despite his numerous requests for treatment, NDCS repeatedly

 failed to modify his pain-management treatment. Perhaps most concerningly, despite indications

 that he had re-fractured his femur and a recommendation from Dr. Samani that he receive surgery,

 Galle was left without surgical intervention for nearly a year. This evidence is supported by the

 expert opinion of Dr. Stern who found “inexplicable failures of medical decision-making,

 execution of orders, coordination, and follow-up,” the result of which was Galle “undoubtedly

 suffered unnecessary pain during this year of delay. In addition, delaying surgery in this way may

 put the ultimate outcome at serious risk.” Filing 323-1 at 10. This evidence precludes the granting

 of summary judgment on the question of whether Defendants were deliberately indifferent to

 Galle’s serious medical needs.

                       b.      Rena

        With respect to plaintiff Rena, Defendants argue summary judgment is appropriate both

 because her skin condition did not constitute a serious medical need and because NDCS’s

 treatment did not rise to the level of deliberate indifference. Because Plaintiffs have put forth




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 evidence which disputes the seriousness of Rena’s condition and the recklessness of Defendants’

 treatment, summary judgment is inappropriate on this claim.

         First, Plaintiffs have put forth evidence to create a dispute as to whether Rena’s condition

 was “one that has been diagnosed by a physician as requiring treatment, or one that is so obvious

 that even a layperson would easily recognize the necessity for a doctor’s attention.” Schaub, 638

 F.3d at 914 (quoting Camberos, 73 F.3d at 176). While Defendants portray Rena’s condition as a

 mere rash, the evidence shows her condition escalated into dermatitis and required treatment

 beyond just over-the-counter facewash. Furthermore, Dr. Stern opined that Rena’s condition, left

 untreated, was concerning enough to place her at a serious risk of harm and could represent “the

 first sign of a spreading infection, or could be a manifestation of a systemic infectious or

 immunological disease.” Filing 323-1 at 3. Thus, there is a genuine dispute of material fact as to

 whether Rena’s skin condition was an “objectively serious medical need[].” Dulany, 132 F.3d at

 1239.

         Second, Plaintiffs have also put forth evidence which disputes Defendants’ contention that

 NDCS’s treatment of Rena’s skin condition did not rise to the level of deliberate indifference.

 Prison officials repeatedly ignored Rena’s requests for changes to her treatment when her skin

 condition worsened, including recommending she purchase acne wash when they were already

 aware over-the-counter solutions were not working. According to Dr. Stern, “It was clinically

 unreasonable to expect, if her condition was unresponsive to non-prescription medications

 previously, that they would now be successful, especially in the absence of any examination to

 suggest otherwise.” Filing 323-1 at 4. Defendants actions in this regard were “‘more blameworthy

 than negligence,’ yet less blameworthy than purposefully causing or knowingly bringing about a

 substantial risk of serious harm to” Rena. Schaub, 638 F.3d 914–15 (quoting Farmer, 511 U.S. at



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 835, 839-40, 114 S. Ct. 1970). Thus, Plaintiffs have demonstrated that genuinely disputed facts

 exist which preclude summary judgment on the question of whether prison officials were

 deliberately indifferent to Rena’s skin condition.

         In this motion, the State argues because Galle and Rena’s conditions have improved, they

 cannot obtain prospective relief and the Court should grant summary judgment. Filing 294 at 11,

 19. In response to Defendants’ Motion for Summary Judgment, Plaintiffs argue that “Rena and

 Galle do not seek an injunction or damages as compensation for Defendants’ past deliberate

 indifference to medical needs at discrete points in time; rather, they seek to change Defendants’

 future behavior so as to abate the risk of harm to themselves and the putative class.” Filing 324 at

 34. Plaintiffs further claim Defendants’ motion as to Rena and Galle “attempts to turn this case

 into a series of individual personal injury actions.” Filing 324 at 33-34. In their sixty-five-page

 reply brief, Defendants then seem to pivot to abandon the request that the Court rule on purported

 individual claims of Rena and Galle, but persist in asking this Court for a ruling as a matter of law

 that “NDCS[’s] medical staff have not been deliberately indifferent in their treatment of Galle’s

 leg or Rena’s skin rash.” Filing 335 at 49. The Court has thus construed this motion as such and

 concludes it will not issue the ruling Defendants seek.16

         For the reasons outlined herein, Defendants’ Motion for Summary Judgment regarding

 Galle and Rena’s Eighth Amendment Claims, Filing 292, is denied.

                               I. Motion for Discovery Related to COVID-19

         Plaintiffs object to Magistrate Judge Nelson’s order denying their request for discovery

 related to NDCS’s plan to address the novel coronavirus (COVID-19) pandemic. Filing 469.



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   The Court admits that it fails to understand the need to address this issue given the lack of individual claims by
 Galle and Rena in this case. However, the Court has dutifully provided a ruling on the question presented.


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 Plaintiffs argue Magistrate Judge Nelson was incorrect in requiring them to comply with discovery

 procedures and in finding the requested discovery was not relevant to the facts of this case. For the

 following reasons, the Court overrules Plaintiffs’ objection.

        On April 10, 2020, Plaintiffs filed an “Emergency Motion Seeking Disclosure of

 Defendants’ Plan for the Prevention, Management, and Treatment of COVID-19.” Filing 447.

 NDCS has publicly released information regarding its pandemic plan but has refused to turn over

 to Plaintiffs information regarding what it terms “restricted access plans” detailing how individual

 facilities would quarantine individuals and house or move inmates in response to the disease. Filing

 457 at 7. Defendants claim the information Plaintiffs seek poses a security threat. Filing 457 at 7-

 9. Plaintiffs argue the information is relevant because their “class action already concerns issues

 of life and death for incarcerated individuals in NDCS facilities” and the COVID-19 crisis has

 placed purported class members at “a real and immediate risk of suffering or dying.” Filing 448 at

 10.

        Magistrate Judge Nelson denied Plaintiffs’ motion. He first noted that, despite styling it as

 an “emergency motion,” what Plaintiffs had actually filed was a motion to compel discovery

 pursuant to Federal Rule of Civil Procedure 37(a)(3). Filing 466 at 3. The Court noted that

 Plaintiffs had failed to comply with this district’s Civil Case Management practices and the Court’s

 prior Order, Filing 289, requiring a party seeking discovery to first contact the Court to set a

 conference. Filing 466 at 3. The Court noted that while denial on that basis alone would have been

 warranted, it also determined that the documents sought by Plaintiffs are not relevant. Filing 466

 at 3. Magistrate Judge Nelson determined that “[t]he COVID-19 crisis is different ‘in both nature

 and degree’ from the claims in Plaintiffs’ Complaint.” Filing 466 at 4 (citation omitted). When

 Plaintiffs filed suit in 2017, neither party could have “contemplated that this action would



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 encompass a claim regarding a virus that did not exist.” Filing 466 at 4. Magistrate Judge Nelson

 also noted that NDCS had publicly disclosed significant information about its plan for addressing

 the pandemic and the fact Plaintiffs were still unable to determine whether Plaintiffs were harmed

 by the pandemic plan “suggests that Plaintiffs are unsure if they have actually suffered an injury

 giving rise to a claim for relief.” Filing 466 at 5. Accordingly, he denied the motion.

        Plaintiffs object to Magistrate Judge Nelson’s determination. Filing 469. First, they argue

 their “emergency motion” was properly styled because they sought not just discovery, but public

 release of documents as well. Filing 470 at 29-30. They also argue the magistrate judge was

 incorrect in finding their request irrelevant because it falls within the scope of their broadly worded

 Complaint and previous discovery requests seeking all manner of healthcare-related information.

 Filing 470 at 17-20. Plaintiffs also contend Magistrate Judge Nelson misapplied the law because

 discovery should be broadly granted and the standard for Eighth Amendment claims contemplates

 future harm such as the novel coronavirus. Filing 470 at 23-24. Lastly, Plaintiffs argue Magistrate

 Judge Nelson misapplied the case of Coleman v. Newsom, No. 01-CV-01351-JST, 2020 WL

 1675775 (E.D. Cal. Apr. 4, 2020) (“Coleman II”). Filing 470 at 25-28. In Coleman II, the plaintiffs

 asked the court to modify a preexisting remedial order to address COVID-19 concerns, which the

 court declined to do. Filing 470 at 26-28. Plaintiffs argue this procedural posture makes the case

 different from the present case where no governing order yet exists. Filing 470 at 26-28.

        Defendants respond that Magistrate Judge Nelson was correct in denying Plaintiffs’ motion

 based both on failure to comply with discovery procedures and because the request is not relevant

 to the case. Filing 475 at 2-5. Defendants argue that they have already disclosed “the vast majority

 of the information” Plaintiffs seek, and the remaining facility-specific information has no bearing

 on the issues presented in this case. Filing 475 at 2.



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          The Court agrees that Magistrate Judge Nelson was not “clearly erroneous or contrary to

 law.” 28 U.S.C. § 636; see also Fed. R. Civ. P. 72. First, despite Plaintiffs’ seeking public

 disclosure of documents, their request is nevertheless one for discovery and the Court agrees their

 failure to follow the prescribed procedure alone justifies denial of their motion. However, the Court

 also agrees with the magistrate judge that Plaintiffs’ request is also irrelevant. Despite the different

 procedural postures, the Court also finds Coleman II persuasive. As Magistrate Judge Nelson

 discussed, plaintiffs in both Coleman II and the present case argued the risks posed by COVID-19

 should fall into the same category of constitutional harm alleged to occur in deficient prison

 healthcare systems. Filing 466 at 4. In both cases, the COVID-19 crisis “is different ‘in both nature

 and degree’ from the claims” originally asserted. Filing 466 at 4 (citing Coleman II, 2020 WL

 1675775, at *5).

          As set forth above, the Court may reconsider a magistrate judge’s pretrial ruling where it

 has been shown to be “clearly erroneous or contrary to law.” 28 U.S.C. § 636; see also Fed. R.

 Civ. P. 72. Magistrate Judge Nelson’s order is neither. While the Court does not diminish the

 severity of the COVID-19 pandemic, nor its potentially lethal effects on members of the

 population, including prison inmates, the present lawsuit is the incorrect vehicle for addressing

 such concerns.17

                                                    J. Mootness

          Since the filing of the Complaint, four of the plaintiffs have been released from NDCS

 custody. Defendants contend that the claims of the released Plaintiffs are moot and should be




 17
    Indeed, the lengthy and broad arguments Plaintiffs make in contending the COVID-19 crisis—which came to
 fruition in the United States only a mere three months prior to the date of this opinion and over fifteen months after
 their motion for class certification was filed—falls within the scope of their existing claims further illustrates to the
 Court why it is appropriate to deny class certification on the basis of commonality, typicality, and the Federal Rule of
 Civil Procedure 23(b) factors.

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 dismissed. Plaintiffs oppose mootness on various grounds, including that two of the released

 plaintiffs has been returned to custody. For the reasons stated below, the Court concludes the

 claims of those Plaintiffs not in custody are moot, but that those of the plaintiff released and

 returned to custody are not moot.

        1. Additional Facts

        Plaintiffs Rena, Sweetser, and Norris were in physical custody at the time of the filing of

 the Complaint. Filing 1 at 16-20. On April 1, 2019, Sweetser was released on parole. Filing 281-1

 at 2-4. On November 15, 2019, Rena was released on parole. Filing 421-1 at 2; Filing 421-3 at 1-

 2. On November 20, 2019, Norris was also released on parole. Filing 430-1 at 2-6. Defendants

 moved to dismiss Rena, Sweetser, and Norris’s claims, alleging they are moot because these

 plaintiffs have been released from NDCS facilities on parole. Filing 280, Filing 420, Filing 429.

 However, subsequently to these motions and briefing, Rena was returned to NDCS custody. Filing

 442-1; Filing 442-2. Defendants informed the Court of her return to custody but argue Rena’s

 claims are nevertheless moot. Filing 443.

        Plaintiff R.P. was incarcerated at NCYF beginning in January 2016. Filing 1 at 17. R.P.

 was discharged from the facility on November 20, 2018. Filing 207-1 at 2-3. Based on his release

 from custody, Defendants moved to dismiss R.P.’s claims on mootness grounds. Filing 205. On

 February 27, 2019, the Court agreed R.P.’s claims were moot due to his release from custody and

 dismissed his claims without prejudice. Filing 260 at 1-2. Subsequently, on March 4, 2019, R.P.

 was returned to NDCS custody. Filing 271-1 at 1-2. On the basis of his return to NDCS custody,

 Plaintiffs moved to reconsider the Court’s order dismissing R.P.’s claims. Filing 270.

        2. Applicable Law




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        “The exercise of judicial power under Art. III of the Constitution depends on the existence

 of a case or controversy.” Ringo v. Lombardi, 677 F.3d 793, 796 (8th Cir. 2012) (quoting Preiser

 v. Newkirk, 422 U.S. 395, 401, 95 S. Ct. 2330, 45 L. Ed. 2d 272 (1975)). “Simply stated, a case is

 moot when the issues presented are no longer ‘live’ or the parties lack a legally cognizable interest

 in the outcome.” Kennedy Bldg. Assocs. v. Viacom, Inc., 375 F.3d 731, 745 (8th Cir. 2004) (quoting

 County of Los Angeles v. Davis, 440 U.S. 625, 631, 99 S. Ct. 1379, 59 L. Ed. 2d 642 (1979). “It is

 of no consequence that the controversy was live at earlier stages in this case; it must be live when

 [the Court] decide[s] the issues.” Haden v. Pelofsky, 212 F.3d 466, 469 (8th Cir. 2000) (quoting

 South Dakota v. Hazen, 914 F.2d 147, 150 (8th Cir. 1990)). “[A] federal court has neither the

 power to render advisory opinions nor ‘to decide questions that cannot affect the rights of litigants

 in the case before them.’” Ringo, 677 F.3d at 796 (alteration in original) (quoting Preiser, 422 U.S.

 at 401, 95 S. Ct. 2330). “The ‘heavy’ burden of proving mootness falls on the party asserting the

 case has become moot. Kennedy Bldg. Assocs., 375 F.3d at 745 (quoting Davis, 440 U.S. at 631,

 99 S. Ct. 1379).

        Under Federal Rule of Civil Procedure 60, “the court may relieve a party or its legal

 representative from a final judgment, order, or proceeding for the following reasons: . . . (2) newly

 discovered evidence.” Fed. R. Civ. P. 60(b).

        3. Analysis

        Defendants argue that because these plaintiffs have been released from physical custody,

 their claims are moot. Filing 282 at 3; Filing 422 at 2-3; Filing 431 at 1-2; Filing 204. Plaintiffs

 counter that, despite their release, these plaintiffs remain subject to the custody and control of

 NDCS because they are on parole. Filing 298 at 8; Filing 427 at 7-8; Filing 434 at 8-9. They point

 to Nebraska case law stating that a parolee is classified as being “in custody under sentence.” Filing



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 298 at 8; Filing 427 at 8; Filing 434 at 8 (citing State v. Thomas, 236 Neb. 553, 557, 462 N.W.2d

 862, 866 (1990), which held that “[t]he restrictions imposed upon a prisoner who is paroled are

 sufficient to render that person ‘in custody under sentence’ for purposes of the [Nebraska]

 Postconviction Act”). They also analogize the released plaintiffs to parolees seeking habeas corpus

 relief after their sentence has been served. See Filing 298 at 9; Filing 427 at 9; Filing 434 at 9

 (citing Caton v. Nebraska, 869 N.W.2d 911, 914-15, 291 Neb. 939, 941-42 (2015)), for the

 proposition that parolees can state a justiciable claim under Nebraska’s habeas corpus statute).

          The Court finds Plaintiffs’ argument and analogies unpersuasive. The heart of Plaintiffs’

 claims is the inadequacy of treatment and medical care of inmates occurring in NDCS facilities.

 See generally Filing 1. While a parolee is subject to certain restraints on their freedom imposed by

 the State, they are not receiving medical care through NDCS nor are they being held in isolation

 or being subject to parole-eligibility hearings at NDCS facilities. Thus, the issues presented by the

 parolee–plaintiffs’ claims “are no longer ‘live’ [and] the parties lack a legally cognizable interest

 in the outcome.” Kennedy Bldg. Assocs., 375 F.3d at 745.

          Plaintiffs argue that the Court should not find Plaintiffs’ claims moot because, as parolees,

 they can be returned to custody at any time.18 Filing 298 at 8; Filing 427 at 7-8; Filing 434 at 10.

 While it is true that a parolee can be arrested and returned to custody, see Neb. Rev. Stat. § 83-

 1,121, that does not change the fact that there is no present, live controversy; the parolee–Plaintiffs

 are not currently subject to NDCS’s healthcare system or policies regardless of what may happen

 in the future.




 18
   Plaintiffs also argue that even if these individual plaintiffs’ claims are moot, they should nevertheless be permitted
 to continue as class representatives. Filing 298 at 20-25; Filing 427 at 17-22; Filing 434 at 21-25. Because the Court
 has already determined that the requested classes should not be certified, this argument necessarily fails.

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          The Court therefore concludes the claims of those plaintiffs who have been released on

 parole are moot. The Eighth Circuit has addressed similar claims regarding prison conditions and

 has likewise found dismissal on mootness grounds warranted when the plaintiffs were no longer

 in custody. See, e.g., Zajrael v. Harmon, 677 F.3d 353, 355 (8th Cir. 2012) (per curiam) (holding

 that as to an inmate seeking injunctive relief based on a particular facility’s policies, his claim

 became moot upon his transfer out of that facility “[b]ecause [he] is no longer subject to the

 policies that he challenges, [and] there is no live case or controversy”); Hickman v. State of Mo.,

 144 F.3d 1141, 1142 (8th Cir. 1998) (“Because plaintiffs have been released on parole and are no

 longer confined at [the defendant correctional center], their claims [of ADA violations] are

 moot.”); Watts v. Brewer, 588 F.2d 646, 648 (8th Cir. 1978) (holding that as to an inmate’s claims

 regarding prison conditions, “[h]is release has mooted his claims for declaratory and injunctive

 relief”).

          The Court also does not find that the parolee–Plaintiffs’ claims fall under the “capable-of-

 repetition-yet-evading-review” exception to the mootness doctrine.19 “This exception ‘applies only

 in exceptional situations, where the following two circumstances [are] simultaneously present: (1)

 the challenged action [is] in its duration too short to be fully litigated prior to cessation or

 expiration, and (2) there [is] a reasonable expectation that the same complaining party [will] be

 subject to the same action again[.]’” Hickman, 144 F.3d at 1142–43 (alterations in original)

 (quoting Spencer v. Kemna, 523 U.S. 1, 118 S. Ct. 978, 988, 140 L. Ed. 2d 43 (1998)).




 19
   Plaintiffs urge the Court to apply the “inherently transitory” exception to the mootness doctrine. Filing 298 at 20-
 25. That exception is exclusive to class-action cases. See, e.g., Sosna v. Iowa, 419 U.S. 393, 402, 95 S. Ct. 553, 559,
 42 L. Ed. 2d 532 (1975). (“The controversy may exist, however, between a named defendant and a member of the
 class represented by the named plaintiff, even though the claim of the named plaintiff has become moot.”). Because
 the Court has determined class certification is not warranted, it will analyze the applicability of the general capable-
 of-repetition-yet-evading-review exception instead.

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        With respect to the duration prong, “the proper inquiry is whether the [challenged] activity

 is by its very nature short in duration, so that it could not, or probably would not, be able to be

 adjudicated while fully alive.” Id. (alteration and emphasis in original) (quoting Clark v. Brewer,

 776 F.2d 226, 229 (8th Cir. 1985)). Plaintiffs have not shown that the duration of the healthcare

 policies is “always so short as to evade review.” Spencer, 523 U.S. at 18, 118 S. Ct. at 988. While

 these particular Plaintiffs have been released from incarceration, numerous other plaintiffs in this

 case are still serving sentences and subject to the same policies and systems complained of in this

 case and thus these issues will not go unaddressed due solely to certain inmates being paroled.

 Should the paroled Plaintiffs in fact be returned to custody and then subject to the same policies

 and practices, they can file an appropriate motion or complaint to address the issues at that time.

 Accordingly, the paroled Plaintiffs’ claims are moot and no exception to the mootness doctrine

 applies. Defendants’ Motions to Dismiss on mootness grounds for Sweetser and Norris are granted.

 Filing 280, Filing 429.

        As to plaintiffs R.P. and Rena, Defendants do not deny that they are now back in NDCS

 custody. Filing 274 at 1-2; Filing 443 at 1. With respect to R.P., Defendants argue that dismissal

 without prejudice is nevertheless warranted based not on mootness but on R.P.’s alleged failure to

 exhaust administrative remedies. Filing 274 at 2. Because the parties agree that R.P. is back in

 NDCS custody, the Court concludes his claims are no longer moot. See Fed. R. Civ. P. 60(b)(2)

 (allowing the Court to reconsider its prior order based on new evidence). Furthermore, for the

 reasons set forth in Section II.D above, the Court determines R.P.’s claims should not be dismissed

 based on an alleged failure to exhaust administrative remedies.

        With respect to plaintiff Rena, Defendants argue dismissal should be granted despite her

 return to custody because she was not subject to conditions amounting to an Eighth Amendment



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 violation and because she has not exhausted her administrative remedies. Filing 443 at 2-3. The

 Court has previously determined that genuine issues of material fact exist which preclude summary

 judgment in Defendants’ favor as to both Rena’s Eighth Amendment claim and her exhaustion of

 administrative remedies. Thus, because Rena has been returned to NDCS custody, her claims are

 no longer moot.

         Accordingly, the Court grants Plaintiffs’ Motion to Reconsider its prior dismissal order,

 Filing 260, and R.P.’s claims will be allowed to go forward. The Court denies the Motion to

 Dismiss Rena. Filing 420. The Court grants the Motions to Dismiss Sweetser and Norris. Filing

 280, Filing 429.

                                      III.   CONCLUSION

         For the foregoing reasons,

         IT IS ORDERED:

    1. Defendants’ Objection to Affidavits Submitted in Support of Summary Judgment (Filing

         176) is denied;

    2. Defendants’ Objection to the Magistrate Judge’s Order Regarding Expert Witnesses (Filing

         395) is denied;

    3.   Defendants’ Motion for Partial Summary Judgment Regarding Exhaustion of

         Administrative Remedies (Filing 125) is denied;

    4. Defendants’ Motion for Partial Summary Judgment Regarding Life Sentences and Eighth

         Amendment Claims (Filing 292) is granted as to James Curtright, Richard Griswold, and

         Michael Gunther and is denied as to Zoe Rena and Jason Galle’s Eighth Amendment

         claims;




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    5. Defendants’ Motion for Partial Summary Judgment Regarding Defendant Julie Micek

       (Filing 223) is granted and Micek is dismissed as a party to the lawsuit;

    6. Plaintiffs’ Motion for Class Certification (Filing 247) is denied;

    7. Plaintiffs’ Objection to Magistrate Judge’s Order regarding COVID-19 Discovery (Filing

       469) is denied;

    8. Plaintiffs’ Motion for Reconsideration (Filing 270) regarding the mootness order on R.P.

       is granted;

    9. Defendants’ Motions to Dismiss and Suggestions of Mootness regarding Brandon Sweetser

       and Angelic Norris (Filing 280, Filing 429) are granted and Sweetser and Norris are

       dismissed as parties to the case; and

    10. Defendants’ Motion to Dismiss and Suggestion of Mootness regarding Zoe Rena (Filing

       420) is denied.


       Dated this 8th day of June, 2020.


                                                      BY THE COURT:



                                                      __________________
                                                      Brian C. Buescher
                                                      United States District Judge




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